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In re            USA Commercial Mortgage Company                       ,                                                                    Case No. 06-10725-LBR
                                   Debtor                                                                                                                (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                             Description and Location of Property                                                   Property


                                Legal vesting                                        Mailing Address                      Loan Name           Amount     Contingent
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W Sahara Ave PMB 220     Placer Vineyards 2nd                Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave. PMB 220   Placer Vineyards 2nd                Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave PMB 220    Placer Vineyards 2nd                Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W Sahara Ave PMB 220     Wasco Investments                   Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave. PMB 220   Wasco Investments                   Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave PMB 220    Wasco Investments                   Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W Sahara Ave PMB 220     Gramercy Court Condos               Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave. PMB 220   Gramercy Court Condos               Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of        8635 W. Sahara Ave PMB 220    Gramercy Court Condos               Unknown         Y
        the Broadwalk Investments Limited Partnership                      Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio Trustees of the            8635 W Sahara Ave PMB 220     Freeway 101                         Unknown         Y
        Bonfiglio Family Limited Partnership                               Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio Trustees of the            8635 W. Sahara Ave. PMB 220   Freeway 101                         Unknown         Y
        Bonfiglio Family Limited Partnership                               Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio Trustees of the            8635 W. Sahara Ave PMB 220    Freeway 101                         Unknown         Y
        Bonfiglio Family Limited Partnership                               Las Vegas, NV 89117
        James R. Kloepfer & Nancy Ann Kloepfer Trustees of the             225 Shadowmere Way            Amesbury/Hatters Point              Unknown         Y
        Kloepfer Trust dated 11/27/00                                      Aptos, CA 95003
        James R. Rappaport & Marilyn R. Rappaport, husband & wife, as 3356 Nambe Dr                      Gramercy Court Condos               Unknown         Y
        joint tenants with right of survivorship                           Reno, NV 89511
        James R. Simmons, Jr. & Patsy K. Simmons Trustees of the 1998 1805 N Carson St Box 316           Placer Vineyards                    Unknown         Y
        Simmons Family Revocable Trust Dated 10/2/1998                     Carson City, NV 89701
        James Ronald Loftfield & Catherine Pauline Loftfield Trustees of 1532 Beech Grove Drive          Huntsville                          Unknown         Y
        the Loftfield Revocable Living Trust                               Las Vegas, NV 89119
        James Ronald Loftfield & Catherine Pauline Loftfield Trustees of 1532 Beech Grove Drive          Copper Sage Commerce Center, LLC    Unknown         Y
        the Loftfield Revocable Living Trust                               Las Vegas, NV 89119
        James S. Nelson, a married man dealing with his sole & separate 408 N Berry Pine Rd              Gramercy Court Condos               Unknown         Y
        property                                                           Rapid City, SD 57702
        James S. Nelson, a married man dealing with his sole & separate 408 N Berry Pine Rd              Marquis Hotel                       Unknown         Y
        property                                                           Rapid City, SD 57702
        James S. Nelson, a married man dealing with his sole & separate 408 N Berry Pine Rd              Placer Vineyards 2nd                Unknown         Y
        property                                                           Rapid City, SD 57702
        James S. Nelson, IV & Delana D. Nelson, husband & wife, as         13555 Bittersweet Road        Marquis Hotel                       Unknown         Y
        tenants in common                                                  Rapid City, SD 57702
        James S. Nelson, IV & Delana D. Nelson, husband & wife, as         13555 Bittersweet Road        Marlton Square                      Unknown         Y
        tenants in common                                                  Rapid City, SD 57702
        James S. Nelson, IV & Delana D. Nelson, husband & wife, as         13555 Bittersweet Road        HFA- Riviera 2nd                    Unknown         Y
        tenants in common                                                  Rapid City, SD 57702
        James S. Nelson, IV & Delana D. Nelson, husband & wife, as         13555 Bittersweet Road        Hasley Canyon                       Unknown         Y
        tenants in common                                                  Rapid City, SD 57702
        James S. Nelson, IV & Delana D. Nelson, husband & wife, as         13555 Bittersweet Road        HFA-Clear Lake 2nd                  Unknown         Y
        tenants in common                                                  Rapid City, SD 57702
        James Starr & Sally Starr Trustees of the Starr Family Trust dated 251 Hunting Ridge Road        Amesbury/Hatters Point              Unknown         Y
        9/6/96                                                             Stamford, CT 6903
        James Supple, an unmarried man                                     P O Box 29                    Bay Pompano Beach                   Unknown         Y
                                                                           Fallon, NV 89407
        James W. Barnes Trustee of the JWB Trust Agreement dated           2100 Freedom Place            BarUSA/$15,300,000                  Unknown         Y
        8/1/97                                                             Fayetteville, AR 72704
        James W. Barnes Trustee of the JWB Trust Agreement dated           2100 Freedom Place            Bay Pompano Beach                   Unknown         Y
        8/1/97                                                             Fayetteville, AR 72704
        James W. Barnes Trustee of the JWB Trust Agreement dated           2100 Freedom Place            Cabernet                            Unknown         Y
        8/1/97                                                             Fayetteville, AR 72704




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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                    Mailing Address                    Loan Name            Amount    Contingent
        James W. Forsythe & Earlene M. Forsythe, husband & wife, as  2660 Lake Ridge Shores West   Amesbury/Hatters Point              Unknown            Y
        joint tenants with right of survivorship                     Reno, NV 89509
        James W. Forsythe & Earlene M. Forsythe, husband & wife, as  2660 Lake Ridge Shores West   Fiesta Oak Valley                   Unknown            Y
        joint tenants with right of survivorship                     Reno, NV 89509
        James W. Forsythe & Earlene M. Forsythe, husband & wife, as  2660 Lake Ridge Shores West   Gramercy Court Condos               Unknown            Y
        joint tenants with right of survivorship                     Reno, NV 89509
        James W. Forsythe & Earlene M. Forsythe, husband & wife, as  2660 Lake Ridge Shores West   Harbor Georgetown                   Unknown            Y
        joint tenants with right of survivorship                     Reno, NV 89509
        James W. Hale, Sr., an unmarried man                         6139 Tigertail Drive SW       HFA-Clear Lake 2nd                  Unknown            Y
                                                                     Olympia, WA 98512
        James W. Lehr & Julie Anne Lehr, husband & wife, as joint    624 E Cozza Dr                Tapia Ranch                         Unknown            Y
        tenants with right of survivorship                           Spokane, WA 99208
        James W. Lehr & Julie Anne Lehr, husband & wife, as joint    624 E Cozza Dr                Placer Vineyards                    Unknown            Y
        tenants with right of survivorship                           Spokane, WA 99208
        James W. Magner, a married man & Joseph P. Magner, a married 9312 E Jewel Circle           6425 Gess, LTD                      Unknown            Y
        man, as joint tenants with right of survivorship             Denver, CO 80231
        James W. Magner, a married man & Joseph P. Magner, a married 9312 E Jewel Circle           Shamrock Tower, LP                  Unknown            Y
        man, as joint tenants with right of survivorship             Denver, CO 80231
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         Marlton Square                      Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         Placer Vineyards 2nd                Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         Ten-Ninety, Ltd./$4,150,000         Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         Hasley Canyon                       Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         HFA-Clear Lake 2nd                  Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         HFA- Riviera 2nd                    Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, 1011 F Ave                         Goss Road                           Unknown            Y
        as joint tenants with right of survivorship                  Coronado, CA 92118
        James W. Pengilly and Amanda M. Pengilly, husband and wife, 232 Muldowney Lane             Lerin Hills                         Unknown            Y
        as joint tenants with right of survivorship                  Las Vegas, NV 89138
        James W. Taylor & Maxine D. Taylor, husband & wife, as joint 2394 W 1050 N                 Huntsville                          Unknown            Y
        tenants with right of survivorship                           Hurricane, UT 84737
        James William Rogers, an unmarried man                       22 Lopez Avenue               Gilroy                              Unknown            Y
                                                                     San Francisco, CA 94116
        James William Rogers, an unmarried man                       22 Lopez Avenue               Gilroy                              Unknown            Y
                                                                     San Francisco, CA 94116
        James William Rogers, an unmarried man                       22 Lopez Avenue               HFA- North Yonkers                  Unknown            Y
                                                                     San Francisco, CA 94116
        James William Rogers, an unmarried man                       22 Lopez Avenue               HFA- North Yonkers                  Unknown            Y
                                                                     San Francisco, CA 94116
        Jamie Huish & Margo Huish, husband & wife, as joint tenants  2013 Madagascar Lane          Fiesta USA/Stoneridge               Unknown            Y
        with right of survivorship                                   Las Vegas, NV 89117
        Jamie Huish & Margo Huish, husband & wife, as joint tenants  2013 Madagascar Lane          Amesbury/Hatters Point              Unknown            Y
        with right of survivorship                                   Las Vegas, NV 89117
        Jamie R. Bianchini, an unmarried man                         5111 Gardena Ave              Clear Creek Plantation              Unknown            Y
                                                                     San Diego, CA 92110
        Jamie R. Bianchini, an unmarried man                         5111 Gardena Ave              Clear Creek Plantation              Unknown            Y
                                                                     San Diego, CA 92110
        Jan Mills, a widow                                           1103 Sunshine Run             Cabernet                            Unknown            Y
                                                                     Arnolds Park, IA 51331
        Jane P. Trader an unmarried woman                            20 Cross Ridge Street         Shamrock Tower, LP                  Unknown            Y
                                                                     Las Vegas, NV 89135
        Janet Buckalew Trustee of the Buckalew Trust                 5101 Desert Lilly Lane        HFA- North Yonkers                  Unknown            Y
                                                                     Las Vegas, NV 89130
        Janet Buckalew Trustee of the Buckalew Trust                 5101 Desert Lilly Lane        Tapia Ranch                         Unknown            Y
                                                                     Las Vegas, NV 89130




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In re             USA Commercial Mortgage Company                            ,                                                                         Case No. 06-10725-LBR
                                     Debtor                                                                                                                         (If known)




                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                      EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                        Current Market Value of
                                                                                                                                                          Debtor's Interest in
                                                                 Description and Location of Property                                                          Property


                                  Legal vesting                                         Mailing Address                        Loan Name                 Amount     Contingent
        Janet F. Bourque, an unmarried woman                                 957 La Senda                      Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                             Santa Barbara, CA 93105
        Janet K. Pohl & Ronald L. Pohl Trustees of the Janet K. Pohl         14070 Boxford Court               Bay Pompano Beach                        Unknown         Y
        Trust dated 6/24/94                                                  Chesterfield, MO 63017
        Janet K. Pohl & Ronald L. Pohl Trustees of the Janet K. Pohl         14070 Boxford Court               6425 Gess, LTD                           Unknown         Y
        Trust dated 6/24/94                                                  Chesterfield, MO 63017
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   Castaic Partners II, LLC                 Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   Castaic Partners II, LLC                 Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   HFA- North Yonkers                       Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   HFA- North Yonkers                       Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   Marquis Hotel                            Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P.       17 Front Street                   Marquis Hotel                            Unknown         Y
        Johnson Living Trust dated 7/15/04                                   Palm Coast, FL 32137
        Janice A. Magrisi, an unmarried woman & Phillip W. Dickinson         3725 Dorrington Drive             Bay Pompano Beach                        Unknown         Y
        an unmarried man, joint tenants with the right of survivorship       Las Vegas, NV 89129
        Janice A. Magrisi, an unmarried woman & Phillip W. Dickinson         3725 Dorrington Drive             Bay Pompano Beach                        Unknown         Y
        an unmarried man, joint tenants with the right of survivorship       Las Vegas, NV 89129
        Janice Janis and Christine Brager, Tenants in Common                 406 Pearl Street                  Bay Pompano Beach                        Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis and Christine Brager, Tenants in Common                 406 Pearl Street                  Bay Pompano Beach                        Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  BarUSA/$15,300,000                       Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  BarUSA/$15,300,000                       Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  Harbor Georgetown                        Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  Harbor Georgetown                        Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  Eagle Meadows Development                Unknown         Y
                                                                             Boulder, CO 80302
        Janice Janis Trustee of the Janice Janis Living Trust dated 2/3/99   406 Pearl Street                  Eagle Meadows Development                Unknown         Y
                                                                             Boulder, CO 80302
        Janice W. Bradbury Trustee of Bradbury Family Trust dated            P O Box 1052                      6425 Gess, LTD                           Unknown         Y
        12/20/88                                                             Rancho Santa Fe, CA 92067
        Janice W. Bradbury Trustee of Bradbury Family Trust dated            P O Box 1052                      Huntsville                               Unknown         Y
        12/20/88                                                             Rancho Santa Fe, CA 92067
        Janice W. Bradbury Trustee of Bradbury Family Trust dated            P O Box 1052                      Margarita Annex                          Unknown         Y
        12/20/88                                                             Rancho Santa Fe, CA 92067
        Janie C. Tammadge, a married woman dealing with her sole &           1400 Colorado St Ste C            HFA- North Yonkers                       Unknown         Y
        separate property                                                    Boulder City, NV 89005
        Janis N. Romo, the custodian of Mario West Romo, a minor             P O Box 50522                     Riviera - Homes for America Holdings,    Unknown         Y
        under UTMA                                                           Henderson, NV 89016               L.L.C.
        Janis N. Romo, the custodian of Mario West Romo, a minor             P O Box 50522                     Hasley Canyon                            Unknown         Y
        under UTMA                                                           Henderson, NV 89016
        Janis N. Romo, the custodian of Mario West Romo, a minor             P O Box 50522                     Cabernet                                 Unknown         Y
        under UTMA                                                           Henderson, NV 89016
        Jason C. Weber, an unmarried man                                     226 W J St                        Marlton Square 2nd                       Unknown         Y
                                                                             Encinitas, CA 92024
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants      806 Buchanan Blvd # 115 PMB 248   Marlton Square 2nd                       Unknown         Y
        with right of survivorship                                           Boulder City, NV 89005
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants      806 Buchanan Blvd # 115 PMB 248   Marlton Square 2nd                       Unknown         Y
        with right of survivorship                                           Boulder City, NV 89005
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants      806 Buchanan Blvd # 115 PMB 248   Placer Vineyards                         Unknown         Y
        with right of survivorship                                           Boulder City, NV 89005




SCHEDULES                                                                                Exhibit B-21                                                                PAGE 128
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In re            USA Commercial Mortgage Company                     ,                                                                            Case No. 06-10725-LBR
                                  Debtor                                                                                                                       (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                   Current Market Value of
                                                                                                                                                     Debtor's Interest in
                                                           Description and Location of Property                                                           Property


                                Legal vesting                                     Mailing Address                         Loan Name                 Amount     Contingent
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants 806 Buchanan Blvd # 115 PMB 248   Placer Vineyards                         Unknown         Y
        with right of survivorship                                      Boulder City, NV 89005
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants 806 Buchanan Blvd # 115 PMB 248   Harbor Georgetown                        Unknown         Y
        with right of survivorship                                      Boulder City, NV 89005
        Jason L. Holt & Sally A. Holt, husband & wife, as joint tenants 806 Buchanan Blvd # 115 PMB 248   Harbor Georgetown                        Unknown         Y
        with right of survivorship                                      Boulder City, NV 89005
        Jason L. Holt, a married man dealing with his sole & separate   806 Buchanan Blvd # 115 PMB 248   Gramercy Court Condos                    Unknown         Y
        property                                                        Boulder City, NV 89005
        Jason L. Holt, a married man dealing with his sole & separate   806 Buchanan Blvd # 115 PMB 248   Gramercy Court Condos                    Unknown         Y
        property                                                        Boulder City, NV 89005
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Huntsville                               Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Huntsville                               Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Marlton Square 2nd                       Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Marlton Square 2nd                       Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                HFA- North Yonkers                       Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                HFA- North Yonkers                       Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Cabernet                                 Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A.    142 Brighton Close                Cabernet                                 Unknown         Y
        Pandaleon Profit Sharing Trust under agreement dated 1/1/75     Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon, husband & wife, as joint 142 Brighton Close                Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                              Nashville, TN 37205               L.L.C.
        Jay A. Pandaleon & Leigh B. Pandaleon, husband & wife, as joint 142 Brighton Close                Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                              Nashville, TN 37205               L.L.C.
        Jay A. Pandaleon & Leigh B. Pandaleon, husband & wife, as joint 142 Brighton Close                Clear Creek Plantation                   Unknown         Y
        tenants with right of survivorship                              Nashville, TN 37205
        Jay A. Pandaleon & Leigh B. Pandaleon, husband & wife, as joint 142 Brighton Close                Clear Creek Plantation                   Unknown         Y
        tenants with right of survivorship                              Nashville, TN 37205
        Jay Betz & Joy Betz Trustees of the Betz Family Trust           16716 Otter Road                  Marquis Hotel                            Unknown         Y
                                                                        Grass Valley, CA 95949
        Jay Betz & Joy Betz Trustees of the Betz Family Trust           16716 Otter Road                  HFA- North Yonkers                       Unknown         Y
                                                                        Grass Valley, CA 95949
        Jay Betz & Joy Betz Trustees of the Betz Family Trust           16716 Otter Road                  Amesbury/Hatters Point                   Unknown         Y
                                                                        Grass Valley, CA 95949
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Marquis Hotel                            Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Marquis Hotel                            Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Marquis Hotel                            Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Placer Vineyards                         Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Placer Vineyards                         Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay C. McLaughlin & Peggy Ann Valley Trustees of the            1952 Dolphin Place                Placer Vineyards                         Unknown         Y
        McLaughlin-Valley Trust dated 2/24/97                           Discovery Bay, CA 94514
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan      1023 Ridgeview Ct                 Bay Pompano Beach                        Unknown         Y
                                                                        Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan      1023 Ridgeview Ct                 Bay Pompano Beach                        Unknown         Y
                                                                        Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan      1023 Ridgeview Ct                 Shamrock Tower, LP                       Unknown         Y
                                                                        Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan      1023 Ridgeview Ct                 Shamrock Tower, LP                       Unknown         Y
                                                                        Carson City, NV 89705




SCHEDULES                                                                          Exhibit B-21                                                                 PAGE 129
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In re             USA Commercial Mortgage Company                         ,                                                                      Case No. 06-10725-LBR
                                    Debtor                                                                                                                    (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                               Description and Location of Property                                                      Property


                                 Legal vesting                                         Mailing Address                       Loan Name             Amount     Contingent
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Placer Vineyards                     Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Placer Vineyards                     Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Opaque/Mt. Edge $7,350,000           Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Opaque/Mt. Edge $7,350,000           Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 HFA- Clear Lake                      Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 HFA- Clear Lake                      Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Hasley Canyon                        Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Hasley Canyon                        Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Gilroy                               Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Gilroy                               Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 BarUSA/$15,300,000                   Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 BarUSA/$15,300,000                   Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Golden State Investments II          Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan         1023 Ridgeview Ct                 Golden State Investments II          Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman, an unmarried man                                    1023 Ridgeview Ct                 Brookmere/Matteson $27,050,000       Unknown         Y
                                                                           Carson City, NV 89705
        Jay E. Henman, an unmarried man                                    1023 Ridgeview Ct                 Brookmere/Matteson $27,050,000       Unknown         Y
                                                                           Carson City, NV 89705
        Jay F Golida, a married man dealing with his sole and separate     16 Covered Wagon Lane             Shamrock Tower, LP                   Unknown         Y
        property                                                           Rolling Hills Estates, CA 90275
        Jay Lim & Kim M. Lim, husband & wife, as joint tenants with        208 Clarence Way                  HFA- North Yonkers                   Unknown         Y
        right of survivorship                                              Fremont, CA 94539
        Jay Lim & Kim M. Lim, husband & wife, as joint tenants with        208 Clarence Way                  HFA- North Yonkers                   Unknown         Y
        right of survivorship                                              Fremont, CA 94539
        Jay Lim & Kim M. Lim, husband & wife, as joint tenants with        208 Clarence Way                  Hasley Canyon                        Unknown         Y
        right of survivorship                                              Fremont, CA 94539
        Jay Lim & Kim M. Lim, husband & wife, as joint tenants with        208 Clarence Way                  Hasley Canyon                        Unknown         Y
        right of survivorship                                              Fremont, CA 94539
        Jay S. Stein Trustee of the Jay S. Stein 2000 Trust dated 12/12/00 P O Box 188                       Eagle Meadows Development            Unknown         Y
                                                                           Summerland, CA 93067
        Jay S. Stein Trustee of the Jay S. Stein 2000 Trust dated 12/12/00 P O Box 188                       Eagle Meadows Development            Unknown         Y
                                                                           Summerland , CA 93067
        Jay S. Stein Trustee of the Jay S. Stein 2000 Trust dated 12/12/00 P O Box 188                       Eagle Meadows Development            Unknown         Y
                                                                           Summerland, CA 93067
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              Bay Pompano Beach                    Unknown         Y
                                                                           Henderson, NV 89052
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              Bay Pompano Beach                    Unknown         Y
                                                                           Henderson, NV 89052
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              HFA- North Yonkers                   Unknown         Y
                                                                           Henderson, NV 89052
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              HFA- North Yonkers                   Unknown         Y
                                                                           Henderson, NV 89052
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              Amesbury/Hatters Point               Unknown         Y
                                                                           Henderson, NV 89052
        Jayem Family LP, a Nevada limited partnership                      7 Paradise Valley Ct              Amesbury/Hatters Point               Unknown         Y
                                                                           Henderson, NV 89052




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In re            USA Commercial Mortgage Company                      ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                            Description and Location of Property                                                 Property


                                Legal vesting                                      Mailing Address                     Loan Name           Amount     Contingent
        Jean C. Crowley, an unmarried woman                              5724 S. E. Hazel Road         Fiesta Oak Valley                  Unknown         Y
                                                                         Bartlesville, OK 74006
        Jean Greco Trustee of the Jean V. Greco Living Trust dated       2301 South Gunderson Avenue   Amesbury/Hatters Point             Unknown         Y
        1/22/02                                                          Berwyn, IL 60402
        Jean Greco Trustee of the Jean V. Greco Living Trust dated       2301 South Gunderson Avenue   HFA- North Yonkers                 Unknown         Y
        1/22/02                                                          Berwyn, IL 60402
        Jean Greco Trustee of the Jean V. Greco Living Trust dated       2301 South Gunderson Avenue   Marquis Hotel                      Unknown         Y
        1/22/02                                                          Berwyn, IL 60402
        Jean H. Murray Trustee of the Jean H. Murray Separate Property 865 Coloma Dr                   Amesbury/Hatters Point             Unknown         Y
        Trust dated 9/12/02                                              Carson City, NV 89705
        Jean H. Murray Trustee of the Jean H. Murray Separate Property 865 Coloma Dr                   Gramercy Court Condos              Unknown         Y
        Trust dated 9/12/02                                              Carson City, NV 89705
        Jean Jacques Berthelot Trustee of the Berthelot Living Trust     9328 Sienna Vista Drive       Fiesta USA/Stoneridge              Unknown         Y
        dated 4/9/03                                                     Las Vegas, NV 89117
        Jeanette D. Tarantino, a married woman dealing with her sole & P. O. Box 2076                  Bay Pompano Beach                  Unknown         Y
        separate property                                                Carmel, CA 93921
        Jeanette D. Tarantino, a married woman dealing with her sole & P. O. Box 2076                  Hasley Canyon                      Unknown         Y
        separate property                                                Carmel, CA 93921
        Jeanne Rawdin, a single woman                                    4974 Via Cinta                Brookmere/Matteson $27,050,000     Unknown         Y
                                                                         San Diego, CA 92122
        Jeannine M. Gahring Trustee of the Jeannine M. Gahring           17282 Candleberry             Tapia Ranch                        Unknown         Y
        Revocable Trust dated 6/27/97                                    Irvine, CA 92612
        Jeannine M. Gahring Trustee of the Jeannine M. Gahring           17282 Candleberry             Placer Vineyards 2nd               Unknown         Y
        Revocable Trust dated 6/27/97                                    Irvine, CA 92612
        Jeff P. Dillenburg and Karen A. Dillenburg, husband and wife, as OS135 Forbes Dr               Fiesta USA/Stoneridge              Unknown         Y
        joint tenants with the right of survivorship                     Geneva, IL 60134
        Jeffrey E. Barber & Suzanne M. Barber Trustees of the Barber     9104 Blazing Fire Ct          Midvale Marketplace, LLC           Unknown         Y
        Family Trust dated 4/24/98                                       Las Vegas, NV 89117
        Jeffrey E. Barber & Suzanne M. Barber Trustees of the Barber     9104 Blazing Fire Ct          6425 Gess, LTD                     Unknown         Y
        Family Trust dated 4/24/98                                       Las Vegas, NV 89117
        Jeffrey L. Edwards & Kathleen M. Edwards, husband & wife, as 1525 Cedar Court                  Bay Pompano Beach                  Unknown         Y
        joint tenants with right of survivorship                         Southlake, TX 76092
        Jeffrey S. Leopold & Michelle R. Leopold Trustees of the         70 Corte Amado                Midvale Marketplace, LLC           Unknown         Y
        Leopold Family Trust dated 9/18/04                               Greenbrae, CA 94904
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Marquis Hotel                      Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Marquis Hotel                      Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Placer Vineyards 2nd               Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Placer Vineyards 2nd               Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Tapia Ranch                        Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          Tapia Ranch                        Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          HFA- North Yonkers                 Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer C. Peele Trustee of the Peele Spousal Trust dated       2581 Rampart Terrace          HFA- North Yonkers                 Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer Cole Peele Trustee of the Peele Bypass Trust dated      2581 Rampart Terrace          Placer Vineyards                   Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennefer Cole Peele Trustee of the Peele Bypass Trust dated      2581 Rampart Terrace          Placer Vineyards                   Unknown         Y
        2/10/87                                                          Reno, NV 89509
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Court          HFA- North Yonkers                 Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973
        tenants with right of survivorship
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Ct             HFA- North Yonkers                 Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973
        tenants with right of survivorship




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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Court        Riviera - Homes for America Holdings,    Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973             L.L.C.
        tenants with right of survivorship
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Ct           Riviera - Homes for America Holdings,    Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973             L.L.C.
        tenants with right of survivorship
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Court        Goss Road                                Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973
        tenants with right of survivorship
        Jennifer A. Chun, an unmarried woman & Vernon Chun, a            9 Auburn Crest Ct           Goss Road                                Unknown         Y
        married man dealing with his sole & separate property, as joint  Chico, CA 95973
        tenants with right of survivorship
        Jennifer J. Harmon, a single woman, and Cheryl Hoff, a married 3368 Shore Acres NW           Tapia Ranch                              Unknown         Y
        woman dealing with her sole and separate property, as joint      Longville , MN 56655
        tenants with the rights of survivorship
        Jennifer J. Harmon, a single woman, and Cheryl Hoff, a married 3368 Shore Acres Rd NW        Tapia Ranch                              Unknown         Y
        woman dealing with her sole and separate property, as joint      Longville, MN 56655
        tenants with the rights of survivorship
        Jennifer J. Harmon, a single woman, and Cheryl Hoff, a married 3368 Shore Acres NW           Lerin Hills                              Unknown         Y
        woman dealing with her sole and separate property, as joint      Longville , MN 56655
        tenants with the rights of survivorship
        Jennifer J. Harmon, a single woman, and Cheryl Hoff, a married 3368 Shore Acres Rd NW        Lerin Hills                              Unknown         Y
        woman dealing with her sole and separate property, as joint      Longville, MN 56655
        tenants with the rights of survivorship
        Jerome L. Block & Charma N. Block, husband & wife, as joint      201 S 18th St Apt 2119      Shamrock Tower, LP                       Unknown         Y
        tenants with right of survivorship                               Philadelphia, PA 19103
        Jerome L. Block & Charma N. Block, husband & wife, as joint      201 S 18th St Apt 2119      6425 Gess, LTD                           Unknown         Y
        tenants with right of survivorship                               Philadelphia, PA 19103
        Jerome L. Block & Charma N. Block, husband & wife, as joint      201 S 18th St Apt 2119      Gramercy Court Condos                    Unknown         Y
        tenants with right of survivorship                               Philadelphia, PA 19103
        Jerome Marshall & Rochelle Marshall, husband & wife, as          3175 La Mancha Way          Amesbury/Hatters Point                   Unknown         Y
        Tenants in Common                                                Henderson, NV 89014
        Jerome Marshall & Rochelle Marshall, husband & wife, as          3175 La Mancha Way          Marlton Square                           Unknown         Y
        Tenants in Common                                                Henderson, NV 89014
        Jerome Marshall & Rochelle Marshall, husband & wife, as          3175 La Mancha Way          Brookmere/Matteson $27,050,000           Unknown         Y
        Tenants in Common                                                Henderson, NV 89014
        Jerrold B. Newman and Ruth C. Newman Trustees of The             35 Buckingham Ct.           Golden State Investments II              Unknown         Y
        Newman Family Trust 07/18/1997                                   Hillsborough, CA 94010
        Jerrold T. Martin, a single man & James T. Martin, a married man 8423 Paso Robles            Eagle Meadows Development                Unknown         Y
        dealing with his sole & separate property, as joint tenant with  Northridge, CA 91325
        right of survivorship
        Jerrold T. Martin, a single man & James T. Martin, a married man 8423 Paso Robles            HFA- North Yonkers                       Unknown         Y
        dealing with his sole & separate property, as joint tenant with  Northridge, CA 91325
        right of survivorship
        Jerrold T. Martin, a single man & James T. Martin, a married man 8423 Paso Robles            Marlton Square                           Unknown         Y
        dealing with his sole & separate property, as joint tenant with  Northridge, CA 91325
        right of survivorship
        Jerrold Weinstein Trustee of the Jerrold Weinstein Self          10524 Back Plains           Amesbury/Hatters Point                   Unknown         Y
        Declaration Trust dated 06/07/91                                 Las Vegas, NV 89134
        Jerry Kirk and Luci Kirk, Trustees of the Kirk Revocable Trust   P. O. Box 26832             Marlton Square                           Unknown         Y
        dated 2/10/84                                                    Santa Ana, CA 92799
        Jerry L. Blackman, Sr. and Carolyn N. Blackman Living Trust,     P O Box 228                 Anchor B, LLC                            Unknown         Y
        dated 11/26/01                                                   Lincoln City, OR 97367
        Jerry L. Blackman, Sr. and Carolyn N. Blackman Living Trust,     P O Box 228                 Gateway Stone                            Unknown         Y
        dated 11/26/01                                                   Lincoln City, OR 97367
        Jerry L. Blackman, Sr. and Carolyn N. Blackman Living Trust,     P O Box 228                 Marlton Square                           Unknown         Y
        dated 11/26/01                                                   Lincoln City, OR 97367
        Jerry L. Blackman, Sr. and Carolyn N. Blackman Living Trust,     P O Box 228                 Clear Creek Plantation                   Unknown         Y
        dated 11/26/01                                                   Lincoln City, OR 97367




SCHEDULES                                                                           Exhibit B-21                                                           PAGE 132
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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount     Contingent
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Placer Vineyards                   Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Placer Vineyards                   Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Eagle Meadows Development          Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Eagle Meadows Development          Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Castaic Partners II, LLC           Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry L. Gage & Darlene C. Gage Trustees of the Dakota Trust      185 Gymkhana Ln            Castaic Partners II, LLC           Unknown           Y
        dated 9/16/96                                                     Reno, NV 89506
        Jerry Moreo, an unmarried man                                     485 Annet St               Bay Pompano Beach                  Unknown           Y
                                                                          Henderson, NV 89052
        Jerry W. Carter & Nancy L. Carter Trustees of the Carter Family 4543 Northwind Court         Placer Vineyards 2nd               Unknown           Y
        Trust dated 6/17/96                                               Sparks, NV 89436
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   Hasley Canyon                      Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   Bay Pompano Beach                  Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   Placer Vineyards                   Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   6425 Gess, LTD                     Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   BarUSA/$15,300,000                 Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate 1415 Lakeview Avenue South   Opaque/Mt. Edge $7,350,000         Unknown           Y
        property                                                          Minneapolis, MN 55416
        Jester, LP, a Nevada limited partnership                          2024 Winter Wind           Bay Pompano Beach                  Unknown           Y
                                                                          Las Vegas, NV 89134
        Jester, LP, a Nevada limited partnership                          2024 Winter Wind           Clear Creek Plantation             Unknown           Y
                                                                          Las Vegas, NV 89134
        Jester, LP, a Nevada limited partnership                          2024 Winter Wind           Placer Vineyards                   Unknown           Y
                                                                          Las Vegas, NV 89134
        Jester, LP, a Nevada limited partnership                          2024 Winter Wind           Tapia Ranch                        Unknown           Y
                                                                          Las Vegas, NV 89134
        Jill Chioino & John W. Choe, husband & wife, as joint tenants     901 Harbor View Dr         Fiesta Oak Valley                  Unknown           Y
        with right of survivorship                                        Martinez, CA 94553
        Jill Chioino & John W. Choe, husband & wife, as joint tenants     901 Harbor View Dr         Hasley Canyon                      Unknown           Y
        with right of survivorship                                        Martinez, CA 94553
        Jill Chioino & John W. Choe, husband & wife, as joint tenants     901 Harbor View Dr         Shamrock Tower, LP                 Unknown           Y
        with right of survivorship                                        Martinez, CA 94553
        Jillian Campbell & Patsy Rieger, joint tenants with right of      2024 Douglas Road          Fiesta USA/Stoneridge              Unknown           Y
        survivorship                                                      Stockton, CA 95207
        Jillian Campbell & Patsy Rieger, joint tenants with right of      2024 Douglas Road          Brookmere/Matteson $27,050,000     Unknown           Y
        survivorship                                                      Stockton, CA 95207
        Jingxiu Jason Pan, a married man dealing with his sole & separate 4296 Desert Highlands Dr   HFA- Clear Lake                    Unknown           Y
        property                                                          Sparks, NV 89436
        Jo M. Gledhill Trustee of the Gledhill Revocable Family Trust     10500 Valley Drive         Gateway Stone                      Unknown           Y
                                                                          Plymouth, CA 95669
        Jo M. Gledhill Trustee of the Gledhill Revocable Family Trust     10500 Valley Drive         Placer Vineyards                   Unknown           Y
                                                                          Plymouth, CA 95669
        Joan B. Gassiot Trustee of the Joan B. Gassiot 1987 Trust dated 4050 Bitter Creek Ct.        Marlton Square 2nd                 Unknown           Y
        8/7/87                                                            Reno, NV 89509
        Joan B. Gassiot Trustee of the Joan B. Gassiot 1987 Trust dated 4050 Bitter Creek Ct.        HFA- Riviera 2nd                   Unknown           Y
        8/7/87                                                            Reno, NV 89509
        Joan B. Gassiot Trustee of the Joan B. Gassiot 1987 Trust dated 4050 Bitter Creek Ct.        Eagle Meadows Development          Unknown           Y
        8/7/87                                                            Reno, NV 89509
        Joan F. Sibrava & Howard D. Rapp Trustees of the Sibrava-Rapp 1077 Washington St             Amesbury/Hatters Point             Unknown           Y
        Trust dated 1/2/97                                                Reno, NV 89053




SCHEDULES                                                                          Exhibit B-21                                                      PAGE 133
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In re            USA Commercial Mortgage Company                        ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                    (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                             Description and Location of Property                                                       Property


                                Legal vesting                                      Mailing Address                           Loan Name            Amount     Contingent
        Joan L. Shoop and Kenneth D. Shoop, husband and wife as joint    10050 Aniane St.                   Eagle Meadows Development            Unknown         Y
        tenants with right of survivorship                               Reno, NV 89521
        Joan M. Arends Trustee of the Arends Family Trust                2310 Aqua Hill Road                Placer Vineyards                     Unknown         Y
                                                                         Fallbrook, CA 92028
        Joan M. Arends Trustee of the Arends Family Trust                2310 Aqua Hill Road                Marlton Square                       Unknown         Y
                                                                         Fallbrook, CA 92028
        Joan M. Crittenden, a single woman                               P O Box 2577                       Copper Sage Commerce Center, LLC     Unknown         Y
                                                                         Olympic Valley, CA 96146
        Joan M. LeBlanc, a married woman, dealing with her sole and      P. O. Box 6434                     Bay Pompano Beach                    Unknown         Y
        separate property                                                Incline Village, NV 89450
        Joann B. Nunes, an unmarried woman, & Gladys Mathers, a          1741 Lavender Court                Eagle Meadows Development            Unknown         Y
        single woman, as joint tenants with right of survivorship        Minden, NV 89423
        Joann L. McQuerry Trustee of the McQuerry Family Partnership 318 Singing Brook Circle               Marlton Square                       Unknown         Y
                                                                         Santa Rosa, CA 95409
        Joanne M. Grundman, a single woman                               1608 Brown St                      Fiesta Oak Valley                    Unknown         Y
                                                                         Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman                              115 S S Deer Run Rd                Bay Pompano Beach                    Unknown         Y
                                                                         Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman                              115 South Deer Run                 Bay Pompano Beach                    Unknown         Y
                                                                         Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman                              115 S Deer Run Rd                  Bay Pompano Beach                    Unknown         Y
                                                                         Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman & Eddie Mayo, an             115 S S Deer Run Rd                Opaque/Mt. Edge $7,350,000           Unknown         Y
        unmarried man as joint tenants with right of survivorship        Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman & Eddie Mayo, an             115 South Deer Run                 Opaque/Mt. Edge $7,350,000           Unknown         Y
        unmarried man as joint tenants with right of survivorship        Carson City, NV 89701
        Jocelyne Helzer, an unmarried woman & Eddie Mayo, an             115 S Deer Run Rd                  Opaque/Mt. Edge $7,350,000           Unknown         Y
        unmarried man as joint tenants with right of survivorship        Carson City, NV 89701
        Joe H. King & Toni J. King, husband & wife, as joint tenants     411 Walnut St 2239                 BarUSA/$15,300,000                   Unknown         Y
        with right of survivorship                                       Green Cove Springs, FL 32043
        Johanna B. Kovacs, an unmarried woman                            P. O. Box 275                      Bay Pompano Beach                    Unknown         Y
                                                                         Upper Lake, CA 95485
        John A. & April D. Blevins, husband & wife as joint tenants with 704 Fife Street                    Golden State Investments II          Unknown         Y
        right of survivorship                                            Henderson, NV 89015
        John A. & April D. Blevins, husband & wife as joint tenants with 704 Fife Street                    Marlton Square                       Unknown         Y
        right of survivorship                                            Henderson, NV 89015
        John A. Godfrey                                                  Pinnacle Entertainment, Inc.       Gateway Stone                        Unknown         Y
                                                                         3800 Howard Hughes Pkwy Ste 1800
                                                                         Las Vegas, NV 89109
        John A. Hoglund & Patricia O. Hoglund, husband & wife, as joint 7574 E Green Lake Dr N              Midvale Marketplace, LLC             Unknown         Y
        tenants with right of survivorship                               Seattle, WA 98103
        John A. Hoglund & Patricia O. Hoglund, husband & wife, as joint 7574 E Green Lake Drive North       Midvale Marketplace, LLC             Unknown         Y
        tenants with right of survivorship                               Seattle, WA 98103
        John A. Hoglund & Patricia O. Hoglund, husband & wife, as joint 7574 E Green Lake Dr N              Marlton Square                       Unknown         Y
        tenants with right of survivorship                               Seattle, WA 98103
        John A. Hoglund & Patricia O. Hoglund, husband & wife, as joint 7574 E Green Lake Drive North       Marlton Square                       Unknown         Y
        tenants with right of survivorship                               Seattle, WA 98103
        John A. Ippolito & Patricia M. Ippolito Trustees of the Ippolito 5527 Vista Terrace Ln              Eagle Meadows Development            Unknown         Y
        Family Trust dated 8/31/89                                       Sparks, NV 89436
        John A. Ippolito & Patricia M. Ippolito Trustees of the Ippolito 5527 Vista Terrace Ln              Placer Vineyards                     Unknown         Y
        Family Trust dated 8/31/89                                       Sparks, NV 89436
        John A. Ippolito & Patricia M. Ippolito Trustees of the Ippolito 5527 Vista Terrace Ln              Opaque/Mt. Edge $7,350,000           Unknown         Y
        Family Trust dated 8/31/89                                       Sparks, NV 89436
        John A. Ippolito & Patricia M. Ippolito Trustees of the Ippolito 5527 Vista Terrace Ln              Gramercy Court Condos                Unknown         Y
        Family Trust dated 8/31/89                                       Sparks, NV 89436
        John A. Ippolito & Patricia M. Ippolito Trustees of the Ippolito 5527 Vista Terrace Ln              HFA- North Yonkers                   Unknown         Y
        Family Trust dated 8/31/89                                       Sparks, NV 89436
        John A. M. Handal, a single man                                  3575 Siskiyou Court                Placer Vineyards                     Unknown         Y
                                                                         Hayward, CA 94542




SCHEDULES                                                                          Exhibit B-21                                                               PAGE 134
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In re             USA Commercial Mortgage Company                          ,                                                                  Case No. 06-10725-LBR
                                     Debtor                                                                                                                (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                                Description and Location of Property                                                  Property


                                  Legal vesting                                          Mailing Address                     Loan Name          Amount     Contingent
        John A. M. Handal, a single man                                     3575 Siskiyou Court              Placer Vineyards                  Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              Huntsville                        Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              Huntsville                        Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              HFA- Windham                      Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              HFA- Windham                      Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              Gateway Stone                     Unknown         Y
                                                                            Hayward, CA 94542
        John A. M. Handal, a single man                                     3575 Siskiyou Court              Gateway Stone                     Unknown         Y
                                                                            Hayward, CA 94542
        John A. Manney & Kathryn B. Manney, husband & wife, as joint P O Box 370354                          Brookmere/Matteson $27,050,000    Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89137
        John Austin Werthing, Sr. & Sallie Mae Werthing Trustees of         56 Country Club Cove             Placer Vineyards                  Unknown         Y
        The Werthing Senior Family Trust dated 10/22/01                     Jackson, TN 38305
        John B. Jaeger & Priscilla J. Jaeger Trustees of the John B. Jaeger 2256 Hot Oak Ridge Street        6425 Gess, LTD                    Unknown         Y
        & Priscilla J. Jaeger Family Trust                                  Las Vegas, NV 89134
        John B. Jaeger & Priscilla J. Jaeger Trustees of the John B. Jaeger 2256 Hot Oak Ridge Street        Bay Pompano Beach                 Unknown         Y
        & Priscilla J. Jaeger Family Trust                                  Las Vegas, NV 89134
        John Bacon & Sandra Bacon, husband & wife, as joint tenants         2001 Fallsburg Way               Amesbury/Hatters Point            Unknown         Y
        with right of survivorship                                          Henderson, NV 89015
        John C. Barzan and Rosemarie A. Barzan, Trustees of the Barzan 1409 Morada Dr                        BarUSA/$15,300,000                Unknown         Y
        Family Trust dated 5/23/90                                          Modesto, CA 95350
        John Colin Taylor & Joy Dorine Taylor Trustees of the Taylor        13658 La Jolla Circle Unit 8 B   Eagle Meadows Development         Unknown         Y
        Family Trust dated 6/18/97                                          La Mirada, CA 90638
        John Colin Taylor & Joy Dorine Taylor Trustees of the Taylor        13658 La Jolla Circle Unit 8-B   Eagle Meadows Development         Unknown         Y
        Family Trust dated 6/18/97                                          La Mirada, CA 90638
        John Colin Taylor & Joy Dorine Taylor Trustees of the Taylor        13658 La Jolla Circle Unit 8 B   Marlton Square 2nd                Unknown         Y
        Family Trust dated 6/18/97                                          La Mirada, CA 90638
        John Colin Taylor & Joy Dorine Taylor Trustees of the Taylor        13658 La Jolla Circle Unit 8-B   Marlton Square 2nd                Unknown         Y
        Family Trust dated 6/18/97                                          La Mirada, CA 90638
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint       2259 Green Mountain Court        Gilroy                            Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89135
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint       2259 Green Mountain Court        Harbor Georgetown                 Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89135
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint       2259 Green Mountain Court        Placer Vineyards                  Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89135
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint       2259 Green Mountain Court        Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89135
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint       2259 Green Mountain Court        Brookmere/Matteson $27,050,000    Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89135
        John D. Hathcock and Susan K. Hathcock, husband and wife, as 3016 Pismo Beach Dr.                    Gateway Stone                     Unknown         Y
        joint tenants with right of survivorship                            Las Vegas, NV 89128
        John D. Hathcock and Susan K. Hathcock, husband and wife, as 3016 Pismo Beach Dr.                    Eagle Meadows Development         Unknown         Y
        joint tenants with right of survivorship                            Las Vegas, NV 89128
        John D. Lane & Laura Jane Lane Trustees of the John D. Lane & 9404 Olympia Fields Drive              Amesbury/Hatters Point            Unknown         Y
        Laura Jane Lane Revocable Trust dated 3/7/03                        San Ramon, CA 94583
        John D. Lane & Laura Jane Lane Trustees of the John D. Lane & 9404 Olympia Fields Drive              BarUSA/$15,300,000                Unknown         Y
        Laura Jane Lane Revocable Trust dated 3/7/03                        San Ramon, CA 94583
        John D. Lane & Laura Jane Lane Trustees of the John D. Lane & 9404 Olympia Fields Drive              Placer Vineyards 2nd              Unknown         Y
        Laura Jane Lane Revocable Trust dated 3/7/03                        San Ramon, CA 94583
        John D. Lane, IV, an unmarried man                                  9404 Olympia Fields Dr           Placer Vineyards 2nd              Unknown         Y
                                                                            San Ramon, CA 94583
        John D. Vanderslice & Nancy C. Vanderslice Trustees of the          PO Box 5354                      Fiesta USA/Stoneridge             Unknown         Y
        Vanderslice Trust dated 6/1/96                                      Mohave Valley, AZ 86446
        John Dutkin Trustee of the John Dutkin Revocable Living Trust 4635 Rose Dr                           Brookmere/Matteson $27,050,000    Unknown         Y
        dated 1/17/00                                                       Emmaus, PA 18049




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In re            USA Commercial Mortgage Company                         ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                              Description and Location of Property                                               Property


                                 Legal vesting                                        Mailing Address                    Loan Name         Amount     Contingent
        John E. Michelsen Trustee of the John E. Michelsen Family Trust P O Box 646                     Bay Pompano Beach                 Unknown          Y
        dated 11/75                                                        Zephyr Cove, NV 89448
        John E. Michelsen Trustee of the John E. Michelsen Family Trust P O Box 646                     Gateway Stone                     Unknown          Y
        dated 11/75                                                        Zephyr Cove, NV 89448
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as 2745 Hartwick Pines Dr             HFA- North Yonkers                Unknown          Y
        joint tenants with the right of survivorship                       Henderson, NV 89052
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as 2745 Hartwick Pines Dr             Golden State Investments II       Unknown          Y
        joint tenants with the right of survivorship                       Henderson, NV 89052
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as 2745 Hartwick Pines Dr             6425 Gess, LTD                    Unknown          Y
        joint tenants with the right of survivorship                       Henderson, NV 89052
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as 2745 Hartwick Pines Dr             Gateway Stone                     Unknown          Y
        joint tenants with the right of survivorship                       Henderson, NV 89052
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as 2745 Hartwick Pines Dr             Clear Creek Plantation            Unknown          Y
        joint tenants with the right of survivorship                       Henderson, NV 89052
        John F. Mount & L. Kay Schultz Mount Trustees of the John & 316 California Ave # 312            HFA- North Yonkers                Unknown          Y
        Kay Mount Living Trust dated 9/25/95                               Reno, NV 89509
        John F. Okita & Michiko M. Yamamoto, as joint tenants with         9036 Alpine Peaks Avenue     Marlton Square                    Unknown          Y
        right of survivorship                                              Las Vegas, NV 89147
        John G. Kreiser & Paula Kreiser Trustees of the Kreiser Living     10 Clover Lane               HFA- North Yonkers                Unknown          Y
        Trust dated 9/10/95                                                San Carlos, CA 94070
        John G. Kreiser & Paula Kreiser Trustees of the Kreiser Living     10 Clover Lane               Shamrock Tower, LP                Unknown          Y
        Trust dated 9/10/95                                                San Carlos, CA 94070
        John G. Schlichting and Elizabeth A. Schlichting, husband and      10653 Edgemont Pl.           Fiesta USA/Stoneridge             Unknown          Y
        wife, as joint tenants with the right of survivorship              Highland Ranch, CO 80129
        John G. Theriault and Pamala J. Theriault, husband and wife, as 11209 SW 238th St               Eagle Meadows Development         Unknown          Y
        joint tenants with right of survivorship                           Vashon, WA 98070
        John Goode, a widower                                              5150 S Oakridge Box 126      HFA- North Yonkers                Unknown          Y
                                                                           Pahrump, NV 89048
        John H. Duberg, an unmarried man                                   4455 Vista Coronado Drive    Bay Pompano Beach                 Unknown          Y
                                                                           Chula Vista, CA 91910
        John H. Warner, Jr. & Linda M. Warner Trustees of The Warner 2048 N Chettro Trail               Placer Vineyards                  Unknown          Y
        Family Trust dated 3/17/00                                         St George, UT 84770
        John J. & Gina A. Fanelli Husband and Wife as joint tenants with 27 Larch St.                   Marlton Square                    Unknown          Y
        rights of survivorship                                             Fitchburg, MA 1420
        John J. Douglass                                                   1951 Quail Creek Court       Ashby Financial $7,200,000        Unknown          Y
                                                                           Reno, NV 89509
        John J. Maguire & Diane M. Maguire Trustees of the John J.         5590 San Palazzo Court       6425 Gess, LTD                    Unknown          Y
        Maguire & Diane M. Maguire Living Trust dated 8/4/00               Las Vegas, NV 89141
        John J. Stein Trustee of the Calbrit Retirement Trust dated 8/1/81 4309 Hale Ranch Lane         Marquis Hotel                     Unknown          Y
                                                                           Fair Oaks, CA 95628
        John Krebbs & Elizabeth Lundy, joint tenants with right of         7200 Hwy 50 E                Amesbury/Hatters Point            Unknown          Y
        survivorship                                                       P O Box 22030
                                                                           Carson City, NV 89701
        John L. Wade, Trustee of the John L. Wade Trust dated 5/8/01       881 Lake Country Drive       Castaic Partners II, LLC          Unknown          Y
                                                                           Incline Village, NV 89451
        John L. Wade, Trustee of the John L. Wade Trust dated 5/8/01       881 Lake Country Drive       Eagle Meadows Development         Unknown          Y
                                                                           Incline Village, NV 89451
        John L. Wade, Trustee of the John L. Wade Trust dated 5/8/01       881 Lake Country Drive       Bay Pompano Beach                 Unknown          Y
                                                                           Incline Village, NV 89451
        John L. Wade, Trustee of the John L. Wade Trust dated 5/8/01       881 Lake Country Drive       6425 Gess, LTD                    Unknown          Y
                                                                           Incline Village, NV 89451
        John L. Willis, Jr., an unmarried man                              1307 W Lake St Unit #304     Eagle Meadows Development         Unknown          Y
                                                                           Addison, IL 60101
        John L. Willis, Jr., an unmarried man                              1307 W Lake St Unit #304     Clear Creek Plantation            Unknown          Y
                                                                           Addison, IL 60101
        John Lafayette & Marina Lafayette, husband & wife, as joint        3600 Riviera Ave             Hasley Canyon                     Unknown          Y
        tenants with right of survivorship                                 Las Vegas, NV 89107
        John Lafayette & Marina Lafayette, husband & wife, as joint        3600 Riviera Ave             HFA- Riviera 2nd                  Unknown          Y
        tenants with right of survivorship                                 Las Vegas, NV 89107




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 136
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In re             USA Commercial Mortgage Company                          ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                            (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                                Description and Location of Property                                              Property


                                  Legal vesting                                        Mailing Address                    Loan Name         Amount     Contingent
        John M. Luongo & Gloria Luongo, husband & wife, as joint           965 Leah Circle               Midvale Marketplace, LLC          Unknown         Y
        tenants with right of survivorship payable on death to Stephanie   Reno, NV 89511
        Luongo
        John M. Luongo & Gloria Luongo, husband & wife, as joint           965 Leah Circle               Fiesta Oak Valley                 Unknown         Y
        tenants with right of survivorship payable on death to Stephanie   Reno, NV 89511
        Luongo
        John M. Marston & Linda S. Marston, husband & wife, as joint     12441 County Rd 44              6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorhsip                               Mancos, CO 81328
        John M. Marston & Linda S. Marston, husband & wife, as joint     12441 County Rd 44              HFA- North Yonkers                Unknown         Y
        tenants with right of survivorhsip                               Mancos, CO 81328
        John M. Randall & Shirley A. Randall Trustee of the Randall      11761 View Dr                   Eagle Meadows Development         Unknown         Y
        Revocable Living Trust dated 05/17/90                            Grass Valley, CA 95945
        John M. Tripp Trustee of the Tripp Family Trust 1997             6550 Viewpoint Drive            HFA- Windham                      Unknown         Y
                                                                         Las Vegas, NV 89156
        John M. Tripp Trustee of the Tripp Family Trust 1997             6550 Viewpoint Drive            Lerin Hills                       Unknown         Y
                                                                         Las Vegas, NV 89156
        John M. Tripp Trustee of the Tripp Family Trust 1997             6550 Viewpoint Drive            Placer Vineyards                  Unknown         Y
                                                                         Las Vegas, NV 89156
        John Manter, an unmarried man                                    1449 Tirol Dr                   Amesbury/Hatters Point            Unknown         Y
                                                                         Incline Village, NV 89451
        John Manter, an unmarried man                                    1449 Tirol Dr                   Amesbury/Hatters Point            Unknown         Y
                                                                         Incline Village, NV 89451
        John Manter, an unmarried man                                    1449 Tirol Dr                   Gramercy Court Condos             Unknown         Y
                                                                         Incline Village, NV 89451
        John Manter, an unmarried man                                    1449 Tirol Dr                   Gramercy Court Condos             Unknown         Y
                                                                         Incline Village, NV 89451
        John Manter, an unmarried man                                    1449 Tirol Dr                   HFA- Riviera 2nd                  Unknown         Y
                                                                         Incline Village, NV 89451
        John Manter, an unmarried man                                    1449 Tirol Dr                   HFA- Riviera 2nd                  Unknown         Y
                                                                         Incline Village, NV 89451
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Hasley Canyon                     Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Gilroy                            Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Lerin Hills                       Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Fiesta USA/Stoneridge             Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Amesbury/Hatters Point            Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Bay Pompano Beach                 Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              HFA- North Yonkers                Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right 836 Temple Rock Ct              Brookmere/Matteson $27,050,000    Unknown         Y
        of survivorship                                                  Boulder City, NV 89005
        John O'Sullivan & Patricia O'Sullivan, husband & wife, as joint 730 E Probert Rd                 Amesbury/Hatters Point            Unknown         Y
        tenants with right of survivorship                               Shelton, WA 98584
        John P. Brouwers Trustee of the Brouwers Family Trust dated      8040 Vista Twilight Dr.         Lerin Hills                       Unknown         Y
        1/11/1995                                                        Las Vegas, NV 89123
        John P. Brouwers Trustee of the Brouwers Family Trust dated      8040 Vista Twilight Dr.         Marlton Square                    Unknown         Y
        1/11/1995                                                        Las Vegas, NV 89123
        John P. Clendening & Doreen S. Clendening, husband & wife, as 1250 Davidson Way                  Margarita Annex                   Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89509
        John P. Clendening & Doreen S. Clendening, husband & wife, as 1250 Davidson Way                  Margarita Annex                   Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89509
        John P. Clendening and Doreen Clendening Trustees of the         1250 Davidson Way               Eagle Meadows Development         Unknown         Y
        Clendening Family Trust dated 10/08/2004                         Reno, NV 89509
        John P. Clendening and Doreen Clendening Trustees of the         1250 Davidson Way               Eagle Meadows Development         Unknown         Y
        Clendening Family Trust dated 10/08/2004                         Reno, NV 89509




SCHEDULES                                                                               Exhibit B-21                                                    PAGE 137
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In re             USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                               Description and Location of Property                                                Property


                                 Legal vesting                                         Mailing Address                  Loan Name            Amount     Contingent
        John P. Everett, a married man dealing with his sole and separate Heart Clinics Northeast         Gramercy Court Condos             Unknown         Y
        property                                                          6002 N. Mayfair St. 2nd floor
                                                                          Spokane, WA 99208
        John P. Manter & Nancy K. Manter Trustees of the John P.          1449 Tirol Dr                   HFA- Riviera 2nd                  Unknown         Y
        Manter & Nancy K. Manter Living Trust                             Incline Village, NV 89451
        John P. Manter & Nancy K. Manter Trustees of the John P.          1449 Tirol Dr                   HFA- Riviera 2nd                  Unknown         Y
        Manter & Nancy K. Manter Living Trust                             Incline Village, NV 89451
        John P. Ulrich, a widower                                         308 NE 17th Ave Apt 1           Marlton Square 2nd                Unknown         Y
                                                                          Boynton Beach, FL 33435
        John P. Ulrich, a widower                                         308 NE 17th Ave Apt 1           Amesbury/Hatters Point            Unknown         Y
                                                                          Boynton Beach, FL 33435
        John P. Ulrich, a widower                                         308 NE 17th Ave Apt 1           Brookmere/Matteson $27,050,000    Unknown         Y
                                                                          Boynton Beach, FL 33435
        John Parker Kurlinski & Claire S. Kurlinski Trustees of the John 3322 Beam                        Opaque/Mt. Edge $7,350,000        Unknown         Y
        Parker Kurlinski & Claire Sawyer Kurlinski Revocable Trust        Las Vegas, NV 89118
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave                      Ashby Financial $7,200,000        Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave.                     Ashby Financial $7,200,000        Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave                      BarUSA/$15,300,000                Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave.                     BarUSA/$15,300,000                Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave                      Placer Vineyards                  Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Cangelosi & Margaret M. Cangelosi, husband & wife, as 346 Griggs Ave.                     Placer Vineyards                  Unknown         Y
        joint tenants with right of survivorship                          Teaneck, NJ 7666
        John R. Emery & Sandra Kipp Emery Trustees of the Emery           PO Box 155                      Lerin Hills                       Unknown         Y
        Living Trust dated 6/04/91                                        21460 National Street
                                                                          Volcano, CA 95689
        John R. Emery & Sandra Kipp Emery Trustees of the Emery           PO Box 155                      Eagle Meadows Development         Unknown         Y
        Living Trust dated 6/04/91                                        21460 National Street
                                                                          Volcano, CA 95689
        John R. Emery & Sandra Kipp Emery Trustees of the Emery           PO Box 155                      Bay Pompano Beach                 Unknown         Y
        Living Trust dated 6/04/91                                        21460 National Street
                                                                          Volcano, CA 95689
        John R. Emery & Sandra Kipp Emery Trustees of the Emery           PO Box 155                      BarUSA/$15,300,000                Unknown         Y
        Living Trust dated 6/04/91                                        21460 National Street
                                                                          Volcano, CA 95689
        John R. Fleiner and Karen M. Fleiner, Trustees of the John R. & 7825 Las Plumas Dr                Placer Vineyards                  Unknown         Y
        Karen M. Fleiner Family Trust dated 12/14/05                      Sparks, NV 89436
        John R. Frederickson and Michele L. Frederickson, Trustees of     P O Box 26                      Lerin Hills                       Unknown         Y
        the Frederickson Trust dated 10/02/03                             June Lake, CA 93529
        John Roach & Mary Ann Roach, husband & wife, as joint tenants 35 Alder Court                      Marlton Square 2nd                Unknown         Y
        with right of survivorship                                        Blairsden, CA 96103
        John Roach & Mary Ann Roach, husband & wife, as joint tenants 35 Alder Court                      Placer Vineyards 2nd              Unknown         Y
        with right of survivorship                                        Blairsden, CA 96103
        John Robert Mallin, Jr. & Marie Theresa Mallin Trustees of the 9809 Pinnacle Pass Drive           Freeway 101                       Unknown         Y
        Mallin Family Trust dated 7/12/99                                 Las Vegas, NV 89117
        John Robert Mallin, Jr. & Marie Theresa Mallin Trustees of the 9809 Pinnacle Pass Drive           Margarita Annex                   Unknown         Y
        Mallin Family Trust dated 7/12/99                                 Las Vegas, NV 89117
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint 1110 Elo Road                      Lerin Hills                       Unknown         Y
        tenants with rights of survivorship                               McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint 1110 Elo Road                      Lerin Hills                       Unknown         Y
        tenants with rights of survivorship                               McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint 1110 Elo Road                      Fiesta Oak Valley                 Unknown         Y
        tenants with rights of survivorship                               McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint 1110 Elo Road                      Fiesta Oak Valley                 Unknown         Y
        tenants with rights of survivorship                               McCall, ID 83638




SCHEDULES                                                                               Exhibit B-21                                                     PAGE 138
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In re            USA Commercial Mortgage Company                         ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                Legal vesting                                        Mailing Address                    Loan Name         Amount     Contingent
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 HFA- Clear Lake                   Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 HFA- Clear Lake                   Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 HFA- North Yonkers                Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 HFA- North Yonkers                Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 Brookmere/Matteson $27,050,000    Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 Brookmere/Matteson $27,050,000    Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 Clear Creek Plantation            Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint   1110 Elo Road                 Clear Creek Plantation            Unknown          Y
        tenants with rights of survivorship                              McCall, ID 83638
        John S. Broders, an unmarried man                                1372 Puente St                Harbor Georgetown                 Unknown          Y
                                                                         San Dimas, CA 91773
        John S. Broders, an unmarried man                                1372 Puente St                Marlton Square                    Unknown          Y
                                                                         San Dimas, CA 91773
        John S. Broders, an unmarried man                                1372 Puente St                HFA- Clear Lake                   Unknown          Y
                                                                         San Dimas, CA 91773
        John T. Mrasz & Janet F. Mrasz Trustees of the John & Janet      10015 Barling Street          Bay Pompano Beach                 Unknown          Y
        Mrasz Trust dated 12/2/04                                        Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          6425 Gess, LTD                    Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          6425 Gess, LTD                    Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Ashby Financial $7,200,000        Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Ashby Financial $7,200,000        Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Marlton Square 2nd                Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Marlton Square 2nd                Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Opaque/Mt. Edge $7,350,000        Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Opaque/Mt. Edge $7,350,000        Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Placer Vineyards 2nd              Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Placer Vineyards 2nd              Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Shamrock Tower, LP                Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Shamrock Tower, LP                Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Brookmere/Matteson $27,050,000    Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Brookmere/Matteson $27,050,000    Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Cabernet                          Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz        10015 Barling Street          Cabernet                          Unknown          Y
        Enterprises, Inc. Defined Benefit Plan dated 5/86                Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz, husband & wife as joint tenants     10015 Barling Street          6425 Gess, LTD                    Unknown          Y
        with rights of survivorship                                      Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz, husband & wife as joint tenants     10015 Barling Street          6425 Gess, LTD                    Unknown          Y
        with rights of survivorship                                      Shadow Hill, CA 91040




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In re            USA Commercial Mortgage Company                       ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                             Description and Location of Property                                                      Property


                                Legal vesting                                      Mailing Address                             Loan Name         Amount     Contingent
        John T. Mrasz & Janet Mrasz, husband & wife as joint tenants     10015 Barling Street                 Cabernet                          Unknown         Y
        with rights of survivorship                                      Shadow Hill, CA 91040
        John T. Mrasz & Janet Mrasz, husband & wife as joint tenants     10015 Barling Street                 Cabernet                          Unknown         Y
        with rights of survivorship                                      Shadow Hill, CA 91040
        John W. Keith & Kathleen B. Keith Trustees of the John &         10550 Realm Way                      Lerin Hills                       Unknown         Y
        Kathleen Keith Living Trust dated 8/19/02                        Las Vegas, NV 89135
        John W. Stewart, a single man                                    Unit 7-8/10 Marshall Way             Amesbury/Hatters Point            Unknown         Y
                                                                         Nambucca Heads Australia, NSW 2448
        John Weaver & Colleen Weaver, husband & wife, as joint tenants 9225 Cordoba Blvd                      Amesbury/Hatters Point            Unknown         Y
        with right of survivorship                                       Sparks, NV 89436
        Jon Paul Jensen & Tamara Lee Jensen, husband & wife, as joint 3777 N 161st Ave                        6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorship                               Goodyear, AZ 85338
        Jon Paul Jensen & Tamara Lee Jensen, husband & wife, as joint 3777 N 161st Ave                        Marlton Square                    Unknown         Y
        tenants with right of survivorship                               Goodyear, AZ 85338
        Jon Paul Jensen & Tamara Lee Jensen, husband & wife, as joint 3777 N 161st Ave                        Margarita Annex                   Unknown         Y
        tenants with right of survivorship                               Goodyear, AZ 85338
        Jon Reno Sirrine Trustee of the Sirrine Trust dated 1/28/93      PO Box 785                           Gateway Stone                     Unknown         Y
                                                                         Mt. Juliet, TN 37121
        Jonathan D. Katz, a married man dealing with his sole & separate 4820 W San Jose St                   Gramercy Court Condos             Unknown         Y
        property                                                         Tampa, FL 33629
        Jonathan M. Eller & Carol A. Eller, husband & wife, as joint     P O Box 1614                         Harbor Georgetown                 Unknown         Y
        tenants with right of survivorship                               Mammoth Lakes, CA 93546
        Jonathan M. Eller & Carol A. Eller, husband & wife, as joint     P O Box 1614                         Harbor Georgetown                 Unknown         Y
        tenants with right of survivorship                               Mammoth Lakes, CA 93546
        Jonathan M. Eller & Carol A. Eller, husband & wife, as joint     P O Box 1614                         Castaic Partners II, LLC          Unknown         Y
        tenants with right of survivorship                               Mammoth Lakes, CA 93546
        Jonathan M. Eller & Carol A. Eller, husband & wife, as joint     P O Box 1614                         Castaic Partners II, LLC          Unknown         Y
        tenants with right of survivorship                               Mammoth Lakes, CA 93546
        Jonathan M. Eller, Inc., a California corporation                P O Box 1614                         Eagle Meadows Development         Unknown         Y
                                                                         Mammoth Lakes, CA 93546
        Jonathan M. Eller, Inc., a California corporation                P O Box 1614                         Eagle Meadows Development         Unknown         Y
                                                                         Mammoth Lakes, CA 93546
        Jonathan R. Iger, A married man as his sole & separate property 1708 E. Sheena Drive                  Midvale Marketplace, LLC          Unknown         Y
                                                                         Phoenix, AZ 85022
        Jor Law, a single man                                            5196 N Pkwy Calabasas                Marlton Square                    Unknown         Y
                                                                         Calabasas, CA 91302
        Jor Law, a single man                                            5196 N Pkwy Calabasas                Placer Vineyards                  Unknown         Y
                                                                         Calabasas, CA 91302
        Jordan Levenson, an unmarried man                                P O Box 19606                        Hasley Canyon                     Unknown         Y
                                                                         Los Angeles, CA 90019
        Jorg U. Lenk, a married man dealing with his sole & separate     10636 Bardilino Street               Eagle Meadows Development         Unknown         Y
        property                                                         Las Vegas, NV 89141
        Jorg U. Lenk, a married man dealing with his sole & separate     10636 Bardilino St                   Eagle Meadows Development         Unknown         Y
        property                                                         Las Vegas, NV 89141
        Jorg U. Lenk, a married man dealing with his sole & separate     10636 Bardilino Street               Gramercy Court Condos             Unknown         Y
        property                                                         Las Vegas, NV 89141
        Jorg U. Lenk, a married man dealing with his sole & separate     10636 Bardilino St                   Gramercy Court Condos             Unknown         Y
        property                                                         Las Vegas, NV 89141
        Jose M. Lanzas & Gladys Lanzas, husband & wife, as joint         3345 Spotted Fawn Dr.                HFA- Clear Lake                   Unknown         Y
        tenants with right of survivorship                               Orlando, FL 32817
        Jose M. Lanzas & Gladys Lanzas, husband & wife, as joint         3345 Spotted Fawn Dr.                Huntsville                        Unknown         Y
        tenants with right of survivorship                               Orlando, FL 32817
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah        1410 Murchison Drive                 Shamrock Tower, LP                Unknown         Y
        Family Trust dated 9/18/03                                       Millbrae, CA 94030
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah        1410 Murchison Drive                 6425 Gess, LTD                    Unknown         Y
        Family Trust dated 9/18/03                                       Millbrae, CA 94030
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah        1410 Murchison Drive                 Bay Pompano Beach                 Unknown         Y
        Family Trust dated 9/18/03                                       Millbrae, CA 94030
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah        1410 Murchison Drive                 Huntsville                        Unknown         Y
        Family Trust dated 9/18/03                                       Millbrae, CA 94030




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In re            USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                             Description and Location of Property                                                 Property


                                Legal vesting                                    Mailing Address                           Loan Name        Amount     Contingent
        Joseph B. LaFayette & Catherine D. LaFayette, husband & wife, 9030 Junipro Ave                    Amesbury/Hatters Point           Unknown         Y
        as joint tenants with right of survivorship                   Atascadero, CA 93422
        Joseph B. LaFayette & Catherine D. LaFayette, husband & wife, 9030 Junipro Ave                    Golden State Investments II      Unknown         Y
        as joint tenants with right of survivorship                   Atascadero, CA 93422
        Joseph Basko, Trustee of the Basko Revocable Trust UTD        1827 Baton Rouge St.                Bay Pompano Beach                Unknown         Y
        7/21/93                                                       Henderson, NV 89052
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C.  2466 23rd Ave.                      Bay Pompano Beach                Unknown         Y
        Bellan & Verna J. Bellan Revocable Living Trust dated 2/4/00  San Francisco, CA 94116
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C.  2466 23rd Ave.                      HFA- Clear Lake                  Unknown         Y
        Bellan & Verna J. Bellan Revocable Living Trust dated 2/4/00  San Francisco, CA 94116
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C.  2466 23rd Ave.                      Gramercy Court Condos            Unknown         Y
        Bellan & Verna J. Bellan Revocable Living Trust dated 2/4/00  San Francisco, CA 94116
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Tapia Ranch                      Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Tapia Ranch                      Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   6425 Gess, LTD                   Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   6425 Gess, LTD                   Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Bay Pompano Beach                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Bay Pompano Beach                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Fiesta Oak Valley                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Fiesta Oak Valley                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Harbor Georgetown                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family   3100 Ashby Avenue                   Harbor Georgetown                Unknown         Y
        Trust                                                         Las Vegas, NV 89102
        Joseph Donnolo & Loretta Donnolo Trustees of the Donnolo      3120 Highland Falls Drive           BarUSA/$15,300,000               Unknown         Y
        Family Trust dated 8/24/88                                    Las Vegas, NV 89134
        Joseph Donnolo & Loretta Donnolo Trustees of the Donnolo      3120 Highland Falls Drive           Gramercy Court Condos            Unknown         Y
        Family Trust dated 8/24/88                                    Las Vegas, NV 89134
        Joseph F. Bellesorte, an unmarried man                        9953 N 101 Street                   6425 Gess, LTD                   Unknown         Y
                                                                      Scottsdale, AZ 85258
        Joseph F. McMullin & Pearl A. McMullin, husband & wife, as    1887 N Washington St                Eagle Meadows Development        Unknown         Y
        joint tenants with right of survivorship                      Twin Falls, ID 83301
        Joseph F. McMullin & Pearl A. McMullin, husband & wife, as    1887 N Washington St                Gramercy Court Condos            Unknown         Y
        joint tenants with right of survivorship                      Twin Falls, ID 83301
        Joseph F. Sparks and Marcia A. Sparks, Trustees of The Joseph 10401 W Charleston Blvd Unit A210   Marlton Square                   Unknown         Y
        F. and Marcia A. Sparks Revocable Family Trust dated 12-11-03 Las Vegas, NV 89135
        Joseph F. Sparks and Marcia A. Sparks, Trustees of The Joseph 10401 W Charleston Blvd Unit A210   Gramercy Court Condos            Unknown         Y
        F. and Marcia A. Sparks Revocable Family Trust dated 12-11-03 Las Vegas, NV 89135
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as    2482 Provence Place                 6425 Gess, LTD                   Unknown         Y
        joint tenants with right of survivorship                      Biloxi, MS 39531
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as    2482 Provence Place                 HFA- Clear Lake                  Unknown         Y
        joint tenants with right of survivorship                      Biloxi, MS 39531
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as    2482 Provence Place                 Margarita Annex                  Unknown         Y
        joint tenants with right of survivorship                      Biloxi, MS 39531
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as    2482 Provence Place                 Placer Vineyards                 Unknown         Y
        joint tenants with right of survivorship                      Biloxi, MS 39531
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as    2482 Provence Place                 Tapia Ranch                      Unknown         Y
        joint tenants with right of survivorship                      Biloxi, MS 39531
        Joseph Golden & Lorraine Golden, husband & wife, as joint     144 Dawn Court                      Hasley Canyon                    Unknown         Y
        tenants with right of survivorship                            Old Bridge, NJ 8857
        Joseph J. Argier & Janice G. Argier, husband & wife, as joint 2166 Montana Pine Drive             6425 Gess, LTD                   Unknown         Y
        tenants with right of survivorship                            Henderson, NV 89052




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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Joseph J. Benoualid & Helen Benoualid Trustees of the Joseph J. 1852 Bogey Way                Bay Pompano Beach                 Unknown           Y
        Benoualid & Helen L. Benoualid Trust                              Henderson, NV 89074
        Joseph J. Machetta, Trustee of the Joseph J. Machetta Trust dated P O Box 187                 BarUSA/$15,300,000                Unknown           Y
        8/25/04                                                           Brush, CO 80723
        Joseph J. Machetta, Trustee of the Joseph J. Machetta Trust dated PO Box 187                  BarUSA/$15,300,000                Unknown           Y
        8/25/04                                                           Brush, CO 80723
        Joseph J. Machetta, Trustee of the Joseph J. Machetta Trust dated P O Box 187                 Amesbury/Hatters Point            Unknown           Y
        8/25/04                                                           Brush, CO 80723
        Joseph J. Machetta, Trustee of the Joseph J. Machetta Trust dated PO Box 187                  Amesbury/Hatters Point            Unknown           Y
        8/25/04                                                           Brush, CO 80723
        Joseph J. Melz and Linda M. Melz, husband and wife, as joint      10947 Phoenix Way           HFA- North Yonkers                Unknown           Y
        tenants with the right of survivorship                            Naples, FL 34119
        Joseph J. Melz and Linda M. Melz, husband and wife, as joint      10947 Phoenix Way           6425 Gess, LTD                    Unknown           Y
        tenants with the right of survivorship                            Naples, FL 34119
        Joseph J. Melz and Linda M. Melz, husband and wife, as joint      10947 Phoenix Way           Castaic Partners II, LLC          Unknown           Y
        tenants with the right of survivorship                            Naples, FL 34119
        Joseph L. Melz and Sandra L. Melz, husband and wife, as joint     1025 Carlisle Ln            Fiesta USA/Stoneridge             Unknown           Y
        tenants with the right of survivorship                            Franklin, TN 37064
        Joseph Machetta, a single man                                     P O Box 187                 Amesbury/Hatters Point            Unknown           Y
                                                                          Brush, CO 80723
        Joseph Machetta, a single man                                     PO Box 187                  Amesbury/Hatters Point            Unknown           Y
                                                                          Brush, CO 80723
        Joseph N. Bathish & Riina Bathish                                 800 Ocean Drive 1102        BarUSA/$15,300,000                Unknown           Y
                                                                          Juno Beach, FL 33408
        Joseph N. Rizzuto & Dorothy Rizzuto Trustees of the Joseph N. 5655 Monterey Road              Fiesta Oak Valley                 Unknown           Y
        Rizzuto Family Trust dated 4/24/89                                Gilroy, CA 95020
        Joseph N. Rizzuto & Dorothy Rizzuto Trustees of the Joseph N. 5655 Monterey Road              Marlton Square                    Unknown           Y
        Rizzuto Family Trust dated 4/24/89                                Gilroy, CA 95020
        Joseph P. Walls & Ellen Walls Trustees of the Walls Family        2778 Bedford Way            Eagle Meadows Development         Unknown           Y
        Trust dated 12/10/97                                              Carson City, NV 89703
        Joseph P. Walls & Ellen Walls Trustees of the Walls Family        2778 Bedford Way            Gramercy Court Condos             Unknown           Y
        Trust dated 12/10/97                                              Carson City, NV 89703
        Joseph R. Agliolo Trustee of The 1991 Agliolo Revocable Living 1309 Palm Drive                HFA- North Yonkers                Unknown           Y
        Trust                                                             Burlingame, CA 94010
        Joseph R. Agliolo Trustee of The 1991 Agliolo Revocable Living 1309 Palm Drive                Wasco Investments                 Unknown           Y
        Trust                                                             Burlingame, CA 94010
        Joseph R. Rinaldi & Gloria E. Rinaldi Trustees of the Joseph R. 1069 Vanlier                  Amesbury/Hatters Point            Unknown           Y
        Rinaldi & Gloria E. Rinaldi Revocable Trust dated 7/23/02         Henderson, NV 89015
        Joseph Sterling & Theresa Sterling Trustees of the Sterling       25236 Via Entrada           Bay Pompano Beach                 Unknown           Y
        Family Trust dated 6/14/02                                        Laguna Niguel, CA 92677
        Joseph Sterling & Theresa Sterling Trustees of the Sterling       25236 Via Entrada           Eagle Meadows Development         Unknown           Y
        Family Trust dated 6/14/02                                        Laguna Niguel, CA 92677
        Joseph Sterling & Theresa Sterling Trustees of the Sterling       25236 Via Entrada           Fiesta Oak Valley                 Unknown           Y
        Family Trust dated 6/14/02                                        Laguna Niguel, CA 92677
        Joseph Sterling & Theresa Sterling Trustees of the Sterling       25236 Via Entrada           Hasley Canyon                     Unknown           Y
        Family Trust dated 6/14/02                                        Laguna Niguel, CA 92677
        Joseph Terry and Leslie Terry, husband and wife as joint tenants 113 Worthen Circle           Gilroy                            Unknown           Y
        with the right of survivorship                                    Las Vegas, NV 89145
        Joseph Tobias, a married man                                      1140 6th Ave Ste M-01       Eagle Meadows Development         Unknown           Y
                                                                          New York, NY 10036
        Joseph Tobias, a married man                                      1140 6th Ave Ste M-01       Placer Vineyards                  Unknown           Y
                                                                          New York, NY 10036
        Joseph V. Marson & Veronica M. Marson Trustees of the Marson 5974 Blue Hills Ct               HFA- North Yonkers                Unknown           Y
        Family Trust dated 1/18/95                                        Reno, NV 89502
        Joseph W. Sabia & Victoria L. Sabia, husband & wife, as joint     2720 E Quail Ave            Freeway 101                       Unknown           Y
        tenants with right of survivorship                                Las Vegas, NV 89120
        Josephine Casebolt Trustee of the Casebolt Revocable Trust dated 201 Ada Avenue 46            Bay Pompano Beach                 Unknown           Y
        2/30/94                                                           Mountain View, CA 94043
        Josephine Casebolt Trustee of the Casebolt Revocable Trust dated 201 Ada Avenue 46            Marquis Hotel                     Unknown           Y
        2/30/94                                                           Mountain View, CA 94043




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In re            USA Commercial Mortgage Company                         ,                                                                        Case No. 06-10725-LBR
                                    Debtor                                                                                                                     (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                   Current Market Value of
                                                                                                                                                     Debtor's Interest in
                                                              Description and Location of Property                                                        Property


                                 Legal vesting                                        Mailing Address                      Loan Name                Amount     Contingent
        Joy C. Williams, a married woman dealing with her sole &         6014 Blue Mist Lane              Gramercy Court Condos                    Unknown         Y
        separate property                                                Dallas, AK 75248
        Joy Dorine Taylor, a married woman dealing with her sole &       13658 La Jolla Circle Unit 8 B   Amesbury/Hatters Point                   Unknown         Y
        separate property                                                La Mirada, CA 90638
        Joy Dorine Taylor, a married woman dealing with her sole &       13658 La Jolla Circle Unit 8 B   HFA- Riviera 2nd                         Unknown         Y
        separate property                                                La Mirada, CA 90638
        Joy Investment, Inc., a Nevada Corporation                       14375 White Star Lane            Tapia Ranch                              Unknown         Y
                                                                         Valley Center, CA 92082
        Joy Investment, Inc., a Nevada Corporation                       14375 White Star Lane            Bay Pompano Beach                        Unknown         Y
                                                                         Valley Center, CA 92082
        Joy Investment, Inc., a Nevada Corporation                       14375 White Star Lane            Marlton Square                           Unknown         Y
                                                                         Valley Center, CA 92082
        Joyce A. Hayward Trustee of the 1985 Hayward Living Trust        10811 Zoeloer Ct                 Bay Pompano Beach                        Unknown         Y
        dated 7/06/1985                                                  Reno, NV 89511
        Joyce A. Hayward Trustee of the 1985 Hayward Living Trust        10811 Zoeloer Ct                 Gramercy Court Condos                    Unknown         Y
        dated 7/06/1985                                                  Reno, NV 89511
        Joyce A. Hayward Trustee of the 1985 Hayward Living Trust        10811 Zoeloer Ct                 Riviera - Homes for America Holdings,    Unknown         Y
        dated 7/06/1985                                                  Reno, NV 89511                   L.L.C.
        Joyce Bombard Trustee of the Joyce Bombard 2000 Trust dated 8122 Dark Hollow Place                6425 Gess, LTD                           Unknown         Y
        11/11/00                                                         Las Vegas, NV 89117
        Joyce E. Goldman, a married woman dealing with her sole &        13572 Loretta Drive              Hasley Canyon                            Unknown         Y
        separate property                                                Tustin, CA 92780
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Placer Vineyards                         Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           BarUSA/$15,300,000                       Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Gateway Stone                            Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Lerin Hills                              Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Marlton Square                           Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Cabernet                                 Unknown         Y
                                                                         Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99 3080 Red Springs Drive           Goss Road                                Unknown         Y
                                                                         Las Vegas, NV 89135
        Juanita Mesa Trustee of the La Playa Trust dated 1/9/02          212 Red Cloud Terrance           Ten-Ninety, Ltd./$4,150,000              Unknown         Y
                                                                         Henderson, NV 89015
        Juanita N. Carter, an unmarried woman                            C/O Bruce H. Corum               Marlton Square                           Unknown         Y
                                                                         4442 Valmonte Dr
                                                                         Sacramento, CA 95864
        Judd Robbins & Lin Van Heuit-Robbins Trustee of the Tesseract 1340 Anderson Creek Rd              HFA- North Yonkers                       Unknown         Y
        Trust dated 3/31/04                                              Talent, OR 97540
        Judd Robbins & Lin Van Heuit-Robbins Trustee of the Tesseract 1340 Anderson Creek Rd              HFA- North Yonkers                       Unknown         Y
        Trust dated 3/31/04                                              Talent, OR 97540
        Judith A. Heinbaugh, Trustee of the Judith Ann Heinbaugh Living P O Box 8537                      Eagle Meadows Development                Unknown         Y
        Trust dated 4/25/96                                              Incline Village, NV 89452
        Judith Eaton, an unmarried woman & Dixie B. Gross, an            1333 Keene Road Rte 3            BarUSA/$15,300,000                       Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     Ladysmith, BC
        Judith Eaton, an unmarried woman & Dixie B. Gross, an            1333 Keene Road Rte 3            Bay Pompano Beach                        Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     Ladysmith, BC
        Judith L. Fountain Trustee of the Judith L. Fountain Irrevocable 9808 Bridgeview Dr.              Fiesta Oak Valley                        Unknown         Y
        Trust dated 08/26/97                                             Reno, NV 89521
        Judy A. Bonnet, an unmarried woman                               11 Rose Lane                     BarUSA/$15,300,000                       Unknown         Y
                                                                         Fulton, IL 61252
        Judy A. Bonnet, an unmarried woman                               11 Rose Lane                     Fiesta Oak Valley                        Unknown         Y
                                                                         Fulton, IL 61252
        Judy A. Van Winkle Trustee of the Judy A. Van Winkle 1994        P. O. Box 195                    HFA- North Yonkers                       Unknown         Y
        Trust dated 3/25/94                                              Midpines, CA 95345




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In re             USA Commercial Mortgage Company                        ,                                                                         Case No. 06-10725-LBR
                                    Debtor                                                                                                                      (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                    Current Market Value of
                                                                                                                                                      Debtor's Interest in
                                                               Description and Location of Property                                                        Property


                                 Legal vesting                                         Mailing Address                      Loan Name                Amount     Contingent
        Judy A. Van Winkle Trustee of the Judy A. Van Winkle 1994         P. O. Box 195                    Midvale Marketplace, LLC                 Unknown         Y
        Trust dated 3/25/94                                               Midpines, CA 95345
        Judy Heyboer, an unmarried woman                                  1150 Hidden Oaks Drive           Gramercy Court Condos                    Unknown         Y
                                                                          Menlo Park, CA 94025
        Judy Heyboer, an unmarried woman                                  1150 Hidden Oaks Drive           Harbor Georgetown                        Unknown         Y
                                                                          Menlo Park, CA 94025
        Judy S. Young, an unmarried woman                                 13825 Virginia Foothills Drive   Fiesta Oak Valley                        Unknown         Y
                                                                          Reno, NV 89521
        Julia Farrah Trustee of the Julia Farrah Revocable Living Trust   788 Ulloa Street                 Tapia Ranch                              Unknown         Y
        dated 10/8/92                                                     San Francisco, CA 94127
        Julia Farrah Trustee of the Julia Farrah Revocable Living Trust   788 Ulloa Street                 HFA- North Yonkers                       Unknown         Y
        dated 10/8/92                                                     San Francisco, CA 94127
        Juliet Wong, a single woman                                       2223 25th Avenue                 Gateway Stone                            Unknown         Y
                                                                          San Francisco, CA 94116
        Julius Schmidt Trustee of the Schmidt Family Trust                2759 Darby Falls Drive           HFA- Clear Lake                          Unknown         Y
                                                                          Las Vegas, NV 89134
        June Cook Trustee of the Alvin Broido Marital Trust U/A dated 7228 Estrella De Mar Road            Fiesta Oak Valley                        Unknown         Y
        4/24/72                                                           Carlsbad, CA 92009
        June Cook Trustee of the Alvin Broido Marital Trust U/A dated 7228 Estrella De Mar Road            Marquis Hotel                            Unknown         Y
        4/24/72                                                           Carlsbad, CA 92009
        June Cook Trustee of the Alvin Broido Marital Trust U/A dated 7228 Estrella De Mar Road            Opaque/Mt. Edge $7,350,000               Unknown         Y
        4/24/72                                                           Carlsbad, CA 92009
        June Cook Trustee of the Alvin Broido Marital Trust U/A dated 7228 Estrella De Mar Road            Placer Vineyards                         Unknown         Y
        4/24/72                                                           Carlsbad, CA 92009
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               Freeway 101                              Unknown         Y
                                                                          Henderson, NV 89012
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               Gramercy Court Condos                    Unknown         Y
                                                                          Henderson, NV 89012
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               Harbor Georgetown                        Unknown         Y
                                                                          Henderson, NV 89012
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               HFA- North Yonkers                       Unknown         Y
                                                                          Henderson, NV 89012
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               Fiesta Oak Valley                        Unknown         Y
                                                                          Henderson, NV 89012
        June F. Brehm, a unmarried woman                                  103 Montesol Drive               Clear Creek Plantation                   Unknown         Y
                                                                          Henderson, NV 89012
        June Gibson, a married woman dealing with her sole and separate 2796 Misty View Way                Riviera - Homes for America Holdings,    Unknown         Y
        property                                                          Sierra Vista, AZ 85650           L.L.C.
        June Gibson, a married woman dealing with her sole and separate 2796 Misty View Way                Riviera - Homes for America Holdings,    Unknown         Y
        property                                                          Sierra Vista, AZ 85650           L.L.C.
        Justin D. Rafferty & Patricia L. Lewis Trustees of the The        625 West Silver Creek Road       Gramercy Court Condos                    Unknown         Y
        Lewis/Rafferty Family Trust dated 6/25/97                         Gilbert, AZ 85233
        Justin W. States and Gia M. States, Trustees of the States Living 14560 E. Reed Ave.               Marlton Square                           Unknown         Y
        Trust dated 9/29/03                                               Truckee, CA 96161
        JWB Investments, Inc. Pension Plan                                2333 Dolphin Court               Marlton Square                           Unknown         Y
                                                                          Henderson, NV 89074
        JWB Investments, Inc. Pension Plan                                2333 Dolphin Court               Marlton Square                           Unknown         Y
                                                                          Henderson, NV 89074
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Amesbury/Hatters Point                   Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Wasco Investments                        Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Marquis Hotel                            Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Marlton Square                           Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Harbor Georgetown                        Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                           Fiesta Oak Valley                        Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160




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In re            USA Commercial Mortgage Company                      ,                                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                                        (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                     Current Market Value of
                                                                                                                                                       Debtor's Interest in
                                                            Description and Location of Property                                                            Property


                                Legal vesting                                      Mailing Address                                  Loan Name         Amount     Contingent
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                                   Gateway Stone                     Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda P O Box 485                                   Brookmere/Matteson $27,050,000    Unknown         Y
        Living Trust dated 5/30/02                                        Truckee, CA 96160
        K. Van Ummersen, an unmarried man                                 P O Box 33                               Amesbury/Hatters Point            Unknown         Y
                                                                          Reno, NV 89504
        Kami Banos & William A. Banos, husband & wife, as joint           7431 Dorie Drive                         6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorship                                Westhills, CA 91307
        Kar Sei Cheung, a married woman dealing with her sole &           3200 W Alta Drive                        Gateway Stone                     Unknown         Y
        separate property                                                 Las Vegas, NV 89107
        Kar Sei Cheung, a married woman dealing with her sole &           3200 W Alta Drive                        HFA- Clear Lake                   Unknown         Y
        separate property                                                 Las Vegas, NV 89107
        Kar Sei Cheung, a married woman dealing with her sole &           3200 W Alta Drive                        Fiesta Oak Valley                 Unknown         Y
        separate property                                                 Las Vegas, NV 89107
        Kar Sei Cheung, a married woman dealing with her sole &           3200 W Alta Drive                        6425 Gess, LTD                    Unknown         Y
        separate property                                                 Las Vegas, NV 89107
        Karen G. Blachly, a single woman                                  1003 E Calaveras ST                      Eagle Meadows Development         Unknown         Y
                                                                          Altadena, CA 91001
        Karen G. Blachly, a single woman                                  1003 E Calaveras ST                      Marlton Square 2nd                Unknown         Y
                                                                          Altadena, CA 91001
        Karen Gordon Trustee of the KGG Living Trust dated 7/29/96        2305 Plaza Del Prada                     Bay Pompano Beach                 Unknown         Y
                                                                          Las Vegas, NV 89102
        Karen K. Wener and Kenneth A. Wener, mother and son, as joint 1138 Huntsman Ln                             Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                Memphis, TN 38120
        Karen K. Wener and Kenneth A. Wener, mother and son, as joint 1138 Huntsman Ln                             Marlton Square 2nd                Unknown         Y
        tenants with right of survivorship                                Memphis, TN 38120
        Karen L. Pidgeon Trustee of the Karen L. Pidgeon 2006 Living P O Box 41619                                 HFA- North Yonkers                Unknown         Y
        Trust dated 2/27/2006                                             Sacramento, CA 95841
        Karen L. Pidgeon Trustee of the Karen L. Pidgeon 2006 Living P O Box 41619                                 HFA- Clear Lake                   Unknown         Y
        Trust dated 2/27/2006                                             Sacramento, CA 95841
        Karen L. Pidgeon Trustee of the Karen L. Pidgeon 2006 Living P O Box 41619                                 Shamrock Tower, LP                Unknown         Y
        Trust dated 2/27/2006                                             Sacramento, CA 95841
        Karen Lloyd Trustee of the Ventura Trust dated 11/14/03           3700 Dix Lane                            Tapia Ranch                       Unknown         Y
                                                                          Modesto, CA 95356
        Karen Miller-Regnier and Yves Regnier, husband and wife, as       4365 Gander Ln                           Placer Vineyards                  Unknown         Y
        joint tenants with right of survivorship                          Carson City, NV 89704
        Karen Petersen Tyndall Trustee of the Karen Petersen Tyndall      1012 Greystoke Acres                     HFA- North Yonkers                Unknown         Y
        Trust dated 3/9/94                                                Las Vegas, NV 89145
        Karen Petersen Tyndall Trustee of the Karen Petersen Tyndall      1012 Greystoke Acres                     Marlton Square                    Unknown         Y
        Trust dated 3/9/94                                                Las Vegas, NV 89145
        Karen Petersen Tyndall Trustee of the Karen Petersen Tyndall      1012 Greystoke Acres                     Gramercy Court Condos             Unknown         Y
        Trust dated 3/9/94                                                Las Vegas, NV 89145
        Karen Petersen Tyndall Trustee of the KPT Irrevocable Trust       1012 Greystoke Acres                     Gramercy Court Condos             Unknown         Y
        dated 7/16/99                                                     Las Vegas, NV 89145
        Karen R. Allison                                                  2656 Seashore Dr                         Marlton Square                    Unknown         Y
                                                                          Las Vegas, CA 89128
        Karl Larson                                                       P O Box 402                              Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                          Silver City, NV 89428
        Karl O. Schelling, a married man dealing with his sole & separate 4848 McCain Road                         Huntsville                        Unknown         Y
        property                                                          Jackson , MI 49201
        Karl O. Schelling, a married man dealing with his sole & separate 4848 McCain Road                         Amesbury/Hatters Point            Unknown         Y
        property                                                          Jackson , MI 49201
        Karryn Rae Sherman Trustee of the Jeanne Heater Trust II          UBS Financial-Eric Kirshner #KV64541EK   Fiesta Oak Valley                 Unknown         Y
                                                                          3800 Howard Hughes Pkwy Ste 1200
                                                                          Las Vegas, NV 89109
        Karyn Y. Finlayson Trustee of the 2003 Karyn Y. Finlayson         9768 Derbyhill Circle                    Gramercy Court Condos             Unknown         Y
        Trust dated 12/29/03                                              Las Vegas, NV 89117
        Karyn Y. Finlayson Trustee of the 2003 Karyn Y. Finlayson         9768 Derbyhill Circle                    Fiesta USA/Stoneridge             Unknown         Y
        Trust dated 12/29/03                                              Las Vegas, NV 89117




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In re             USA Commercial Mortgage Company                          ,                                                              Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                                Description and Location of Property                                              Property


                                 Legal vesting                                         Mailing Address                   Loan Name          Amount     Contingent
        Kathleen A. Boyce Trustee of the Boyce 1989 Trust dated            16865 Rue Du Parc             HFA- North Yonkers                Unknown         Y
        6/12/89                                                            Reno, NV 89511
        Kathleen A. Boyce Trustee of the Boyce 1989 Trust dated            16865 Rue Du Parc             HFA- North Yonkers                Unknown         Y
        6/12/89                                                            Reno, NV 89511
        Kathleen K. Borkoski Trustee of the Austin John Borkoski Trust     1110 Elo Road                 HFA- North Yonkers                Unknown         Y
        dated 12/10/92                                                     McCall, ID 83638
        Kathleen K. Borkoski Trustee of the Austin John Borkoski Trust     1110 Elo Road                 HFA- North Yonkers                Unknown         Y
        dated 12/10/92                                                     McCall, ID 83638
        Kathleen K. Borkoski Trustee of the Kali Gene Borkoski Trust       1110 Elo Road                 HFA- North Yonkers                Unknown         Y
        dated 12/21/89                                                     McCall, ID 83638
        Kathleen K. Borkoski Trustee of the Kali Gene Borkoski Trust       1110 Elo Road                 HFA- North Yonkers                Unknown         Y
        dated 12/21/89                                                     McCall, ID 83638
        Kathleen Kubly & Marshall D. Kubly, husband & wife, as joint       4687 Bradford Lane            Shamrock Tower, LP                Unknown         Y
        tenants with right of survivorship                                 Reno, NV 89509
        Kathleen S. Bartlett, an unmarried woman                           1725 Hunter Creek             Golden State Investments II       Unknown         Y
                                                                           Reno, NV 89509
        Kathleen S. Bartlett, an unmarried woman                           1725 Hunter Creek             Golden State Investments II       Unknown         Y
                                                                           Reno, NV 89509
        Kathy A. Wilson, Trustee of the Kathy A. Wilson Separate           3581 Birtcher Dr              Bay Pompano Beach                 Unknown         Y
        Property Trust dated November 18, 1994                             Las Vegas, NV 89118
        Kathy John, an unmarried woman & Tina Eden, as unmarried           57 Poinsettia Dr              HFA- Riviera 2nd                  Unknown         Y
        woman, as joint tenants with right of survivorship                 Ormond Beach, FL 32176
        Kathy John, an unmarried woman & Tina Eden, as unmarried           57 Poinsettia Dr              Lerin Hills                       Unknown         Y
        woman, as joint tenants with right of survivorship                 Ormond Beach, FL 32176
        Kathy John, an unmarried woman & Tina Eden, as unmarried           57 Poinsettia Dr              Amesbury/Hatters Point            Unknown         Y
        woman, as joint tenants with right of survivorship                 Ormond Beach, FL 32176
        Kathy John, an unmarried woman & Tina Eden, as unmarried           57 Poinsettia Dr              Brookmere/Matteson $27,050,000    Unknown         Y
        woman, as joint tenants with right of survivorship                 Ormond Beach, FL 32176
        Katrine Mirzaian, an unmarried woman                               708 Prospect Drive            Midvale Marketplace, LLC          Unknown         Y
                                                                           Glendale, CA 91205
        Katrine Mirzaian, an unmarried woman                               708 Prospect Drive            HFA- North Yonkers                Unknown         Y
                                                                           Glendale, CA 91205
        Katrine Mirzaian, an unmarried woman                               708 Prospect Drive            Bay Pompano Beach                 Unknown         Y
                                                                           Glendale, CA 91205
        Kay J. Hart, an unmarried woman                                    455 Magnolia Ave.             6425 Gess, LTD                    Unknown         Y
                                                                           Fairhope, AL 36532
        Kay J. Hart, an unmarried woman                                    2240 Park Newport Apt. 312    6425 Gess, LTD                    Unknown         Y
                                                                           Newport Beach, CA 92660
        Kay J. Hart, an unmarried woman                                    455 Magnolia Ave.             HFA- Clear Lake                   Unknown         Y
                                                                           Fairhope, AL 36532
        Kay J. Hart, an unmarried woman                                    2240 Park Newport Apt. 312    HFA- Clear Lake                   Unknown         Y
                                                                           Newport Beach, CA 92660
        Kay J. Hart, an unmarried woman                                    455 Magnolia Ave.             Tapia Ranch                       Unknown         Y
                                                                           Fairhope, AL 36532
        Kay J. Hart, an unmarried woman                                    2240 Park Newport Apt. 312    Tapia Ranch                       Unknown         Y
                                                                           Newport Beach, CA 92660
        Kay M. Cantrell, an unmarried woman, and Kay J. Hart, an           455 Magnolia Ave.             HFA- North Yonkers                Unknown         Y
        unmarried woman, as joint tenants with the right of survivorship   Fairhope, AL 36532
        Kay M. Cantrell, an unmarried woman, and Kay J. Hart, an           2240 Park Newport Apt. 312    HFA- North Yonkers                Unknown         Y
        unmarried woman, as joint tenants with the right of survivorship   Newport Beach, CA 92660
        Keeley N. Gasparro, an unmarried woman, and Nicolas S.             8919 Challis Hill Lane        Marquis Hotel                     Unknown         Y
        Gasparro, an unmarried man, as joint tenants with the right of     Charlotte, NC 28226
        survivorship
        Kehl Development, an Iowa corporation                              4963 Mesa Capella Drive       Placer Vineyards                  Unknown         Y
                                                                           Las Vegas, NV 89148
        Kehl Development, an Iowa corporation                              4963 Mesa Capella Drive       Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                           Las Vegas, NV 89148
        Kehl Development, an Iowa corporation                              4963 Mesa Capella Drive       Eagle Meadows Development         Unknown         Y
                                                                           Las Vegas, NV 89148




SCHEDULES                                                                               Exhibit B-21                                                    PAGE 146
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In re             USA Commercial Mortgage Company                       ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                     Loan Name         Amount     Contingent
        Keith J. Cale Trustee of the Cale Family Trust dated 11/16/88    6070 Ingleston Dr Unit #1111   Marlton Square                    Unknown          Y
                                                                         Sparks, NV 89436
        Keith Lopeman & La Creta Lopeman, husband & wife, as joint       260 E. Country Club Drive      Huntsville                        Unknown          Y
        tenants with right of survivorship                               Henderson, NV 89015
        Kelli A. Garvey, transfer on death to Stephen L. Hawley          4075 Losee Road                6425 Gess, LTD                    Unknown          Y
                                                                         North Las Vegas, NV 89030
        Kelli A. Garvey, transfer on death to Stephen L. Hawley          5405 Ireland St                6425 Gess, LTD                    Unknown          Y
                                                                         Las Vegas, NV 89149
        Kelli A. Garvey, transfer on death to Stephen L. Hawley          4075 Losee Road                6425 Gess, LTD                    Unknown          Y
                                                                         N. Las Vegas, NV 89030
        Kelli A. Garvey, transfer on death to Stephen L. Hawley          4075 Losee Road                6425 Gess, LTD                    Unknown          Y
                                                                         N Las Vegas, NV 89030
        Kelly F. Neal, transfer on death to Jeanette Neal                4632 Marbella Court            Tapia Ranch                       Unknown          Y
                                                                         San Jose, CA 95124
        Kelly L. Hadland and Karen J. Hadland, husband and wife, as      1235 E Palo Verdo              Gramercy Court Condos             Unknown          Y
        joint tenants with the right of survivorship                     Gilbert , AZ 85296
        Kem Yee, an unmarried woman, and Emmelene Yee, an                2100 Wilbeam Ave # 313         Marlton Square                    Unknown          Y
        unmarried woman, as joint tenants with the right of survivorship Castro Valley, CA 94549
        Ken Wyatt Enterprises, Inc., a Nevada corporation                P. O. Box 370400               HFA- North Yonkers                Unknown          Y
                                                                         Las Vegas, NV 89137
        Ken Wyatt Enterprises, Inc., a Nevada corporation                P .O. Box 370400               HFA- North Yonkers                Unknown          Y
                                                                         Las Vegas, NV 89137
        Ken Wyatt Enterprises, Inc., a Nevada corporation                P.O. Box 370400                HFA- North Yonkers                Unknown          Y
                                                                         Las Vegas, NV 89137
        Ken Wyatt Enterprises, Inc., a Nevada corporation                P O Box 370400                 HFA- North Yonkers                Unknown          Y
                                                                         Las Vegas, NV 89137
        Kenji Omoto Trustee of the Kenji Omoto Revocable Trust dated 6301 Chimney Wood Ct               Amesbury/Hatters Point            Unknown          Y
        6/2/93                                                           Las Vegas, NV 89130
        Kenji Omoto Trustee of the Kenji Omoto Revocable Trust dated 6301 Chimney Wood Ct               Gramercy Court Condos             Unknown          Y
        6/2/93                                                           Las Vegas, NV 89130
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Huntsville                        Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Huntsville                        Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Bay Pompano Beach                 Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Bay Pompano Beach                 Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Castaic Partners II, LLC          Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Castaic Partners II, LLC          Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Gateway Stone                     Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Gateway Stone                     Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Placer Vineyards                  Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust 100 W Broadway Apt # 7V           Placer Vineyards                  Unknown          Y
                                                                         Long Beach, NY 11561
        Kenneth B. Schulz & Mary Kay Bryan-Schulz, husband & wife, 525 Jones Drive                      Gramercy Court Condos             Unknown          Y
        as joint tenants with right of survivorship                      Lake Havasu City, AZ 86406
        Kenneth B. Schulz & Mary Kay Bryan-Schulz, husband & wife, 525 Jones Drive                      HFA- North Yonkers                Unknown          Y
        as joint tenants with right of survivorship                      Lake Havasu City, AZ 86406
        Kenneth B. Schulz & Mary Kay Bryan-Schulz, husband & wife, 525 Jones Drive                      Midvale Marketplace, LLC          Unknown          Y
        as joint tenants with right of survivorship                      Lake Havasu City, AZ 86406
        Kenneth B. Van Woert Trustee of the Sheehan Van Woert Bigotti 300 S Wells Ave Ste One           Gramercy Court Condos             Unknown          Y
        Architects 401(k) PSP & Trust dated 7/1/98                       Reno, NV 89502
        Kenneth B. Van Woert Trustee of the Sheehan Van Woert Bigotti 300 S Wells Ave Ste One           HFA- North Yonkers                Unknown          Y
        Architects 401(k) PSP & Trust dated 7/1/98                       Reno, NV 89502




SCHEDULES                                                                             Exhibit B-21                                                     PAGE 147
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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                               Legal vesting                                     Mailing Address                   Loan Name             Amount    Contingent
        Kenneth B. Van Woert Trustee of the Sheehan Van Woert Bigotti 300 S Wells Ave Ste One      Placer Vineyards                    Unknown            Y
        Architects 401(k) PSP & Trust dated 7/1/98                     Reno, NV 89502
        Kenneth D. Coxey & Valerie Coxey Trustees of the Coxey Living 1945 Hidden Meadow Dr.       Fiesta Oak Valley                   Unknown            Y
        Trust dated 12/03/98                                           Reno, NV 89502
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P. O. Box 370400            HFA- Clear Lake                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P .O. Box 370400            HFA- Clear Lake                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P.O. Box 370400             HFA- Clear Lake                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P O Box 370400              HFA- Clear Lake                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P. O. Box 370400            Gramercy Court Condos               Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P .O. Box 370400            Gramercy Court Condos               Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P.O. Box 370400             Gramercy Court Condos               Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P O Box 370400              Gramercy Court Condos               Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P. O. Box 370400            Placer Vineyards                    Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P .O. Box 370400            Placer Vineyards                    Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P.O. Box 370400             Placer Vineyards                    Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P O Box 370400              Placer Vineyards                    Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P. O. Box 370400            Shamrock Tower, LP                  Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P .O. Box 370400            Shamrock Tower, LP                  Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P.O. Box 370400             Shamrock Tower, LP                  Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P O Box 370400              Shamrock Tower, LP                  Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P. O. Box 370400            Margarita Annex                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P .O. Box 370400            Margarita Annex                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P.O. Box 370400             Margarita Annex                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth H. Wyatt & Phyllis P. Wyatt Trustees of The Kenneth    P O Box 370400              Margarita Annex                     Unknown            Y
        H. & Phyllis P. Wyatt Family Trust                             Las Vegas, NV 89137
        Kenneth Jerry Goulding & Florie Goulding, husband & wife, as P O Box 8173                  Marquis Hotel                       Unknown            Y
        joint tenants with right of survivorship                       Truckee, CA 96162
        Kenneth Jerry Goulding & Florie Goulding, husband & wife, as P O Box 8173                  Marquis Hotel                       Unknown            Y
        joint tenants with right of survivorship                       Truckee, CA 96162
        Kenneth Jerry Goulding & Florie Goulding, husband & wife, as P O Box 8173                  Hasley Canyon                       Unknown            Y
        joint tenants with right of survivorship                       Truckee, CA 96162
        Kenneth Jerry Goulding & Florie Goulding, husband & wife, as P O Box 8173                  Hasley Canyon                       Unknown            Y
        joint tenants with right of survivorship                       Truckee, CA 96162
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 3570 W Post Rd              Tapia Ranch                         Unknown            Y
        dated 7/3/97                                                   Las Vegas, NV 89118
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 2742 Carina Way             Tapia Ranch                         Unknown            Y
        dated 7/3/97                                                   Henderson, NV 89052
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 3570 W Post Rd              Opaque/Mt. Edge $7,350,000          Unknown            Y
        dated 7/3/97                                                   Las Vegas, NV 89118
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 2742 Carina Way             Opaque/Mt. Edge $7,350,000          Unknown            Y
        dated 7/3/97                                                   Henderson, NV 89052




SCHEDULES                                                                         Exhibit B-21                                                       PAGE 148
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In re            USA Commercial Mortgage Company                   ,                                                                  Case No. 06-10725-LBR
                                 Debtor                                                                                                            (If known)




                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                           EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                          Description and Location of Property                                                Property


                               Legal vesting                                   Mailing Address                     Loan Name             Amount    Contingent
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 3570 W Post Rd              6425 Gess, LTD                      Unknown            Y
        dated 7/3/97                                                    Las Vegas, NV 89118
        Kenneth Kefalas & Debbie Kefalas Trustees of the Kefalas Trust 2742 Carina Way             6425 Gess, LTD                      Unknown            Y
        dated 7/3/97                                                    Henderson, NV 89052
        Kenneth L. Hansen & Donna J. Hansen Trustees of the Hansen      13287 Rattlesnake Rd       HFA- Windham                        Unknown            Y
        Family Trust dated 6/6/89                                       Grass Valley, CA 95945
        Kenneth L. Hansen & Donna J. Hansen Trustees of the Hansen      13287 Rattlesnake Rd       Marquis Hotel                       Unknown            Y
        Family Trust dated 6/6/89                                       Grass Valley, CA 95945
        Kenneth L. Hansen & Donna J. Hansen Trustees of the Hansen      13287 Rattlesnake Rd       Wasco Investments                   Unknown            Y
        Family Trust dated 6/6/89                                       Grass Valley, CA 95945
        Kenneth L. Hansen & Donna J. Hansen Trustees of the Hansen      13287 Rattlesnake Rd       Harbor Georgetown                   Unknown            Y
        Family Trust dated 6/6/89                                       Grass Valley, CA 95945
        Kenneth L. Schumann Trustee of the Kenneth L. Schumann          10 Town Plaza #99          BarUSA/$15,300,000                  Unknown            Y
        Living Trust dated 7/19/96                                      Durango, CO 81301
        Kenneth L. Schumann Trustee of the Kenneth L. Schumann          10 Town Plaza #99          HFA- Riviera 2nd                    Unknown            Y
        Living Trust dated 7/19/96                                      Durango, CO 81301
        Kenneth L. Schumann Trustee of the Kenneth L. Schumann          10 Town Plaza #99          Tapia Ranch                         Unknown            Y
        Living Trust dated 7/19/96                                      Durango, CO 81301
        Kenneth O. Shelley & Dagmar K. Shelley Trustees of the Shelley 4334 Desert Hills Dr        Marquis Hotel                       Unknown            Y
        Family Trust dated 3/7/03                                       Sparks, NV 89436
        Kenneth O. Shelley & Dagmar K. Shelley Trustees of the Shelley 4334 Desert Hills Dr        Marquis Hotel                       Unknown            Y
        Family Trust dated 3/7/03                                       Sparks, NV 89436
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     Placer Vineyards 2nd                Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     Bay Pompano Beach                   Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     Eagle Meadows Development           Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     HFA- Clear Lake                     Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     Lerin Hills                         Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace 920 South Elizabeth Street     Brookmere/Matteson $27,050,000      Unknown            Y
        Becker & Sarah Becker, their minor children with right of       Denver, CO 80209
        survivorship
        Kenneth R. Greene & N. Dean Greene, husband & wife, as joint 821 6th St. NE                Fiesta Oak Valley                   Unknown            Y
        tenants with right of survivorship                              Arab, AL 35016
        Kenneth R. Greene & N. Dean Greene, husband & wife, as joint 821 6th St. NE                Hasley Canyon                       Unknown            Y
        tenants with right of survivorship                              Arab, AL 35016
        Kenneth W. Koerwitz & Jan Case Koerwitz Trustees of the         411 Walnut St PMB298       Placer Vineyards 2nd                Unknown            Y
        Kenneth W. Koerwitz & Jan Case Koerwitz Family Trust dated Green Cove Springs, FL 32043
        5/13/03
        Kenneth W. Koerwitz & Jan Case Koerwitz Trustees of the         411 Walnut St PMB298       Hasley Canyon                       Unknown            Y
        Kenneth W. Koerwitz & Jan Case Koerwitz Family Trust dated Green Cove Springs, FL 32043
        5/13/03
        Kenneth W. Koerwitz & Jan Case Koerwitz Trustees of the         411 Walnut St PMB298       HFA- North Yonkers                  Unknown            Y
        Kenneth W. Koerwitz & Jan Case Koerwitz Family Trust dated Green Cove Springs, FL 32043
        5/13/03
        Kerry S. Taylor & Joyce L. Taylor Trustees of the Taylor Living 4275 Settler Dr            Lerin Hills                         Unknown            Y
        Trust dated 2/27/98                                             Reno, NV 89502
        Kerry S. Taylor & Joyce L. Taylor Trustees of the Taylor Living 4275 Settler Dr            Marquis Hotel                       Unknown            Y
        Trust dated 2/27/98                                             Reno, NV 89502
        Kerry S. Taylor & Joyce L. Taylor Trustees of the Taylor Living 4275 Settler Dr            Eagle Meadows Development           Unknown            Y
        Trust dated 2/27/98                                             Reno, NV 89502




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In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                   Loan Name                 Amount     Contingent
        Kevin A. McKee and Pamela J. McKee, husband and wife, as          3414 34th Ave North Court    Eagle Meadows Development                Unknown         Y
        joint tenants with right of survivorship                          Clinton, IA 52732
        Kevin A. McKee and Pamela J. McKee, husband and wife, as          3414 34th Ave North Court    Gateway Stone                            Unknown         Y
        joint tenants with right of survivorship                          Clinton, IA 52732
        Kevin J. Higgins & Ana Marie Higgins Trustees of the Kevin J.     10413 Mansion Hills Avenue   Gilroy                                   Unknown         Y
        Higgins & Ana Marie Higgins Family Trust dated 8/4/92             Las Vegas, NV 89144
        Kevin Kehl Custodian For Andrew R. Kehl UNVUTMA                   1770 Dover Court             Bay Pompano Beach                        Unknown         Y
                                                                          Dubuque, IA 52003
        Kevin Kehl Custodian For Andrew R. Kehl UNVUTMA                   1770 Dover Court             Bay Pompano Beach                        Unknown         Y
                                                                          Dubuque, IA 52003
        Kevin Kehl Custodian For Susan L. Kehl UIAUTMA                    1770 Dover Court             Bay Pompano Beach                        Unknown         Y
                                                                          Dubuque, IA 52003
        Kevin Kehl Custodian For Susan L. Kehl UIAUTMA                    1770 Dover Court             Bay Pompano Beach                        Unknown         Y
                                                                          Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate        1770 Dover Court             Bay Pompano Beach                        Unknown         Y
        property                                                          Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate        1770 Dover Court             Placer Vineyards                         Unknown         Y
        property                                                          Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate        1770 Dover Court             BarUSA/$15,300,000                       Unknown         Y
        property                                                          Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate        1770 Dover Court             Tapia Ranch                              Unknown         Y
        property                                                          Dubuque, IA 52003
        Kevin L. Foster & Allison J. Foster Trustees of the Kevin &       1354 Howard Road             6425 Gess, LTD                           Unknown         Y
        Allison Foster Family Trust dated 1/20/99                         Marion, IL 62959
        Kevin L. Foster & Allison J. Foster Trustees of the Kevin &       1354 Howard Road             HFA- North Yonkers                       Unknown         Y
        Allison Foster Family Trust dated 1/20/99                         Marion, IL 62959
        Kevon Cottrell & Karen Cottrell, husband & wife, as joint tenants P O Box 716                  Amesbury/Hatters Point                   Unknown         Y
        with right of survivorship                                        El Granada, CA 94018
        Kevon Cottrell & Karen Cottrell, husband & wife, as joint tenants P O Box 716                  Fiesta Oak Valley                        Unknown         Y
        with right of survivorship                                        El Granada, CA 94018
        Kevon Cottrell & Karen Cottrell, husband & wife, as joint tenants P O Box 716                  Gramercy Court Condos                    Unknown         Y
        with right of survivorship                                        El Granada, CA 94018
        Kevon Cottrell & Karen Cottrell, husband & wife, as joint tenants P O Box 716                  Riviera - Homes for America Holdings,    Unknown         Y
        with right of survivorship                                        El Granada, CA 94018         L.L.C.
        Kim W. Gregory & Debbie R. Gregory Trustees of the Gregory 6242 W Coley Avenue                 Anchor B, LLC                            Unknown         Y
        Family Trust of 1988                                              Las Vegas, NV 89102
        Kim W. Gregory & Debbie R. Gregory Trustees of the Gregory 6242 W Coley Avenue                 HFA- Clear Lake                          Unknown         Y
        Family Trust of 1988                                              Las Vegas, NV 89102
        Kimberly Havins Trustee of the Paepae Estate Trust dated          3125 Shadowleaf Court        HFA- North Yonkers                       Unknown         Y
        05/01/00                                                          Las Vegas, NV 89117
        Kimberly Havins Trustee of the Paepae Estate Trust dated          3125 Shadowleaf Court        Wasco Investments                        Unknown         Y
        05/01/00                                                          Las Vegas, NV 89117
        Kimberly Havins Trustee of the Paepae Estate Trust dated          3125 Shadowleaf Court        HFA- Clear Lake                          Unknown         Y
        05/01/00                                                          Las Vegas, NV 89117
        Kip Bishofberger, an unmarried man & Betty Bishofberger, a        2148-B 33rd Street           Brookmere/Matteson $27,050,000           Unknown         Y
        married woman dealing with her sole & separate property, as joint Los Alamos, UT 87544
        tenants with the right of survivorship
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Ct           Placer Vineyards                         Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Crt          Placer Vineyards                         Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Ct           Gramercy Court Condos                    Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Crt          Gramercy Court Condos                    Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Ct           Marlton Square 2nd                       Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants 5925 Bar Harbor Crt          Marlton Square 2nd                       Unknown         Y
        with right of survivorship                                        Elk Grove, CA 95758




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In re             USA Commercial Mortgage Company                           ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                     EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                                Description and Location of Property                                              Property


                                  Legal vesting                                          Mailing Address                    Loan Name       Amount     Contingent
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants   5925 Bar Harbor Ct             Marquis Hotel                   Unknown         Y
        with right of survivorship                                          Elk Grove, CA 95758
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants   5925 Bar Harbor Crt            Marquis Hotel                   Unknown         Y
        with right of survivorship                                          Elk Grove, CA 95758
        Kirk Capra & Mary Capra, husband & wife, as joint tenants with      HC02 Box 14404                 Gilroy                          Unknown         Y
        right of survivorship                                               Vieques, 765
        Kirk Capra & Mary Capra, husband & wife, as joint tenants with      HC02 Box 14404                 Wasco Investments               Unknown         Y
        right of survivorship                                               Vieques, 765
        Kirk Capra & Mary Capra, husband & wife, as joint tenants with      HC02 Box 14404                 Bay Pompano Beach               Unknown         Y
        right of survivorship                                               Vieques, 765
        Kirsten Wagner, a married woman dealing with her sole and           P O Box 523                    6425 Gess, LTD                  Unknown         Y
        separate property                                                   Cumberland, WI 54829
        Kiwi-Nevada LP                                                      P. O. Box 370400               6425 Gess, LTD                  Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P .O. Box 370400               6425 Gess, LTD                  Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P.O. Box 370400                6425 Gess, LTD                  Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P O Box 370400                 6425 Gess, LTD                  Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P. O. Box 370400               Bay Pompano Beach               Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P .O. Box 370400               Bay Pompano Beach               Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P.O. Box 370400                Bay Pompano Beach               Unknown         Y
                                                                            Las Vegas, NV 89137
        Kiwi-Nevada LP                                                      P O Box 370400                 Bay Pompano Beach               Unknown         Y
                                                                            Las Vegas, NV 89137
        Klaus Kopf & Colette Kopf, husband & wife                           8096 Merlewood Avenue          Marlton Square                  Unknown         Y
                                                                            Las Vegas, NV 89117
        Klint Thomas Danna & Patricia Anne Danna, Trustees of the           4230 Waymar Court              Gilroy                          Unknown         Y
        Danna Trust Agreement of 1990                                       Carmichael, CA 95608
        KM Financials, LLC., a Utah corporation                             4847 Damon Circle              Lerin Hills                     Unknown         Y
                                                                            Salt Lake City, UT 84117
        KM Financials, LLC., a Utah corporation                             4847 Damon Circle              Lerin Hills                     Unknown         Y
                                                                            Salt Lake City, UT 84117
        Krystina A. Kehl, a single woman                                    9001 Lincoln Rd                Placer Vineyards                Unknown         Y
                                                                            Fulton, IL 61252
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Margarita Annex                 Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Ten-Ninety, Ltd./$4,150,000     Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Shamrock Tower, LP              Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Hasley Canyon                   Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Marquis Hotel                   Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Huntsville                      Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               HFA- North Yonkers              Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               HFA- Clear Lake                 Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Ashby Financial $7,200,000      Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Placer Vineyards                Unknown         Y
                                                                            St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                         P. O. Box 911209               Amesbury/Hatters Point          Unknown         Y
                                                                            St. George, UT 84791




SCHEDULES                                                                                Exhibit B-21                                                   PAGE 151
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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              BarUSA/$15,300,000                Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Bay Pompano Beach                 Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Harbor Georgetown                 Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Eagle Meadows Development         Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Fiesta USA/Stoneridge             Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Gilroy                            Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Gramercy Court Condos             Unknown           Y
                                                                        St. George, UT 84791
        KTaylorGO Investments, LTD, a Texas company                     P. O. Box 911209              Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        St. George, UT 84791
        Kurt Harms & Sandra Harms, husband & wife, as joint tenants     5513 Indian Hills Avenue      HFA- Clear Lake                   Unknown           Y
        with right of survivorship                                      Las Vegas, NV 89130
        Kurt Harms & Sandra Harms, husband & wife, as joint tenants     5513 Indian Hills Avenue      Opaque/Mt. Edge $7,350,000        Unknown           Y
        with right of survivorship                                      Las Vegas, NV 89130
        Kurt Tsai, an unmarried man                                     1716 S. Monterey Street       Placer Vineyards 2nd              Unknown           Y
                                                                        Alhambra, CA 91801
        L. Dean Gibson Trustee of the L. Dean Gibson Revocable Trust 2796 Misty View Way              HFA- Riviera 2nd                  Unknown           Y
        of 2003                                                         Sierra Vista, AZ 85650
        L. Dean Gibson Trustee of the L. Dean Gibson Revocable Trust 2796 Misty View Way              Marlton Square 2nd                Unknown           Y
        of 2003                                                         Sierra Vista, AZ 85650
        L. Kanani Cohune, a Married Woman Dealing with Her Sole and 3530 Hackberry Street             Huntsville                        Unknown           Y
        Seperate Property                                               Silver Springs, NV 89429
        L. Ronald Trepp & Jacqueline P. Trepp Trustees of the L. Ronald 13829 Jolly Roger Street      Ashby Financial $7,200,000        Unknown           Y
        Trepp & Jacqueline P. Trepp Family Trust                        Corpus Chrisi, TX 78418
        L. Ronald Trepp & Jacqueline P. Trepp Trustees of the L. Ronald 13829 Jolly Roger Street      Bay Pompano Beach                 Unknown           Y
        Trepp & Jacqueline P. Trepp Family Trust                        Corpus Chrisi, TX 78418
        L. Ronald Trepp & Jacqueline P. Trepp Trustees of the L. Ronald 13829 Jolly Roger Street      Gramercy Court Condos             Unknown           Y
        Trepp & Jacqueline P. Trepp Family Trust                        Corpus Chrisi, TX 78418
        L. V. Knight & Margaret E. Knight, husband & wife, as joint     529 Shasta Ave                Gateway Stone                     Unknown           Y
        tenants with right of survivorship                              Oroville, CA 95965
        L. V. Knight & Margaret E. Knight, husband & wife, as joint     529 Shasta Ave                Bay Pompano Beach                 Unknown           Y
        tenants with right of survivorship                              Oroville, CA 95965
        Laguna Paloma Inc., A Texas Corporation, Virginia Swilley       210 Kameha Street             6425 Gess, LTD                    Unknown           Y
        President                                                       Galveston, TX 77554
        Laila Aziz, a single woman                                      9785 Ice Box Canyon Ct        HFA- North Yonkers                Unknown           Y
                                                                        Las Vegas, NV 89117
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         6425 Gess, LTD                    Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         6425 Gess, LTD                    Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         BarUSA/$15,300,000                Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         BarUSA/$15,300,000                Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         HFA- Clear Lake                   Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         HFA- Clear Lake                   Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         Marlton Square                    Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lammert Kuiper, Jr. & Audrey H. Kuiper Trustees of the Kuiper 1120 Broken Hills Drive         Marlton Square                    Unknown           Y
        Trust                                                           Henderson, NV 89015
        Lamoine Murray & Lois H. Murray, husband & wife, as joint       4934 Larkspur Lane            Ashby Financial $7,200,000        Unknown           Y
        tenants with right of survivorship                              Ogden, UT 84403




SCHEDULES                                                                            Exhibit B-21                                                    PAGE 152
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In re            USA Commercial Mortgage Company                          ,                                                            Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Lamoine Murray & Lois H. Murray, husband & wife, as joint        4934 Larkspur Lane           HFA- Clear Lake                   Unknown            Y
        tenants with right of survivorship                               Ogden, UT 84403
        Lance M. Patrick & Michele L. Patrick, husband & wife, as joint  4122 E McLellan # 3          BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                               Mesa, AZ 85205
        Lance M. Patrick & Michele L. Patrick, husband & wife, as joint  4122 E MC Lellan Rd Unit 3   BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                               Mesa, AZ 85205
        Lance M. Patrick & Michele L. Patrick, husband & wife, as joint  4122 E McLellan # 3          Eagle Meadows Development         Unknown            Y
        tenants with right of survivorship                               Mesa, AZ 85205
        Lance M. Patrick & Michele L. Patrick, husband & wife, as joint  4122 E MC Lellan Rd Unit 3   Eagle Meadows Development         Unknown            Y
        tenants with right of survivorship                               Mesa, AZ 85205
        Land Exchange Accommodators                                      2775 S Rainbow Blvd #150     Placer Vineyards                  Unknown            Y
                                                                         Las Vegas, NV 89146
        Larry Apigian & Leona Apigian, husband & wife, as joint tenants 172 Woodland Road             Freeway 101                       Unknown            Y
        with right of survivorship                                       Goldendale, WA 98620
        Larry Apigian & Leona Apigian, husband & wife, as joint tenants 172 Woodland Road             Gramercy Court Condos             Unknown            Y
        with right of survivorship                                       Goldendale, WA 98620
        Larry Apigian & Leona Apigian, husband & wife, as joint tenants 172 Woodland Road             Marlton Square                    Unknown            Y
        with right of survivorship                                       Goldendale, WA 98620
        Larry B. Bartholomew & Karen S. Bartholomew Trustees of the P O Box 521                       Freeway 101                       Unknown            Y
        Bartholomew Family Trust under agreement dated 7/1/99            American Fork, UT 84043
        Larry D. Hale & Veronica S. Hale, husband and wife as joint      621 E. Chestnut              HFA-Clear Lake 2nd                Unknown            Y
        tenants with the right of survivorship                           Goldsby, OK 73093
        Larry D. Higgins, a married man dealing with his sole & separate 571 Alden                    Shamrock Tower, LP                Unknown            Y
        property                                                         Incline Village, NV 89451
        Larry D. Larson & Sobeyda Larson, husband & wife, as joint       58 South 3430 East           Huntsville                        Unknown            Y
        tenants with right of survivorship                               New Harmony, UT 84757
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     Placer Vineyards                  Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     Margarita Annex                   Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     HFA- North Yonkers                Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     Harbor Georgetown                 Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     Bay Pompano Beach                 Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the         204 W. Mill Valley Drive     Fiesta Oak Valley                 Unknown            Y
        Lehrmann Family Trust dated 4/19/96                              Colleyville, TX 76034
        Larry D. Sargent & Marjean Sargent, husband & wife, as joint     26813 Oak Branch Circle      Bay Pompano Beach                 Unknown            Y
        tenants with right of survivorship                               Newhall, CA 91321
        Larry E. Bell & Garnet F. Bell, husband & wife, as joint tenants 2850 Old Pinto Ct            HFA- Clear Lake                   Unknown            Y
        with right of survivorship                                       Sparks, NV 89436
        Larry E. Bell & Garnet F. Bell, husband & wife, as joint tenants 2850 Old Pinto Ct            HFA- Clear Lake                   Unknown            Y
        with right of survivorship                                       Sparks, NV 89436
        Larry E. Colborn & Loretta A. Colborn Trustees for the Colborn 38831 Parker Ridge Way         Marquis Hotel                     Unknown            Y
        Revocable Living Trust dated 8/6/90                              Palm Desert, CA 92260
        Larry E. Colborn & Loretta A. Colborn Trustees for the Colborn 38831 Parker Ridge Way         HFA- Windham                      Unknown            Y
        Revocable Living Trust dated 8/6/90                              Palm Desert, CA 92260
        Larry E. Colborn & Loretta A. Colborn Trustees for the Colborn 38831 Parker Ridge Way         Eagle Meadows Development         Unknown            Y
        Revocable Living Trust dated 8/6/90                              Palm Desert, CA 92260
        Larry E. Colborn & Loretta A. Colborn Trustees for the Colborn 38831 Parker Ridge Way         Fiesta Oak Valley                 Unknown            Y
        Revocable Living Trust dated 8/6/90                              Palm Desert, CA 92260
        Larry E. Hanan Trustee of the Larry E. Hanan Revocable Trust     4410 Endicott Place          Wasco Investments                 Unknown            Y
        dated 5/20/02                                                    Tampa, FL 33624
        Larry E. Hanan Trustee of the Larry E. Hanan Revocable Trust     4410 Endicott Place          Lerin Hills                       Unknown            Y
        dated 5/20/02                                                    Tampa, FL 33624
        Larry Fernandez Trustee of the Fernandez Family Trust dated      3312 Plaza Del Paz           Fiesta Oak Valley                 Unknown            Y
        6/20/84                                                          Las Vegas, NV 89102
        Larry Fernandez Trustee of the Fernandez Family Trust dated      3312 Plaza Del Paz           Fiesta USA/Stoneridge             Unknown            Y
        6/20/84                                                          Las Vegas, NV 89102




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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Larry Fernandez Trustee of the Fernandez Family Trust dated       3312 Plaza Del Paz           HFA- Clear Lake                   Unknown          Y
        6/20/84                                                           Las Vegas, NV 89102
        Larry Fernandez Trustee of the Fernandez Family Trust dated       3312 Plaza Del Paz           Placer Vineyards                  Unknown          Y
        6/20/84                                                           Las Vegas, NV 89102
        Larry Fernandez Trustee of the Fernandez Family Trust dated       3312 Plaza Del Paz           BarUSA/$15,300,000                Unknown          Y
        6/20/84                                                           Las Vegas, NV 89102
        Larry H. Anderson and Frank Cornwell, Trustees of the Fred L. 13250 Mahgony Dr                 Bay Pompano Beach                 Unknown          Y
        Baybarz and Carolyn C. Baybarz Foundation                         Reno, NV 89511
        Larry H. Anderson and Frank Cornwell, Trustees of the Fred L. 13250 Mahogany Dr                Bay Pompano Beach                 Unknown          Y
        Baybarz and Carolyn C. Baybarz Foundation                         Reno, NV 89511
        Larry H. Anderson and Frank Cornwell, Trustees of the Fred L. 13250 Mahogany Dr                Bay Pompano Beach                 Unknown          Y
        Baybarz and Carolyn C. Baybarz Foundation                         Reno, NV 89511
        Larry J. Newman & Elsie D. Newman Trustees of the Newman 1150 Monroe Court                     Tapia Ranch                       Unknown          Y
        Family Trust dated 9/30/97                                        Reno, NV 89509
        Larry J. Newman & Elsie D. Newman Trustees of the Newman 1150 Monroe Court                     HFA- North Yonkers                Unknown          Y
        Family Trust dated 9/30/97                                        Reno, NV 89509
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Amesbury/Hatters Point            Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Margarita Annex                   Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Shamrock Tower, LP                Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Tapia Ranch                       Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Placer Vineyards                  Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Opaque/Mt. Edge $7,350,000        Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Midvale Marketplace, LLC          Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Marquis Hotel                     Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       HFA- Clear Lake                   Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Freeway 101                       Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Fiesta USA/Stoneridge             Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Fiesta Oak Valley                 Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Ashby Financial $7,200,000        Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       Eagle Meadows Development         Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger 2615 Glen Eagles Drive       HFA- North Yonkers                Unknown          Y
        & Patsy R. Rieger Revocable Trust dated 8/14/91                   Reno, NV 89523
        Larry Laub & Betty Morris-Laub, husband & wife, as joint          18532 Spicer Lake Court      Amesbury/Hatters Point            Unknown          Y
        tenants with right of survivorship                                Reno, NV 89506
        Larry Laub & Betty Morris-Laub, husband & wife, as joint          18532 Spicer Lake Court      Amesbury/Hatters Point            Unknown          Y
        tenants with right of survivorship                                Reno, NV 89506
        Larry M. Brown & Marie S. Brown, husband & wife, as joint         7020 Earldom Avenue          Bay Pompano Beach                 Unknown          Y
        tenants with right of survivorship                                Playa Del Rey, CA 90293
        Larry M. Brown & Marie S. Brown, husband & wife, as joint         7020 Earldom Avenue          Gramercy Court Condos             Unknown          Y
        tenants with right of survivorship                                Playa Del Rey, CA 90293
        Larry M. Brown & Marie S. Brown, husband & wife, as joint         7020 Earldom Avenue          Placer Vineyards                  Unknown          Y
        tenants with right of survivorship                                Playa Del Rey, CA 90293
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & P. O. Box 6585                Eagle Meadows Development         Unknown          Y
        Susan L. Brasuell 1996 Living Trust dated 7/22/96                 Gardnerville, NV 89460
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & P. O. Box 6585                Freeway 101                       Unknown          Y
        Susan L. Brasuell 1996 Living Trust dated 7/22/96                 Gardnerville, NV 89460




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In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & P. O. Box 6585                Gateway Stone                            Unknown         Y
        Susan L. Brasuell 1996 Living Trust dated 7/22/96                Gardnerville, NV 89460
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & P. O. Box 6585                Placer Vineyards                         Unknown         Y
        Susan L. Brasuell 1996 Living Trust dated 7/22/96                Gardnerville, NV 89460
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & P. O. Box 6585                BarUSA/$15,300,000                       Unknown         Y
        Susan L. Brasuell 1996 Living Trust dated 7/22/96                Gardnerville, NV 89460
        Larry Simon & Lori Simon Trustees of the Simon Family Trust 15517 Oakstand Court               Marlton Square                           Unknown         Y
                                                                         Poway, CA 92064
        Larry W. Johnson, an unmarried man and Lyn Owen, an              6424 Orange Tree Avenue       Eagle Meadows Development                Unknown         Y
        unmarried woman, joint tenants with the right of survivorship    Las Vegas, NV 89142
        Larry Warner, Trustee of the Larry Warner Revocable Trust dated 27701 Forester                 Riviera - Homes for America Holdings,    Unknown         Y
        5/20/99                                                          Bonita Springs, FL 34134      L.L.C.
        Laura Anne Taylor Mulkey                                         2860 Augusta Drive            Fiesta Oak Valley                        Unknown         Y
                                                                         Las Vegas, NV 89109
        Laura Dashosh, an unmarried woman                                11333 Moorpark #85            HFA- Clear Lake                          Unknown         Y
                                                                         Toluca Lake, CA 91602
        Laura M. Cohen, an unmarried woman                               3676 Military Ave             Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                         Los Angeles, CA 90034
        Lauren Ceglia, an unmarried woman                                P.O. Box 3049                 Shamrock Tower, LP                       Unknown         Y
                                                                         Stateline, NV 89449
        Lawrence A. Bush & Mary L. Bush, husband & wife, as joint        HCR 79 Box 64                 Marlton Square                           Unknown         Y
        tenants with right of survivorship                               Crowley Lake, CA 93546
        Lawrence A. Bush & Mary L. Bush, husband & wife, as joint        HCR 79 Box 64                 Wasco Investments                        Unknown         Y
        tenants with right of survivorship                               Crowley Lake, CA 93546
        Lawrence A. Kirkham & Kathleen B. Sanginiti Trustees of the      2350 High Terrace Dr          HFA- Riviera 2nd                         Unknown         Y
        Kirkham & Sanginiti Trust dated 2/29/96                          Reno, NV 89509
        Lawrence A. Kirkham & Kathleen B. Sanginiti Trustees of the      2350 High Terrace Dr          6425 Gess, LTD                           Unknown         Y
        Kirkham & Sanginiti Trust dated 2/29/96                          Reno, NV 89509
        Lawrence A. Kirkham & Kathleen B. Sanginiti Trustees of the      2350 High Terrace Dr          Fiesta Oak Valley                        Unknown         Y
        Kirkham & Sanginiti Trust dated 2/29/96                          Reno, NV 89509
        Lawrence A. Kirkham & Kathleen B. Sanginiti Trustees of the      2350 High Terrace Dr          HFA- North Yonkers                       Unknown         Y
        Kirkham & Sanginiti Trust dated 2/29/96                          Reno, NV 89509
        Lawrence A. Kirkham & Kathleen B. Sanginiti Trustees of the      2350 High Terrace Dr          Brookmere/Matteson $27,050,000           Unknown         Y
        Kirkham & Sanginiti Trust dated 2/29/96                          Reno, NV 89509
        Lawrence H. Reynolds & Jayne L. Reynolds, husband & wife, as 650 W National Ave                Placer Vineyards                         Unknown         Y
        joint tenants with right of survivorship                         Winnemucca, NV 89445
        Lawrence H. Tengan & Lorraine K. Tengan Trustees of the          504 Edgefield Ridge Place     Margarita Annex                          Unknown         Y
        Lawrence H. Tengan & Lorraine K. Tengan Revocable Trust          Henderson, NV 89012
        Lawrence H. Tengan & Lorraine K. Tengan Trustees of the          504 Edgefield Ridge Place     Marlton Square 2nd                       Unknown         Y
        Lawrence H. Tengan & Lorraine K. Tengan Revocable Trust          Henderson, NV 89012
        Lawrence H. Tengan & Lorraine K. Tengan Trustees of the          504 Edgefield Ridge Place     Hasley Canyon                            Unknown         Y
        Lawrence H. Tengan & Lorraine K. Tengan Revocable Trust          Henderson, NV 89012
        Lawrence H. Tengan & Lorraine K. Tengan Trustees of the          504 Edgefield Ridge Place     Gramercy Court Condos                    Unknown         Y
        Lawrence H. Tengan & Lorraine K. Tengan Revocable Trust          Henderson, NV 89012
        Lawrence H. Tengan & Lorraine K. Tengan Trustees of the          504 Edgefield Ridge Place     Riviera - Homes for America Holdings,    Unknown         Y
        Lawrence H. Tengan & Lorraine K. Tengan Revocable Trust          Henderson, NV 89012           L.L.C.
        Lawrence J Aronson & Henrietta Aronson, husband & wife as        21150 Point Place Apt 606     HFA- Clear Lake                          Unknown         Y
        joint tenants with rights of survivorship                        Aventura, FL 33180
        Lawrence P. Tombari, a married man dealing with his sole &       8420 O'Hare Road              Shamrock Tower, LP                       Unknown         Y
        separate property                                                Las Vegas, NV 89143
        Lawrence P. Tombari, a married man dealing with his sole &       8420 O'Hare Road              Ashby Financial $7,200,000               Unknown         Y
        separate property                                                Las Vegas, NV 89143
        Lawrence P. Tombari, a married man dealing with his sole &       8420 O'Hare Road              Eagle Meadows Development                Unknown         Y
        separate property                                                Las Vegas, NV 89143
        Lawrence P. Tombari, a married man dealing with his sole &       8420 O'Hare Road              Gramercy Court Condos                    Unknown         Y
        separate property                                                Las Vegas, NV 89143
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue          Amesbury/Hatters Point                   Unknown         Y
                                                                         Las Vegas, NV 89134
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue          Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Las Vegas, NV 89134           L.L.C.




SCHEDULES                                                                             Exhibit B-21                                                           PAGE 155
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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue       Marlton Square 2nd                 Unknown            Y
                                                                       Las Vegas, NV 89134
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue       HFA- Riviera 2nd                   Unknown            Y
                                                                       Las Vegas, NV 89134
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue       Gramercy Court Condos              Unknown            Y
                                                                       Las Vegas, NV 89134
        Lawrence Rausch, a married man as his sole & separate property 10708 Brinkwood Avenue       HFA-Clear Lake 2nd                 Unknown            Y
                                                                       Las Vegas, NV 89134
        Lee Bryant & Patricia Bryant, husband & wife, as joint tenants 521 W Painted Trails Rd      Freeway 101                        Unknown            Y
        with right of survivorship                                     Pahrump, NV 89060
        Lee Bryant & Patricia Bryant, husband & wife, as joint tenants 521 W Painted Trails Rd      HFA- Riviera 2nd                   Unknown            Y
        with right of survivorship                                     Pahrump, NV 89060
        Lee Bryant & Patricia Bryant, husband & wife, as joint tenants 521 W Painted Trails Rd      Marlton Square                     Unknown            Y
        with right of survivorship                                     Pahrump, NV 89060
        Lee Bryant & Patricia Bryant, husband & wife, as joint tenants 521 W Painted Trails Rd      BarUSA/$15,300,000                 Unknown            Y
        with right of survivorship                                     Pahrump, NV 89060
        Lee Craven and Christine Craven, husband and wife as joint     4427 Blue Creek Drive        Eagle Meadows Development          Unknown            Y
        tenants with the right of survivorship                         Redding, CA 96002
        Lee Rotchy Trustee of the Lee Rotchy Trust dated 12/5/00       338 Omni Dr                  HFA- Windham                       Unknown            Y
                                                                       Sparks, NV 89436
        Lee Rotchy Trustee of the Lee Rotchy Trust dated 12/5/00       338 Omni Dr                  HFA- Clear Lake                    Unknown            Y
                                                                       Sparks, NV 89436
        Lee Rotchy Trustee of the Lee Rotchy Trust dated 12/5/00       338 Omni Dr                  6425 Gess, LTD                     Unknown            Y
                                                                       Sparks, NV 89436
        Lee Rotchy Trustee of the Lee Rotchy Trust dated 12/5/00       338 Omni Dr                  Midvale Marketplace, LLC           Unknown            Y
                                                                       Sparks, NV 89436
        Lee Rotchy Trustee of the Lee Rotchy Trust dated 12/5/00       338 Omni Dr                  Gramercy Court Condos              Unknown            Y
                                                                       Sparks, NV 89436
        Leif A. Johansen & Roberta K. Johansen Trustees of The         P O Box 2773                 Harbor Georgetown                  Unknown            Y
        Johansen Family Trust dated 10/23/87; as Amended 6/11/04       Truckee, CA 96160
        Leif A. Johansen & Roberta K. Johansen Trustees of The         P O Box 2773                 HFA- North Yonkers                 Unknown            Y
        Johansen Family Trust dated 10/23/87; as Amended 6/11/04       Truckee, CA 96160
        Leif A. Johansen & Roberta K. Johansen Trustees of The         P O Box 2773                 6425 Gess, LTD                     Unknown            Y
        Johansen Family Trust dated 10/23/87; as Amended 6/11/04       Truckee, CA 96160
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Eagle Meadows Development          Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Eagle Meadows Development          Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Eagle Meadows Development          Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Placer Vineyards                   Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Placer Vineyards                   Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Placer Vineyards                   Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Tapia Ranch                        Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Tapia Ranch                        Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson & Lena M. Swanson Trustees of the Swanson 212 Greenbriar Lane             Tapia Ranch                        Unknown            Y
        Family Trust dated 9/14/94                                     Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane            Eagle Meadows Development          Unknown            Y
        Swanson Living Trust dated 6/26/01                             Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane            Eagle Meadows Development          Unknown            Y
        Swanson Living Trust dated 6/26/01                             Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane            Eagle Meadows Development          Unknown            Y
        Swanson Living Trust dated 6/26/01                             Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane            Fiesta Oak Valley                  Unknown            Y
        Swanson Living Trust dated 7/26/01                             Buffalo, MN 55313




SCHEDULES                                                                          Exhibit B-21                                                      PAGE 156
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In re            USA Commercial Mortgage Company                     ,                                                                            Case No. 06-10725-LBR
                                  Debtor                                                                                                                       (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                   Current Market Value of
                                                                                                                                                     Debtor's Interest in
                                                           Description and Location of Property                                                           Property


                               Legal vesting                                      Mailing Address                          Loan Name                Amount     Contingent
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane                  Fiesta Oak Valley                        Unknown         Y
        Swanson Living Trust dated 7/26/01                              Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane                  Fiesta Oak Valley                        Unknown         Y
        Swanson Living Trust dated 7/26/01                              Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane                  Bay Pompano Beach                        Unknown         Y
        Swanson Living Trust dated 7/26/01                              Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane                  Bay Pompano Beach                        Unknown         Y
        Swanson Living Trust dated 7/26/01                              Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. 212 Greenbriar Lane                  Bay Pompano Beach                        Unknown         Y
        Swanson Living Trust dated 7/26/01                              Buffalo, MN 55313
        Leland T. Pearce & Isabelle J. Pearce, husband & wife, as joint 3160 Eaglewood Drive              BarUSA/$15,300,000                       Unknown         Y
        tenants with right of survivorship                              Reno, NV 89502
        Lelia Yvonne Needens Trustee of the Needens 1997 Living Trust 1329 Hwy 395 10130                  Amesbury/Hatters Point                   Unknown         Y
                                                                        Gardnerville, NV 89410
        Lelia Yvonne Needens Trustee of the Needens 1997 Living Trust 1329 Hwy 395 10130                  HFA- North Yonkers                       Unknown         Y
                                                                        Gardnerville, NV 89410
        Leo G. Mantas, an unmarried man                                 2053 Columbus Way                 Marlton Square                           Unknown         Y
                                                                        Vista, CA 92081
        Leo G. Mantas, an unmarried man                                 2053 Columbus Way                 Marlton Square                           Unknown         Y
                                                                        Vista, CA 92081
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Bay Pompano Beach                        Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Eagle Meadows Development                Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Huntsville                               Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Margarita Annex                          Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Marlton Square                           Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & 2601 Byron Drive                    Brookmere/Matteson $27,050,000           Unknown         Y
        Suzy Singer Revocable Trust dated 6/30/99                       Las Vegas, NV 89134
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A 880 Buffwood Avenue                 Fiesta USA/Stoneridge                    Unknown         Y
        dated 7/16/96                                                   Las Vegas, NV 89123
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A 880 Buffwood Avenue                 Marlton Square                           Unknown         Y
        dated 7/16/96                                                   Las Vegas, NV 89123
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A 880 Buffwood Avenue                 Bay Pompano Beach                        Unknown         Y
        dated 7/16/96                                                   Las Vegas, NV 89123
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A 880 Buffwood Avenue                 Opaque/Mt. Edge $7,350,000               Unknown         Y
        dated 7/16/96                                                   Las Vegas, NV 89123
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A 880 Buffwood Avenue                 Brookmere/Matteson $27,050,000           Unknown         Y
        dated 7/16/96                                                   Las Vegas, NV 89123
        Leona M. Chapman Trustee of the Chapman Trust #1015932          5362 Winding Creek Drive          6425 Gess, LTD                           Unknown         Y
                                                                        Rockford, IL 61114
        Leonard Baker & Barbara Baker Co-Trustees of the Leonard        8520 Bayland Drive                6425 Gess, LTD                           Unknown         Y
        Baker & Barbara Baker Revocable Trust                           Las Vegas, NV 89134
        Leonard Baker & Barbara Baker Co-Trustees of the Leonard        8520 Bayland Drive                Fiesta Oak Valley                        Unknown         Y
        Baker & Barbara Baker Revocable Trust                           Las Vegas, NV 89134
        Leonard C. Adams and Denise M. Adams, trustees of The           9290 E Thompson Peak Pkwy # 491   Riviera - Homes for America Holdings,    Unknown         Y
        Leonard Adams Revocable Trust Under Trust Agreement dated Scottsdale, AZ 85255                    L.L.C.
        July 11, 1983
        Leonard C. Adams, a married man dealing with his sole &         9290 E Thompson Peak Pkwy # 491   Placer Vineyards 2nd                     Unknown         Y
        separate property                                               Scottsdale, AZ 85255
        Leonard J. Georges & Jean Georges Co-Trustees of the Georges 701 Rancho Circle                    Tapia Ranch                              Unknown         Y
        1987 Trust dated 12/23/87                                       Las Vegas, NV 89107
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos       115 Mia Vista Court               Castaic Partners II, LLC                 Unknown         Y
        Family Trust dated 8/27/97                                      Reno, NV 89502
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos       115 Mia Vista Court               Tapia Ranch                              Unknown         Y
        Family Trust dated 8/27/97                                      Reno, NV 89502




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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                  (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                   Loan Name                 Amount     Contingent
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos      115 Mia Vista Court           Gateway Stone                            Unknown         Y
        Family Trust dated 8/27/97                                     Reno, NV 89502
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos      115 Mia Vista Court           6425 Gess, LTD                           Unknown         Y
        Family Trust dated 8/27/97                                     Reno, NV 89502
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos      115 Mia Vista Court           HFA- Riviera 2nd                         Unknown         Y
        Family Trust dated 8/27/97                                     Reno, NV 89502
        Leonard Jay Nevins & Ruth Nevins Trustees of the Nevins        3027 Big Green Lane           HFA- Riviera 2nd                         Unknown         Y
        Family Trust dated 6/9/00                                      Las Vegas, NV 89134
        Leonard Martinez &Tara Martinez, husband & wife, as joint      6297 Elvido Ave               Fiesta USA/Stoneridge                    Unknown         Y
        tenants with right of survivorship                             Las Vegas, NV 89122
        Leonard Newman, Trustee of the Leonard Newman Trust dated      1597 Santa Anita Drive        Amesbury/Hatters Point                   Unknown         Y
        10/11/05                                                       Las Vegas, NV 89119
        Leonard Vandergaag & Hillegonda Vandergaag Trustees of the     7242 Evening Hills Avenue     Bay Pompano Beach                        Unknown         Y
        LHV Living Trust dated 10/31/01                                Las Vegas, NV 89113
        Lesleigh J. Tolin, a single woman                              5950 Canterbury Dr C-210      Marquis Hotel                            Unknown         Y
                                                                       Culver City, CA 90230
        Lesleigh J. Tolin, a single woman                              5950 Canterbury Dr C-210      Hasley Canyon                            Unknown         Y
                                                                       Culver City, CA 90230
        Lesley Stricker, a widow                                       4 Stanley Street              Fiesta USA/Stoneridge                    Unknown         Y
                                                                       Pleasantville, NY 10570
        Lesley Stricker, a widow                                       4 Stanley Street              Amesbury/Hatters Point                   Unknown         Y
                                                                       Pleasantville, NY 10570
        Leslie F. Kerns & Alma D. Kerns, husband & wife, as joint      4465 Boca Wy 193              Fiesta Oak Valley                        Unknown         Y
        tenants with right of survivorship                             Reno, NV 89502
        Leslie F. Kerns & Alma D. Kerns, husband & wife, as joint      4465 Boca Wy 193              Marlton Square 2nd                       Unknown         Y
        tenants with right of survivorship                             Reno, NV 89502
        Leslie F. Kerns & Alma D. Kerns, husband & wife, as joint      4465 Boca Wy 193              Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                             Reno, NV 89502                L.L.C.
        Leslie Harkins & Linda Harkins Trustees of the Harkins 2001    5406 Hidden Valley Court      HFA- North Yonkers                       Unknown         Y
        Revocable Trust dated 8/23/01                                  Reno, NV 89502
        Leslie Harkins & Linda Harkins Trustees of the Harkins 2001    5406 Hidden Valley Court      Eagle Meadows Development                Unknown         Y
        Revocable Trust dated 8/23/01                                  Reno, NV 89502
        Leslie Harkins & Linda Harkins Trustees of the Harkins 2001    5406 Hidden Valley Court      BarUSA/$15,300,000                       Unknown         Y
        Revocable Trust dated 8/23/01                                  Reno, NV 89502
        Leslie Irwin, a single woman                                   P. O. Box 22342               Placer Vineyards 2nd                     Unknown         Y
                                                                       Carson City , NV 89721
        Leslie Irwin, a single woman                                   P. O. Box 22342               HFA-Clear Lake 2nd                       Unknown         Y
                                                                       Carson City , NV 89721
        Leslie Irwin, a single woman                                   P. O. Box 22342               Placer Vineyards                         Unknown         Y
                                                                       Carson City , NV 89721
        Leslie S. Lanes, a married woman as her sole and separate      1390 Frank Hill Road          Gramercy Court Condos                    Unknown         Y
        property                                                       Ashland, OR 97520
        Leslie S. Lanes, a married woman as her sole and separate      1390 Frank Hill Road          Gramercy Court Condos                    Unknown         Y
        property                                                       Ashland, OR 97520
        Leslie S. Lanes, a married woman as her sole and separate      1390 Frank Hill Road          Bay Pompano Beach                        Unknown         Y
        property                                                       Ashland, OR 97520
        Leslie S. Lanes, a married woman as her sole and separate      1390 Frank Hill Road          Bay Pompano Beach                        Unknown         Y
        property                                                       Ashland, OR 97520
        Leslie Shane Daniel and Denise M. Daniel, husband and wife, as P O Box 4                     Gramercy Court Condos                    Unknown         Y
        joint tenants with the right of survivorship                   Genoa, NV 89411
        Lester Leckenby & Barbara Leckenby, husband & wife, as joint 1699 Bridgeview Ct              Gramercy Court Condos                    Unknown         Y
        tenants with right of survivorship                             Reno, NV 89521
        Lewis H. Fine & Arlene J. Fine, husband & wife                 P O Box 487                   HFA- Clear Lake                          Unknown         Y
                                                                       Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                 P O Box 487                   HFA- Clear Lake                          Unknown         Y
                                                                       Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                 P O Box 487                   HFA- Clear Lake                          Unknown         Y
                                                                       Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                 P O Box 487                   6425 Gess, LTD                           Unknown         Y
                                                                       Oakley, UT 84055




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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 6425 Gess, LTD                    Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 6425 Gess, LTD                    Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Bay Pompano Beach                 Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Bay Pompano Beach                 Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Bay Pompano Beach                 Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Brookmere/Matteson $27,050,000    Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Brookmere/Matteson $27,050,000    Unknown           Y
                                                                          Oakley, UT 84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                    P O Box 487                 Brookmere/Matteson $27,050,000    Unknown           Y
                                                                          Oakley, UT 84055
        Liberty Resource Management Corp., a Pennsylvania company         P O Box 7069                Amesbury/Hatters Point            Unknown           Y
                                                                          Audubon, PA 19407
        Liberty Resource Management Corp., a Pennsylvania company         P O Box 7069                Fiesta Oak Valley                 Unknown           Y
                                                                          Audubon, PA 19407
        Liberty Resource Management Corp., a Pennsylvania company         P O Box 7069                Brookmere/Matteson $27,050,000    Unknown           Y
                                                                          Audubon, PA 19407
        Lidia Bazzoli & Daniela Bazzoli-Ferrari, joint tenants with right PMB 293 774 Mays Blvd 10    HFA- Clear Lake                   Unknown           Y
        of survivorship                                                   Incline Village, NV 89451
        Lidia Bazzoli & Daniela Bazzoli-Ferrari, joint tenants with right PMB 293 774 Mays Blvd 10    Wasco Investments                 Unknown           Y
        of survivorship                                                   Incline Village, NV 89451
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Fiesta Oak Valley                 Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Tapia Ranch                       Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Placer Vineyards 2nd              Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Hasley Canyon                     Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Lerin Hills                       Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Brookmere/Matteson $27,050,000    Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lily Markham, a married woman dealing with her sole & separate 7746 Foredawn Dr               Cabernet                          Unknown           Y
        property & Irene Anne Markham-Tafoya, a married woman             Las Vegas, NV 89123
        dealing with her sole & separate property
        Lincoln Trust Company Trustee for the benefit of Jeffrey Janus 8013 Glendale Drive            Amesbury/Hatters Point            Unknown           Y
                                                                          Frederick, MD 21702
        Linda Broders, an unmarried woman                                 86 Corsica Drive            Harbor Georgetown                 Unknown           Y
                                                                          Newport Beach, CA 92660
        Linda C. Vlautin Trustee of the Linda C. Vlautin Trust dated      6152 Wycliffe Circle        Placer Vineyards                  Unknown           Y
        10/31/01                                                          Reno, NV 89509
        Linda D. Waterhouse, an unmarried woman                           2000 Whiskey Springs Road   Marlton Square                    Unknown           Y
                                                                          Reno, NV 89510
        Linda E. Reynolds, a married woman dealing with her sole and      337 Westminster Avenue      Wasco Investments                 Unknown           Y
        separate property                                                 Salt Lake City , UT 84115
        Linda J. Wimsatt, Trustee for the Wimsatt Trust dated October     4920 Amador Dr              Gateway Stone                     Unknown           Y
        19, 2004                                                          Oceanside, CA 92056




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In re            USA Commercial Mortgage Company                      ,                                                                       Case No. 06-10725-LBR
                                     Debtor                                                                                                                (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                            Description and Location of Property                                                      Property


                                Legal vesting                                      Mailing Address                    Loan Name                 Amount     Contingent
        Linda Kiel, a single woman                                        12001 Clover Avenue         Eagle Meadows Development                Unknown         Y
                                                                          Los Angeles, CA 90066
        Linda Leblanc and Gene A. Leblanc, Trustees of the Gene &         4013 Clover Creek Crt       Eagle Meadows Development                Unknown         Y
        Linda Leblanc Family Trust dated 8/20/99                          Reno , NV 89509
        Linda Levin, a married woman dealing with her sole and separate 8000 Castle Pines Ave         Bay Pompano Beach                        Unknown         Y
        property                                                          Las Vegas, NV 89113
        Linda M. Herdman Trustee for the Linda M. Herdman Family          3709 Lake Avenue            Bay Pompano Beach                        Unknown         Y
        Trust dated 12/11/03                                              Newport Beach, CA 92663
        Linda M. Herdman Trustee for the Linda M. Herdman Family          3709 Lake Avenue            Gramercy Court Condos                    Unknown         Y
        Trust dated 12/11/03                                              Newport Beach, CA 92663
        Linda M. Herdman Trustee for the Linda M. Herdman Family          3709 Lake Avenue            HFA- North Yonkers                       Unknown         Y
        Trust dated 12/11/03                                              Newport Beach, CA 92663
        Linda M. Herdman Trustee for the Linda M. Herdman Family          3709 Lake Avenue            Midvale Marketplace, LLC                 Unknown         Y
        Trust dated 12/11/03                                              Newport Beach, CA 92663
        Linda M. Herdman Trustee for the Linda M. Herdman Family          3709 Lake Avenue            Gateway Stone                            Unknown         Y
        Trust dated 12/11/03                                              Newport Beach, CA 92663
        Linda M. Walker, a single woman                                   3710 Clover Way             HFA- Riviera 2nd                         Unknown         Y
                                                                          Reno, NV 89509
        Linda M. Walker, a single woman                                   3710 Clover Way             Marlton Square 2nd                       Unknown         Y
                                                                          Reno, NV 89509
        Linda Merialdo Trustee of the Linda Merialdo Living Trust dated 9550 West Sahara Ave. #1044   Tapia Ranch                              Unknown         Y
        8/6/02                                                            Las Vegas, NV 89117
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W Riverview Cr.         Amesbury/Hatters Point                   Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W. Riverview Circle     Amesbury/Hatters Point                   Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W Riverview Cr.         Harbor Georgetown                        Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W. Riverview Circle     Harbor Georgetown                        Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W Riverview Cr.         Tapia Ranch                              Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr Trustee of the Doerr Family Trust dated      690 W. Riverview Circle     Tapia Ranch                              Unknown         Y
        9/12/02                                                           Reno, NV 89509
        Linda Patrucco Doerr, Trustee of the Franz J. Doerr Shelter Trust 690 W Riverview Cr.         Amesbury/Hatters Point                   Unknown         Y
        of the Doerr Family Trust dated 9/12/02                           Reno, NV 89509
        Linda Patrucco Doerr, Trustee of the Franz J. Doerr Shelter Trust 690 W. Riverview Circle     Amesbury/Hatters Point                   Unknown         Y
        of the Doerr Family Trust dated 9/12/02                           Reno, NV 89509
        Lindsay Barron, an unmarried woman                                78 Purchase St. #4          Marquis Hotel                            Unknown         Y
                                                                          Rye, AK 10580
        Lisa Ann Bastian Trustee of the Lisa Bastian Living Trust dated 2004 Spruce Brook Dr          Eagle Meadows Development                Unknown         Y
        August 30, 1999                                                   Henderson, NV 89074
        Lisa Christensen, Trustee of the Lisa Christensen Trust dated     33252 Astoria St            Wasco Investments                        Unknown         Y
        1/9/06                                                            Dana Point, CA 92629
        Lisa Sooy, a single woman                                         1925 Anaheim Avenue A3      Eagle Meadows Development                Unknown         Y
                                                                          Costa Mesa, CA 92627
        Lisa Sooy, a single woman                                         1925 Anaheim Avenue A3      BarUSA/$15,300,000                       Unknown         Y
                                                                          Costa Mesa, CA 92627
        Lisa Y. Daskas, a single woman                                    3464 Caraway Lane           Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Yorba Linda, CA 92886       L.L.C.
        Lisa Y. Daskas, a single woman                                    3464 Caraway Lane           Hasley Canyon                            Unknown         Y
                                                                          Yorba Linda, CA 92886
        Lisa Y. Daskas, a single woman                                    3464 Caraway Lane           Marlton Square 2nd                       Unknown         Y
                                                                          Yorba Linda, CA 92886
        LK Wolfe Family, LP, a Nevada limited partnership                 5035 Landy Bank Court       Marquis Hotel                            Unknown         Y
                                                                          Reno, NV 89509
        LK Wolfe Family, LP, a Nevada limited partnership                 5035 Landy Bank Court       Gramercy Court Condos                    Unknown         Y
                                                                          Reno, NV 89509
        LK Wolfe Family, LP, a Nevada limited partnership                 5035 Landy Bank Court       HFA- Clear Lake                          Unknown         Y
                                                                          Reno, NV 89509




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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        LK Wolfe Family, LP, a Nevada limited partnership                5035 Landy Bank Court       Tapia Ranch                       Unknown            Y
                                                                         Reno, NV 89509
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Lerin Hills                       Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Gramercy Court Condos             Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Wasco Investments                 Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Tapia Ranch                       Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Placer Vineyards                  Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Marlton Square 2nd                Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Marlton Square                    Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Amesbury/Hatters Point            Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Hasley Canyon                     Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      HFA- Riviera 2nd                  Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Gilroy                            Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Eagle Meadows Development         Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      Bay Pompano Beach                 Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust       5626 E Edgemont Avenue      HFA- Clear Lake                   Unknown            Y
        dated 5/20/99                                                    Scottsdale, AZ 85257
        Lloyd R. Hurst Jr. & Judith G. Hurst, husband & wife, as joint   11885 Lone Desert Dr        BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                               Reno, NV 89506
        Lloyd R. Hurst Jr. & Judith G. Hurst, husband & wife, as joint   11885 Lone Desert Dr        Marquis Hotel                     Unknown            Y
        tenants with right of survivorship                               Reno, NV 89506
        Lois E. Hath & Brenda C. Masnack, Successor Co-Trustees of the 3540 W Sahara Ave Box 590     BarUSA/$15,300,000                Unknown            Y
        Edwin E. Scott 1996 Revocable Trust                              Las Vegas, NV 89102
        Lois E. Hath & Brenda C. Masnack, Successor Co-Trustees of the 3540 W Sahara Ave Box 590     Huntsville                        Unknown            Y
        Edwin E. Scott 1996 Revocable Trust                              Las Vegas, NV 89102
        Lois J. Avena, Trustee of the Avena Living Trust dated 3/28/84 742 Diamond Glen Circle       Eagle Meadows Development         Unknown            Y
                                                                         Folsom, CA 95630
        Lorayne J. Hutchison & James H. Hutchison, husband & wife & 702 W McArthur Ave # 68          6425 Gess, LTD                    Unknown            Y
        Kaye Hutchison, a married woman dealing with her sole &          Winnemucca, NV 89445
        separate property, as joint tenants with right of survivorship
        Loren J. Wilcox, a single man                                    3361 Skyline Blvd           Wasco Investments                 Unknown            Y
                                                                         Reno, NV 89509
        Loren J. Wilcox, a single man                                    3361 Skyline Blvd           Marquis Hotel                     Unknown            Y
                                                                         Reno, NV 89509
        Loreto O. Bautista & Myrna R. Bautista, husband & wife, as joint 2479 Citrus Garden Circle   Amesbury/Hatters Point            Unknown            Y
        tenants with right of survivorship                               Henderson, NV 89052
        Lori Dietzman and William Dietzman, wife and husband as joint 10374 Summer Holly Circle      Bay Pompano Beach                 Unknown            Y
        tenants with right of survivorship                               Los Angeles, CA 90077
        Lori E. Oxx, a married woman dealing with her sole & separate 6501 Dume Drive                Bay Pompano Beach                 Unknown            Y
        property                                                         Malibu, CA 90265
        Lori E. Oxx, a married woman dealing with her sole & separate 6501 Dume Drive                6425 Gess, LTD                    Unknown            Y
        property                                                         Malibu, CA 90265
        Lorraine E. Brock Trustee of the Henry C. Brock, Jr. & Lorraine 316 Kiel St                  Shamrock Tower, LP                Unknown            Y
        E. Brock Trust dated 12/3/94                                     Henderson, NV 89015
        Lorraine Moscianese, an unmarried woman                          1306 West Shellfish Drive   Amesbury/Hatters Point            Unknown            Y
                                                                         Gilbert, AZ 85233




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In re            USA Commercial Mortgage Company                       ,                                                                         Case No. 06-10725-LBR
                                   Debtor                                                                                                                     (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                             Description and Location of Property                                                        Property


                                Legal vesting                                       Mailing Address                       Loan Name                Amount     Contingent
        Lorraine Moscianese, an unmarried woman                          1306 West Shellfish Drive       Freeway 101                              Unknown         Y
                                                                         Gilbert, AZ 85233
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust      303 E. Wildwood Drive           Cabernet                                 Unknown         Y
        under agreement dated 10/3/95                                    Phoenix, AZ 85048
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust      303 E. Wildwood Drive           Marlton Square 2nd                       Unknown         Y
        under agreement dated 10/3/95                                    Phoenix, AZ 85048
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust      303 E. Wildwood Drive           HFA-Clear Lake 2nd                       Unknown         Y
        under agreement dated 10/3/95                                    Phoenix, AZ 85048
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust      303 E. Wildwood Drive           HFA- Windham                             Unknown         Y
        under agreement dated 10/3/95                                    Phoenix, AZ 85048
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust      303 E. Wildwood Drive           Riviera - Homes for America Holdings,    Unknown         Y
        under agreement dated 10/3/95                                    Phoenix, AZ 85048               L.L.C.
        Louis A. Avanzino, a married man dealing with his sole &         14519 SE 13th Place             Opaque/Mt. Edge $7,350,000               Unknown         Y
        separate property                                                Bellevue, WA 98007
        Louis C. Swilley, an unmarried man                               4314 Dickson Street             HFA- Clear Lake                          Unknown         Y
                                                                         Houston, TX 77007
        Louis C. Swilley, an unmarried man                               4314 Dickson Street             6425 Gess, LTD                           Unknown         Y
                                                                         Houston, TX 77007
        Louis Cangiano, Jr. & Nancy E. Cangiano Trustees of The          32085 Via Flores                Amesbury/Hatters Point                   Unknown         Y
        Cangiano Trust dated 3/30/90                                     San Juan Capistrano, CA 92675
        Louis DeGravina                                                  1138 West Sea Fog Drive         Bay Pompano Beach                        Unknown         Y
                                                                         Gilbert, AZ 85233
        Louis E Massry, a married man dealing with his sole and separate 62 Brighton Ave                 HFA- North Yonkers                       Unknown         Y
        property                                                         Deal, NJ 7723
        Louis H. Shahin Trustor & Trustee of The Louis H. Shahin Trust 19211 Chole Rd.                   Midvale Marketplace, LLC                 Unknown         Y
        dated 6/9/94                                                     Apple Valley, CA 92307
        Louis H. Shahin Trustor & Trustee of The Louis H. Shahin Trust 19211 Chole Rd.                   Marlton Square                           Unknown         Y
        dated 6/9/94                                                     Apple Valley, CA 92307
        Louis H. Shahin Trustor & Trustee of The Louis H. Shahin Trust 19211 Chole Rd.                   Marquis Hotel                            Unknown         Y
        dated 6/9/94                                                     Apple Valley, CA 92307
        Louis H. Turner & Shirley M. Turner Trustees of the Louis H. & 9558 Mammoth Court                HFA- North Yonkers                       Unknown         Y
        Shirley M. Turner Family Trust dated 9/9/97                      Reno, NV 89521
        Louis H. Turner & Shirley M. Turner Trustees of the Louis H. & 9558 Mammoth Court                Placer Vineyards                         Unknown         Y
        Shirley M. Turner Family Trust dated 9/9/97                      Reno, NV 89521
        Louis John Canepa Trustee of the Louis John Canepa Revocable 1395 HillTop Rd                     Placer Vineyards                         Unknown         Y
        Trust dated 6/18/98                                              Reno, NV 89509
        Louis John Canepa Trustee of the Louis John Canepa Revocable 1395 HillTop Rd                     Placer Vineyards                         Unknown         Y
        Trust dated 6/18/98                                              Reno, NV 89509
        Louis John Canepa Trustee of the Louis John Canepa Revocable 1395 HillTop Rd                     Opaque/Mt. Edge $7,350,000               Unknown         Y
        Trust dated 6/18/98                                              Reno, NV 89509
        Louis John Canepa Trustee of the Louis John Canepa Revocable 1395 HillTop Rd                     Opaque/Mt. Edge $7,350,000               Unknown         Y
        Trust dated 6/18/98                                              Reno, NV 89509
        Louisa M. Trifiletti, an unmarried woman                         1306 W Shellfish Drive          Marquis Hotel                            Unknown         Y
                                                                         Gilbert, AZ 85233
        Lowell Arthur Paulsen and Sherri Lynn Paulsen, Trustees of The 47557 Rd 630                      Gateway Stone                            Unknown         Y
        Paulsen Family Trust Under Agreement June 25, 1992               Oakhurst, CA 93644
        Lowell V. Andrews, an unmarried man                              9850 Garfield Ave SP #60        Marlton Square                           Unknown         Y
                                                                         Huntington Beach, CA 92646
        Loyal Crownover, Trustee of the Lora and Loyal Crownover         2213 Plaza Del Puerto           6425 Gess, LTD                           Unknown         Y
        Family Trust                                                     Las Vegas, NV 89102
        Loyal Crownover, Trustee of the Lora and Loyal Crownover         2213 Plaza Del Puerto           Gateway Stone                            Unknown         Y
        Family Trust                                                     Las Vegas, NV 89102
        Loyal Crownover, Trustee of the Lora and Loyal Crownover         2213 Plaza Del Puerto           Midvale Marketplace, LLC                 Unknown         Y
        Family Trust                                                     Las Vegas, NV 89102
        Loyal Crownover, Trustee of the Lora and Loyal Crownover         2213 Plaza Del Puerto           Clear Creek Plantation                   Unknown         Y
        Family Trust                                                     Las Vegas, NV 89102
        LPGE Corp., an Illinois Corporation                              2530 Pacific Heights Rd         Gramercy Court Condos                    Unknown         Y
                                                                         Honolulu, HI 96813
        LRD Lending, A California Partnership                            4590 Eucalyptus Ave Ste A       Eagle Meadows Development                Unknown         Y
                                                                         Chino, CA 91710




SCHEDULES                                                                            Exhibit B-21                                                              PAGE 162
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In re             USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                     Debtor                                                                                                             (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                                Description and Location of Property                                               Property


                                  Legal vesting                                      Mailing Address                       Loan Name         Amount     Contingent
        LRD Lending, A California Partnership                            4590 Eucalyptus Ave Ste A        Eagle Meadows Development         Unknown         Y
                                                                         Chino, CA 91710
        LRD Lending, A California Partnership                            4590 Eucalyptus Ave Ste A        Eagle Meadows Development         Unknown         Y
                                                                         Chino, CA 91710
        Lucille Farrlow Trustee of the Lucille Farrlow Trust 2000        7821 Sailboat Lane               Marlton Square 2nd                Unknown         Y
                                                                         Las Vegas, NV 89145
        Lucille Farrlow Trustee of the Lucille Farrlow Trust 2000        7821 Sailboat Lane               Hasley Canyon                     Unknown         Y
                                                                         Las Vegas, NV 89145
        Lucinda Malott, an unmarried woman                               957 La Senda                     Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                         Santa Barbara, CA 93105
        Lucrecia Sparks Trustee of the Lucrecia Sparks Living Trust      868 Vegas Valley Drive           HFA- Riviera 2nd                  Unknown         Y
        dated 3/29/00                                                    Las Vegas, NV 89108
        Luther E. Tate, an unmarried man                                 678 Wells Road                   Marlton Square                    Unknown         Y
                                                                         Boulder City, NV 89005
        Luther E. Tate, an unmarried man                                 678 Wells Road                   Bay Pompano Beach                 Unknown         Y
                                                                         Boulder City, NV 89005
        Lyle J. Duffy Trustee of the Lyle J. Duffy Trust dated 4/12/99   5203 Cloudcraft Court            Gramercy Court Condos             Unknown         Y
                                                                         Katy, TX 77494
        Lyle O. Keys and Melissa W. Keys, husband and wife, as joint     432 Via Ventana Drive            BarUSA/$15,300,000                Unknown         Y
        tenants with the rights of survivorship                          Mesquite, NV 89027
        Lynda Gay Anderson, Trustee of the Lynda Gay Anderson Trust      802 San Remo Way                 Marlton Square                    Unknown         Y
        dated 7/7/04                                                     Boulder City, NV 89005
        Lynda Gay Anderson, Trustee of the Lynda Gay Anderson Trust      802 San Remo Way                 Midvale Marketplace, LLC          Unknown         Y
        dated 7/7/04                                                     Boulder City, NV 89005
        Lynda Gay Anderson, Trustee of the Lynda Gay Anderson Trust      802 San Remo Way                 Bay Pompano Beach                 Unknown         Y
        dated 7/7/04                                                     Boulder City, NV 89005
        Lynda L. Pinnell Trustee of the Lynda L. Pinnell Living Trust    9915 Saddleback Drive            Fiesta Oak Valley                 Unknown         Y
        dated 7/24/00                                                    Lakeside, CA 92040
        Lynda L. Pinnell Trustee of the Lynda L. Pinnell Living Trust    9915 Saddleback Drive            Fiesta Oak Valley                 Unknown         Y
        dated 7/24/00                                                    Lakeside, CA 92040
        Lynda L. Pinnell Trustee of the Lynda L. Pinnell Living Trust    9915 Saddleback Drive            Tapia Ranch                       Unknown         Y
        dated 7/24/00                                                    Lakeside, CA 92040
        Lynda L. Pinnell Trustee of the Lynda L. Pinnell Living Trust    9915 Saddleback Drive            Tapia Ranch                       Unknown         Y
        dated 7/24/00                                                    Lakeside, CA 92040
        Lynelle L. Goodreau and David M. Bailey, wife and husband, as    19120 Victory Blvd               BarUSA/$15,300,000                Unknown         Y
        joint tenants with right of survivorship                         Tarzana, CA 91335
        Lynelle L. Goodreau and David M. Bailey, wife and husband, as    19120 Victory Blvd               BarUSA/$15,300,000                Unknown         Y
        joint tenants with right of survivorship                         Tarzana, CA 91335
        Lynelle L. Goodreau and David M. Bailey, wife and husband, as    19120 Victory Blvd               Opaque/Mt. Edge $7,350,000        Unknown         Y
        joint tenants with right of survivorship                         Tarzana, CA 91335
        Lynelle L. Goodreau and David M. Bailey, wife and husband, as    19120 Victory Blvd               Opaque/Mt. Edge $7,350,000        Unknown         Y
        joint tenants with right of survivorship                         Tarzana, CA 91335
        Lynelle L. Goodreau, a married woman dealing with her sole &     19120 Victory Blvd               Huntsville                        Unknown         Y
        separate property                                                Tarzana, CA 91335
        Lynelle L. Goodreau, a married woman dealing with her sole &     19120 Victory Blvd               Huntsville                        Unknown         Y
        separate property                                                Tarzana, CA 91335
        Lynelle L. Goodreau, a married woman dealing with her sole &     19120 Victory Blvd               Marquis Hotel                     Unknown         Y
        separate property                                                Tarzana, CA 91335
        Lynelle L. Goodreau, a married woman dealing with her sole &     19120 Victory Blvd               Marquis Hotel                     Unknown         Y
        separate property                                                Tarzana, CA 91335
        Lynn J. Hansen Trustee of the Reynold E. Palesh Trust dated      8912 E Pinnacle Peak Rd F9-602   Lerin Hills                       Unknown         Y
        6/17/01                                                          Scottsdale, AZ 85255
        Lynn J. Hansen Trustee of the Reynold E. Palesh Trust dated      8912 E Pinnacle Peak Rd F9-602   Eagle Meadows Development         Unknown         Y
        6/17/01                                                          Scottsdale, AZ 85255
        Lynn L Fetterly & Melody A. Fetterly Trustees of the Fetterly    P O Box 5986                     Castaic Partners II, LLC          Unknown         Y
        Family Trust dated 6/30/89                                       Incline Village, NV 89450
        Lynn M. Gillmore & James D. Gillmore, husband & wife             NULL                             Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                         NULL
                                                                         NULL, NULL




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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Lynn M. Gillmore & James D. Gillmore, husband & wife              17502 N Rainbow Blvd        Opaque/Mt. Edge $7,350,000        Unknown           Y
                                                                          Surprise, AZ 85734
        Lynn M. Kantor, a married woman dealing with her sole and         2816 Vista Del Sol          Marlton Square                    Unknown           Y
        separate property                                                 Las Vegas, NV 89120
        Lynn M. Kantor, a married woman dealing with her sole and         2816 Vista Del Sol          Marlton Square                    Unknown           Y
        separate property                                                 Las Vegas, NV 89120
        Lynn M. Maguire, an unmarried woman                               2816 Vista Del Sol          Amesbury/Hatters Point            Unknown           Y
                                                                          Las Vegas, NV 89120
        Lynn M. Maguire, an unmarried woman                               2816 Vista Del Sol          Amesbury/Hatters Point            Unknown           Y
                                                                          Las Vegas, NV 89120
        Lynn Wilkelis, an unmarried woman, Jewell Nowak, an               PO Box 642                  Marquis Hotel                     Unknown           Y
        unmarried woman & Dr. Jana Molvaney, an unmarried woman, as Buellton, CA 93427
        joint tenants with right of survivorship
        Lynn Wilkelis, an unmarried woman, Jewell Nowak, an               PO Box 642                  Marquis Hotel                     Unknown           Y
        unmarried woman & Dr. Jana Molvaney, an unmarried woman, as Buellton, CA 93427
        joint tenants with right of survivorship
        Lynne Keller, a married woman dealing with her sole & separate 2375 Range View Dr             Marquis Hotel                     Unknown           Y
        property                                                          Reno, NV 89509
        M. Craig Medoff Trustee of the Medoff Family Trust dated          3110 Larkwood Ct            Wasco Investments                 Unknown           Y
        9/1/1988                                                          Fallbrook, CA 92028
        M. Craig Medoff Trustee of the Medoff Family Trust dated          3110 Larkwood Ct            Marquis Hotel                     Unknown           Y
        9/1/1988                                                          Fallbrook, CA 92028
        M. Evelyn Fisher, and/or successor(s) in trust, as Trustee of The 3406 S Feldspar Ave         Marquis Hotel                     Unknown           Y
        M. Evelyn Fisher Revocable Trust dated 11/07/05                   Tucson, AZ 85735
        M. Evelyn Fisher, and/or successor(s) in trust, as Trustee of The 3406 S Feldspar Ave         Huntsville                        Unknown           Y
        M. Evelyn Fisher Revocable Trust dated 11/07/05                   Tucson, AZ 85735
        M. Glenn Dennison & Susan M. Dennison, husband & wife, as         3345 Meridian Lane          Freeway 101                       Unknown           Y
        joint tenants with right of survivorship                          Reno, NV 89509
        M. L. Smith and Pauline Smith, Trustees of the M. L. and Pauline 3108 N Minersville Hwy       Gramercy Court Condos             Unknown           Y
        Smith Family Living Trust                                         Cedar City, UT 84720
        M. W. Gorts & Company                                             7820 Emerald Harbor Ct      Marlton Square                    Unknown           Y
                                                                          Las Vegas, NV 89128
        M. W. Gorts & Company                                             7820 Emerald Harbor Ct      Margarita Annex                   Unknown           Y
                                                                          Las Vegas, NV 89128
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Placer Vineyards                  Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Placer Vineyards                  Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Placer Vineyards                  Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Marlton Square                    Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Marlton Square                    Unknown           Y
                                                                          Henderson, NV 89012
        MacDonald Center for the Arts and Humanities                      1730 Horizon Ridge Pkwy     Marlton Square                    Unknown           Y
                                                                          Henderson, NV 89012
        Madalene Luca, a single woman                                     1398 Minuet Street          Amesbury/Hatters Point            Unknown           Y
                                                                          Henderson, NV 89052
        Madeline P. Von Tagen Trustee of the Von Tagen Trust dated        8557 Little Fox St          HFA- Clear Lake                   Unknown           Y
        5/2/96                                                            Las Vegas, NV 89123
        Madeline P. Von Tagen Trustee of the Von Tagen Trust dated        8557 Little Fox St          HFA- North Yonkers                Unknown           Y
        5/2/96                                                            Las Vegas, NV 89123
        Mae Mineo Trustee of the Mae Mineo Trust dated 3/23/00            2287 Western Oak Drive      Marlton Square                    Unknown           Y
                                                                          Redding, CA 96002




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In re            USA Commercial Mortgage Company                    ,                                                                           Case No. 06-10725-LBR
                                  Debtor                                                                                                                     (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                           Description and Location of Property                                                         Property


                               Legal vesting                                     Mailing Address                         Loan Name                Amount     Contingent
        Mahendra C. Mody, a single man                                100 N Arlington Ave #7-A          Amesbury/Hatters Point                   Unknown         Y
                                                                      Reno, NV 89501
        Mahendra C. Mody, a single man                                100 N Arlington Ave #7-A          Placer Vineyards                         Unknown         Y
                                                                      Reno, NV 89501
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Gramercy Court Condos                    Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Gramercy Court Condos                    Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Marlton Square                           Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Marlton Square                           Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Huntsville                               Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Huntsville                               Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Golden State Investments II              Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Golden State Investments II              Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Eagle Meadows Development                Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Eagle Meadows Development                Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   Bay Pompano Beach                        Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    Bay Pompano Beach                        Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste #173 PMB 10162   6425 Gess, LTD                           Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd.                                          400 Dorla Ct Ste 171 PMB 10162    6425 Gess, LTD                           Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd. Defined Benefit Pension Plan             400 Dorla Ct Ste #173 PMB 10162   Placer Vineyards                         Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd. Defined Benefit Pension Plan             400 Dorla Ct Ste 171 PMB 10162    Placer Vineyards                         Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd. Defined Benefit Pension Plan             400 Dorla Ct Ste #173 PMB 10162   Margarita Annex                          Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Malden Ventures Ltd. Defined Benefit Pension Plan             400 Dorla Ct Ste 171 PMB 10162    Margarita Annex                          Unknown         Y
                                                                      Zephyr Cove, NV 89448
        Manfred S. Spindel & Christine L. Spindel, husband & wife, as 299 N Hollywood Blvd              HFA- Riviera 2nd                         Unknown         Y
        joint tenants with right of survivorship                      Las Vegas, NV 89110
        Marc M. Ingman, an unmarried man                              1923 La Mesa Drive                BarUSA/$15,300,000                       Unknown         Y
                                                                      Santa Monica, CA 90402
        Marc Scot Etterman Trustee of the Marc Scot Etterman Living   P O Box 492546                    Hasley Canyon                            Unknown         Y
        Trust dated 2/11/03                                           Los Angeles, CA 90049
        Marc Scot Etterman Trustee of the Marc Scot Etterman Living   P O Box 492546                    Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 2/11/03                                           Los Angeles, CA 90049             L.L.C.
        Marc Scot Etterman Trustee of the Marc Scot Etterman Living   P O Box 492546                    Placer Vineyards 2nd                     Unknown         Y
        Trust dated 2/11/03                                           Los Angeles, CA 90049
        Marc Scot Etterman Trustee of the Marc Scot Etterman Living   P O Box 492546                    HFA- Riviera 2nd                         Unknown         Y
        Trust dated 2/11/03                                           Los Angeles, CA 90049
        Marc Scot Etterman Trustee of the Marc Scot Etterman Living   P O Box 492546                    Marlton Square 2nd                       Unknown         Y
        Trust dated 2/11/03                                           Los Angeles, CA 90049
        Marc Winard & Ann Winard Trustees of the Marc & Ann Winard 712 Canyon Greens St                 Tapia Ranch                              Unknown         Y
        Family Trust dated 6/22/95                                    Las Vegas, NV 89144
        Marceline Maxwell, an unmarried woman & Edward D. Earl, an 121 W Highland Dr                    Brookmere/Matteson $27,050,000           Unknown         Y
        unmarried man                                                 Henderson, NV 89015
        Marcella Martinez & Ross Martinez Trustees of the Martinez    2283 Vegas Valley Dr              Fiesta USA/Stoneridge                    Unknown         Y
        Family Trust dated 2/24/97                                    Las Vegas, NV 89109




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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                             Description and Location of Property                                                Property


                                Legal vesting                                       Mailing Address                    Loan Name           Amount     Contingent
        Marci Maxwell, an unmarried woman & Edward D. Earl, an          121 W Highland Dr             Opaque/Mt. Edge $7,350,000          Unknown         Y
        unmarried man                                                   Henderson, NV 89015
        Marcia C. Albiol & Henry Albiol, husband & wife, as joint       P O Box 221356                Bay Pompano Beach                   Unknown         Y
        tenants with right of survivorship                              Carmel, CA 93922
        Marcia C. Albiol & Henry Albiol, husband & wife, as joint       P O Box 221356                Brookmere/Matteson $27,050,000      Unknown         Y
        tenants with right of survivorship                              Carmel, CA 93922
        Marcia J. Knox Trustee of the Marcia J. Knox Living Trust dated 1885 Vintners Place           Gateway Stone                       Unknown         Y
        8/16/04                                                         Reno, NV 89509
        Marcia J. Knox Trustee of the Marcia J. Knox Living Trust dated 1885 Vintners Place           Bay Pompano Beach                   Unknown         Y
        8/16/04                                                         Reno, NV 89509
        Marcia J. Knox Trustee of the Marcia J. Knox Living Trust dated 1885 Vintners Place           Anchor B, LLC                       Unknown         Y
        8/16/04                                                         Reno, NV 89509
        Marcia Sweany-Volpe, a married woman dealing with her sole & 33766 SE Terra Circle            Marlton Square                      Unknown         Y
        separate property transfer on death to Linda St. Pierre         Corvallis, OR 97333
        Margaret E. Schryver Trustee of the Margaret E. Schryver Trust 41880 Creighton Rd             Amesbury/Hatters Point              Unknown         Y
        dated 12/6/90                                                   Fall River Mills, CA 96028
        Margaret M. Cangelosi, an unmarried woman                       346 Griggs Ave                Lerin Hills                         Unknown         Y
                                                                        Teaneck, NJ 7666
        Margaret M. Cangelosi, an unmarried woman                       346 Griggs Ave.               Lerin Hills                         Unknown         Y
                                                                        Teaneck, NJ 7666
        Margarita Jung, a single woman                                  1405 Vegas Valley Drive 317   Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                        Las Vegas, NV 89109
        Margarita Jung, a single woman                                  1405 Vegas Valley Drive 317   Fiesta USA/Stoneridge               Unknown         Y
                                                                        Las Vegas, NV 89109
        Marge Karney, an unmarried woman                                8445 Allenwood Road           Amesbury/Hatters Point              Unknown         Y
                                                                        Los Angeles, CA 90046
        Margo J. Cline, an unmarried woman                              956 Avalon Drive              Ashby Financial $7,200,000          Unknown         Y
                                                                        Stockton, CA 95215
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Shamrock Tower, LP                  Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Shamrock Tower, LP                  Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Tapia Ranch                         Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Tapia Ranch                         Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Fiesta Oak Valley                   Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Fiesta Oak Valley                   Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Gateway Stone                       Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Gateway Stone                       Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Harbor Georgetown                   Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Harbor Georgetown                   Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Copper Sage Commerce Center, LLC    Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista , CA 91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg      727 Third Ave                 Copper Sage Commerce Center, LLC    Unknown         Y
        2000 Trust dated 6/20/00                                        Chula Vista, CA 91910
        Maria Spinelli, a single woman                                  16636 Fairfax Court           Marlton Square 2nd                  Unknown         Y
                                                                        Tinley Park, IL 60477
        Maria Y. De Silva, an unmarried woman, and Iliana Silva-        4212 Highview Dr.             Gramercy Court Condos               Unknown         Y
        Rudberg, an unmarried woman, as joint tenants with the right of San Mateo, CA 94403
        survivorship
        Marie A. Maki & Raymond E. Maki, husband & wife, as joint       9024 Columbia Street          Fiesta Oak Valley                   Unknown         Y
        tenants with right of survivorship                              Saint John, IN 46373




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 166
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In re            USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Marie A. Maki & Raymond E. Maki, husband & wife, as joint       9024 Columbia Street          Placer Vineyards 2nd              Unknown            Y
        tenants with right of survivorship                              Saint John, IN 46373
        Marie L. Ehlers, an unmarried woman                             7265 Shady Lane Way           Bay Pompano Beach                 Unknown            Y
                                                                        Roseville, CA 95747
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Wasco Investments                 Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Ashby Financial $7,200,000        Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Gramercy Court Condos             Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           HFA- North Yonkers                Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Lerin Hills                       Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Marlton Square                    Unknown            Y
        separate property                                               New York, NY 10021
        Marietta Voglis, a married woman dealing with her sole &        201 E 79 St Apt 17A           Marquis Hotel                     Unknown            Y
        separate property                                               New York, NY 10021
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   HFA- North Yonkers                Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Wasco Investments                 Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Marlton Square                    Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Freeway 101                       Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Bay Pompano Beach                 Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Amesbury/Hatters Point            Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   6425 Gess, LTD                    Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Tapia Ranch                       Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated      102 Topsail                   Brookmere/Matteson $27,050,000    Unknown            Y
        11/18/93                                                        Boulder City, NV 89005
        Marilyn Johnson Trustee of the Marilyn Johnson Living Trust     1010 LaRue Ave                Huntsville                        Unknown            Y
        dated 10/5/99                                                   Reno, NV 89509
        Marilyn Johnson Trustee of the Marilyn Johnson Living Trust     1010 LaRue Ave                Wasco Investments                 Unknown            Y
        dated 10/5/99                                                   Reno, NV 89509
        Marilyn Molitch & Matthew Molitch, husband & wife, as joint     2251 N. Rampart Drive #185    Gramercy Court Condos             Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89128
        Mario M. Lommori & Clarice E. Lommori Trustees of the           20 South West St.             Fiesta Oak Valley                 Unknown            Y
        Lommori Family Trust dated 4/12/93                              Yerrington , NV 89447
        Marion B. Dittman, an unmarried woman                           P O Box 15187                 Marlton Square                    Unknown            Y
                                                                        Kansas City, MO 64106
        Marion B. Dittman, an unmarried woman                           P O Box 15187                 Placer Vineyards                  Unknown            Y
                                                                        Kansas City, MO 64106
        Marion C. Sharp Trustee of the Marion C. Sharp Trust            20 Leroy Terrace              HFA- Clear Lake                   Unknown            Y
                                                                        New Haven, CT 6512
        Marius Kempf & Mary A. Kempf Trustees of the Fred & Kellee      2560 Forest City Drive        Midvale Marketplace, LLC          Unknown            Y
        Kempf Trust                                                     Henderson, NV 89052
        Marjorie C. Gregory Trustee for the benefit of Gregory Family   32016 Crystalaire Drive       Brookmere/Matteson $27,050,000    Unknown            Y
        Trust UAD 5/25/93                                               Llano, CA 93544
        Marjorie Howarth, an unmarried woman                            30116 Corte San Luis          Fiesta USA/Stoneridge             Unknown            Y
                                                                        Temecula, CA 92591
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel      20 Redonda                    Bay Pompano Beach                 Unknown            Y
        Living Trust as amended dated 1/9/98                            Irvine, CA 92620
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel      20 Redonda                    Eagle Meadows Development         Unknown            Y
        Living Trust as amended dated 1/9/98                            Irvine, CA 92620




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In re            USA Commercial Mortgage Company                        ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                             Description and Location of Property                                                Property


                                Legal vesting                                       Mailing Address                    Loan Name           Amount     Contingent
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel      20 Redonda                    Gramercy Court Condos               Unknown         Y
        Living Trust as amended dated 1/9/98                            Irvine, CA 92620
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel      20 Redonda                    HFA- Clear Lake                     Unknown         Y
        Living Trust as amended dated 1/9/98                            Irvine, CA 92620
        Mark A. Dolginoff Trustee of the Mark A. Dolginoff Separate     2003 Silverton Drive          Anchor B, LLC                       Unknown         Y
        Property Trust dated 11/21/97 amended/restated on 5/10/00       Henderson, NV 89074
        Mark A. Dolginoff Trustee of the Mark A. Dolginoff Separate     2003 Silverton Drive          Gateway Stone                       Unknown         Y
        Property Trust dated 11/21/97 amended/restated on 5/10/00       Henderson, NV 89074
        Mark A. Sauceda, an unmarried man                               P.O. Box 736                  Marlton Square                      Unknown         Y
                                                                        Burbank, CA 91510
        Mark A. Stephens                                                9729 Fast Elk St              HFA- North Yonkers                  Unknown         Y
                                                                        Las Vegas, NV 89143
        Mark E. Burke & Joyce J. Burke, Trustees of the Mark E. Burke   P O Box 785                   Brookmere/Matteson $27,050,000      Unknown         Y
        & Joyce J. Burke Revocable Living Trust                         Beaver Dam, AZ 86432
        Mark Fanelli, a married man dealing with his sole & separate    244 Prospect Street           Bay Pompano Beach                   Unknown         Y
        property                                                        Leominster, MA 1453
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            HFA- North Yonkers                  Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Tapia Ranch                         Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Wasco Investments                   Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Placer Vineyards 2nd                Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Midvale Marketplace, LLC            Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Marlton Square                      Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Margarita Annex                     Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Lerin Hills                         Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Gramercy Court Condos               Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Gateway Stone                       Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Freeway 101                         Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Fiesta Oak Valley                   Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Eagle Meadows Development           Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Castaic Partners II, LLC            Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            BarUSA/$15,300,000                  Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            6425 Gess, LTD                      Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Harbor Georgetown                   Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Amesbury/Hatters Point              Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint       7849 S Valentia St            Copper Sage Commerce Center, LLC    Unknown         Y
        tenants with right of survivorship                              Englewood, CO 80112
        Mark R. Josifko & Deborah F. Josifko Trustees of the Josifko    1906 Catherine Court          Amesbury/Hatters Point              Unknown         Y
        Family Living Trust U/T/D 9/21/99                               Gardnerville, NV 89410
        Mark R. Josifko & Deborah F. Josifko Trustees of the Josifko    1906 Catherine Court          Amesbury/Hatters Point              Unknown         Y
        Family Living Trust U/T/D 9/21/99                               Gardnerville, NV 89410




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In re            USA Commercial Mortgage Company                       ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                               (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                             Description and Location of Property                                                  Property


                                Legal vesting                                        Mailing Address                       Loan Name         Amount     Contingent
        Markus Muchenberger Trustee of the Markus Muchenberger           617 Effort Drive                 Hasley Canyon                     Unknown         Y
        Revocable Trust dated 11/19/03                                   Las Vegas, NV 89145
        Marlene C. Wade, an unmarried woman                              2314 Tall Timbers Lane           Eagle Meadows Development         Unknown         Y
                                                                         Marietta, GA 30066
        Marlene C. Wade, an unmarried woman                              2314 Tall Timbers Lane           Castaic Partners II, LLC          Unknown         Y
                                                                         Marietta, GA 30066
        Marlin L. Wonders & R. Yvonne Wonders, husband and wife as PO Box 2262                            Eagle Meadows Development         Unknown         Y
        joint tenants with the right of survivorship                     Overgaard, AZ 85933
        Marlo Brooke                                                     9171 Warfield Dr                 HFA- North Yonkers                Unknown         Y
                                                                         Huntington Beach, CA 92646
        Marrice L. Davis and Nanci E. Davis, husband and wife, as joint P O Box 7290                      Gateway Stone                     Unknown         Y
        tenants with the right of survivorship                           Tahoe City, CA 96145
        Marsha Kendall Trustee of the David A. Gean Revocable Trust      6615 E. Pacific Coast Hwy.#260   Harbor Georgetown                 Unknown         Y
        dated 4/3/92                                                     Long Beach, CA 92614
        Marsha Kendall Trustee of the David A. Gean Revocable Trust      6615 E. Pacific Coast Hwy.#260   Placer Vineyards                  Unknown         Y
        dated 4/3/92                                                     Long Beach, CA 92614
        Marshall D. Kubly & Kathleen Kubly, husband & wife, as joint 4687 Bradford Lane                   HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                               Reno, NV 89509
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Gramercy Court Condos             Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Tapia Ranch                       Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Placer Vineyards                  Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              HFA- North Yonkers                Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Fiesta Oak Valley                 Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Eagle Meadows Development         Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              BarUSA/$15,300,000                Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Amesbury/Hatters Point            Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              6425 Gess, LTD                    Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Harbor Georgetown                 Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. 640 Colonial Circle              Brookmere/Matteson $27,050,000    Unknown         Y
        Brecht Trust dated 2/5/86                                        Fullerton, CA 92835
        Marshall R. Zerbo, a single man                                  250 W El Camino Real #5100       Amesbury/Hatters Point            Unknown         Y
                                                                         Sunnyvale, CA 94087
        Marshall R. Zerbo, a single man                                  250 W El Camino Real #5100       Gramercy Court Condos             Unknown         Y
                                                                         Sunnyvale, CA 94087
        Martha W. Potter Trustee of the Martha W. Potter Revocable       2643 Richmar Drive               Anchor B, LLC                     Unknown         Y
        Trust                                                            Beavercreek, OH 45434
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis       3900 Galt Ocean Drive            Marlton Square                    Unknown         Y
        Family 2000 Trust                                                Playa del Mar 1701
                                                                         Fort Lauderdale, FL 33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis       3900 Galt Ocean Drive            HFA- North Yonkers                Unknown         Y
        Family 2000 Trust                                                Playa del Mar 1701
                                                                         Fort Lauderdale, FL 33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis       3900 Galt Ocean Drive            Bay Pompano Beach                 Unknown         Y
        Family 2000 Trust                                                Playa del Mar 1701
                                                                         Fort Lauderdale, FL 33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis       3900 Galt Ocean Drive            Gateway Stone                     Unknown         Y
        Family 2000 Trust                                                Playa del Mar 1701
                                                                         Fort Lauderdale, FL 33308




SCHEDULES                                                                            Exhibit B-21                                                        PAGE 169
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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                              Description and Location of Property                                               Property


                                 Legal vesting                                      Mailing Address                       Loan Name        Amount     Contingent
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis       3900 Galt Ocean Drive            HFA- Clear Lake                 Unknown         Y
        Family 2000 Trust                                                Playa del Mar 1701
                                                                         Fort Lauderdale, FL 33308
        Martin Bock an unmarried man                                     6300 Park Avenue                 6425 Gess, LTD                  Unknown         Y
                                                                         West New York, NJ 7093
        Martin Bock an unmarried man                                     6300 Park Avenue                 Margarita Annex                 Unknown         Y
                                                                         West New York, NJ 7093
        Martin E. Brown Trustee of the Martin E. Brown Exempt Trust 2315 Western Oak Dr                   HFA- North Yonkers              Unknown         Y
        dated 3/21/95                                                    Redding, CA 96002
        Martin Gittleman, an unmarried man                               3375 E. Tompkins Ave. Unit 147   Amesbury/Hatters Point          Unknown         Y
                                                                         Las Vegas, NV 89121
        Martin L. Manning, a married man dealing with his sole &         PO Box 426                       Placer Vineyards 2nd            Unknown         Y
        separate property                                                Genoa, NV 89411
        Martin L. Manning, a married man dealing with his sole &         PO Box 426                       Fiesta Oak Valley               Unknown         Y
        separate property                                                Genoa, NV 89411
        Martin N. Haas Trustee of the Martin N. Haas Living Trust dtd    2448 Desert Glen Drive           HFA- North Yonkers              Unknown         Y
        8/7/03                                                           Las Vegas, NV 89134
        Martin N. Leaf, an unmarried man                                 71 Pierce Road Box 142           HFA- North Yonkers              Unknown         Y
                                                                         Windsor, MA 1270
        Martin N. Leaf, an unmarried man                                 71 Pierce Road Box 142           Bay Pompano Beach               Unknown         Y
                                                                         Windsor, MA 1270
        Martin N. Leaf, an unmarried man                                 71 Pierce Road Box 142           Gramercy Court Condos           Unknown         Y
                                                                         Windsor, MA 1270
        Martin W. McColly & Carmen Garcia McColly Trustees of the        1009 Domnus Lane #102            HFA- North Yonkers              Unknown         Y
        Martin W. McColly & Carmen Garcia McColly Revocable Trust Las Vegas, NV 89144
        Agreement dated 5/27/03
        Martin W. McColly & Carmen Garcia McColly Trustees of the        1009 Domnus Lane #102            HFA- North Yonkers              Unknown         Y
        Martin W. McColly & Carmen Garcia McColly Revocable Trust Las Vegas, NV 89144
        Agreement dated 5/27/03
        Martin W. McColly & Carmen Garcia McColly Trustees of the        1009 Domnus Lane #102            HFA- Riviera 2nd                Unknown         Y
        Martin W. McColly & Carmen Garcia McColly Revocable Trust Las Vegas, NV 89144
        Agreement dated 5/27/03
        Martin W. McColly & Carmen Garcia McColly Trustees of the        1009 Domnus Lane #102            HFA- Riviera 2nd                Unknown         Y
        Martin W. McColly & Carmen Garcia McColly Revocable Trust Las Vegas, NV 89144
        Agreement dated 5/27/03
        Marty A. Martinez, a married man dealing with his sole &         4051 Furnace Creek Rd            Shamrock Tower, LP              Unknown         Y
        separate property, & Antonio Soltero, a married man dealing with Carson City , NV 89706
        his sole & separate property, as joint tenants with right of
        survivorship
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   6425 Gess, LTD                  Unknown         Y
        dated 6/13-                                                      La Mesa, CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   6425 Gess, LTD                  Unknown         Y
        dated 6/13-                                                      La Mesa , CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   HFA- North Yonkers              Unknown         Y
        dated 6/13/78                                                    La Mesa, CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   HFA- North Yonkers              Unknown         Y
        dated 6/13/78                                                    La Mesa , CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Placer Vineyards                Unknown         Y
        dated 6/13/78                                                    La Mesa, CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Placer Vineyards                Unknown         Y
        dated 6/13/78                                                    La Mesa , CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Tapia Ranch                     Unknown         Y
        dated 6/13/78                                                    La Mesa, CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Tapia Ranch                     Unknown         Y
        dated 6/13/78                                                    La Mesa , CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Gateway Stone                   Unknown         Y
        dated 6/13/78                                                    La Mesa, CA 91941
        Marvin L Nicola Trustee of the Marvin Lynn Nicola Family Trust 10447 Chevy Lane                   Gateway Stone                   Unknown         Y
        dated 6/13/78                                                    La Mesa , CA 91941




SCHEDULES                                                                            Exhibit B-21                                                      PAGE 170
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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Marvin Myers & Valliera Myers Trustees of the Marvin &            6822 Baile Road              Lerin Hills                       Unknown           Y
        Valliera Myers Trust                                              Las Vegas, NV 89146
        Marvin Rickling & Rosemary Rickling Trustees of the Rickling      3017 Haddon Drive            HFA- Windham                      Unknown           Y
        Family Trust                                                      Las Vegas, NV 89134
        Marvin Rickling & Rosemary Rickling Trustees of the Rickling      3017 Haddon Drive            Eagle Meadows Development         Unknown           Y
        Family Trust                                                      Las Vegas, NV 89134
        Marvin W. Gittelman & Toby E. Gittelman, husband & wife, as       424 Sorrento Rd              Gramercy Court Condos             Unknown           Y
        joint tenants with right of survivorship                          Poinciana, FL 34759
        Marvin W. Gittelman & Toby E. Gittelman, husband & wife, as       424 Sorrento Rd              Eagle Meadows Development         Unknown           Y
        joint tenants with right of survivorship                          Poinciana, FL 34759
        Mary A. Riley and Brian L. Riley, husband and wife as joint       2710 Crestwood Ln            Huntsville                        Unknown           Y
        tenants with right of survivorship                                Highland Village, TX 75077
        Mary Ann Deal, a single woman                                     1813 N California St         Amesbury/Hatters Point            Unknown           Y
                                                                          Burbank, CA 91505
        Mary Ann Deal, a single woman                                     1813 N California St         BarUSA/$15,300,000                Unknown           Y
                                                                          Burbank, CA 91505
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           HFA- Clear Lake                   Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           HFA- Clear Lake                   Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           HFA- Clear Lake                   Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           Shamrock Tower, LP                Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           Shamrock Tower, LP                Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Earp, a single woman & Mary H. Earp, a married           700 Post Oak Court           Shamrock Tower, LP                Unknown           Y
        woman dealing with her sole & separate property, as joint tenants El Paso, TX 79932
        with right of survivorship
        Mary Ann Harouff and Dwight W. Harouff, trustees of the Skip 5680 Ruffian Road                 Gateway Stone                     Unknown           Y
        and Mary Harouff Trust dated 12/5/95                              Las Vegas, NV 89149
        Mary Ann Harouff and Dwight W. Harouff, trustees of the Skip 5680 Ruffian Road                 Gateway Stone                     Unknown           Y
        and Mary Harouff Trust dated 12/5/95                              Las Vegas, NV 89149
        Mary Ann Harouff and Dwight W. Harouff, trustees of the Skip 5680 Ruffian Road                 Gateway Stone                     Unknown           Y
        and Mary Harouff Trust dated 12/5/95                              Las Vegas, NV 89149
        Mary Betty French, an unmarried woman, transferable on death 4206 Flamingo Crest Drive         HFA- North Yonkers                Unknown           Y
        to Joyce A. Abraham                                               Las Vegas, NV 89121
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr                  Opaque/Mt. Edge $7,350,000        Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr.                 Opaque/Mt. Edge $7,350,000        Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr                  Opaque/Mt. Edge $7,350,000        Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr                  Brookmere/Matteson $27,050,000    Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr.                 Brookmere/Matteson $27,050,000    Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary Counsil Mayfield and Morris L. Mayfield, husband & wife, 1134 La Mesa Dr                  Brookmere/Matteson $27,050,000    Unknown           Y
        as joint tenants with right of survivorship                       Richardson, TX 75080
        Mary E. Dunlop Trustee of the Mary E. Dunlop 1992 Trust dated 419 Sierra Leaf Circle           Placer Vineyards                  Unknown           Y
        7/29/03                                                           Reno, NV 89511
        Mary E. Groves Trustee of the Mary E. Groves Trust dated          2328 Airlands St             Amesbury/Hatters Point            Unknown           Y
        9/11/03                                                           Las Vegas, NV 89134
        Mary E. Russell Trustee of the Russell Revocable Trust dated      9543 Broadway #7             Tapia Ranch                       Unknown           Y
        9/21/93                                                           Temple City, CA 91780




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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                    Mailing Address                     Loan Name           Amount    Contingent
        Mary E. Russell Trustee of the Russell Revocable Trust dated   9543 Broadway #7              Anchor B, LLC                      Unknown            Y
        9/21/93                                                        Temple City, CA 91780
        Mary Esther Oates, transfer on death to Linda Mueller          8400 Westwold Avenue #106     Gateway Stone                      Unknown            Y
                                                                       Bakersfield, CA 91311
        Mary F. Gambosh, a married woman dealing with her sole and     14669 Penmore Lane            Amesbury/Hatters Point             Unknown            Y
        separate property                                              Charlotte, NC 28269
        Mary F. Gambosh, a married woman dealing with her sole and     14669 Penmore Lane            Amesbury/Hatters Point             Unknown            Y
        separate property                                              Charlotte, NC 28269
        Mary F. Kunis-Bidegary Trustee of the Desert Rose Estate Trust 3125 Shadowleaf Court         HFA- North Yonkers                 Unknown            Y
        dated 12/01/04                                                 Las Vegas, NV 89117
        Mary G. Christ, an unmarried woman                             75-6060 Kuakini Hwy           Bay Pompano Beach                  Unknown            Y
                                                                       B-3 Kona Sea Villas
                                                                       Kailua-Kona, HI 96740
        Mary H. Cross Trustee of The Mary H. Cross Trust dated         1474 Wessex Circle            Gilroy                             Unknown            Y
        12/29/88                                                       Reno, NV 89503
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Huntsville                         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Huntsville                         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Huntsville                         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Marlton Square                     Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Marlton Square                     Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Marlton Square                     Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Ashby Financial $7,200,000         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Ashby Financial $7,200,000         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Ashby Financial $7,200,000         Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79932
        Mary H. Earp, a married woman dealing with her sole & separate 700 Post Oak Court            Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79932
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Avenue South    Bay Pompano Beach                  Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Avenue South    Bay Pompano Beach                  Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Ave South       Bay Pompano Beach                  Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Avenue South    Hasley Canyon                      Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Avenue South    Hasley Canyon                      Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary Jean Jellison, a married woman dealing with her sole &    1415 Lakeview Ave South       Hasley Canyon                      Unknown            Y
        separate property                                              Minneapolis, MN 55416
        Mary K. Bessler Trustee of the Mary K. Bessler Family Trust of 9756 Autumn Leaf Way          Opaque/Mt. Edge $7,350,000         Unknown            Y
        2001                                                           Reno, NV 89506
        Mary K. Bessler Trustee of the Mary K. Bessler Family Trust of 9756 Autumn Leaf Way          Goss Road                          Unknown            Y
        2001                                                           Reno, NV 89506
        Mary Monica Cady                                               3261 Waterview Ct             Fiesta Oak Valley                  Unknown            Y
                                                                       Hayward, CA 94542
        Mary Monica Cady                                               3261 Waterview Ct             Fiesta Oak Valley                  Unknown            Y
                                                                       Hayward, CA 94542




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In re            USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Mary Sexenian Trustee of the Mary Sexenian Trust dated 4/3/96                                 Brookmere/Matteson $27,050,000    Unknown           Y

        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N. Rampart #185          Fiesta USA/Stoneridge             Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N Rampart #185           Fiesta USA/Stoneridge             Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N. Rampart #185          HFA- Clear Lake                   Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N Rampart #185           HFA- Clear Lake                   Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N. Rampart #185          Marlton Square                    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N Rampart #185           Marlton Square                    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N. Rampart #185          6425 Gess, LTD                    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N Rampart #185           6425 Gess, LTD                    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N. Rampart #185          Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew Molitch Trustee of the Molitch 1997 Trust               2251 N Rampart #185           Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        Las Vegas, NV 89128
        Matthew T. Carbone and Angela D. Carbone, husband and wife,     1012 Orchard Lane             Castaic Partners II, LLC          Unknown           Y
        as joint tenants with the right of survivorship                 Broadview Heights, CO 44147
        Maureen A. Hjelte & G. Craig Hjelte, husband & wife, as joint   P O Box 1462                  HFA- Windham                      Unknown           Y
        tenants with right of survivorship                              Tahoe City, CA 96145
        Maureen A. Hjelte & G. Craig Hjelte, husband & wife, as joint   P O Box 1462                  Placer Vineyards                  Unknown           Y
        tenants with right of survivorship                              Tahoe City, CA 96145
        Maureen DaCosta, a single woman                                 P O Box I                     BarUSA/$15,300,000                Unknown           Y
                                                                        Aspen, CO 81612
        Maureen DaCosta, a single woman                                 P O Box I                     Marquis Hotel                     Unknown           Y
                                                                        Aspen, CO 81612
        Maureen DaCosta, a single woman                                 P O Box I                     Tapia Ranch                       Unknown           Y
                                                                        Aspen, CO 81612
        Maureen DaCosta, a single woman                                 P O Box I                     Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        Aspen, CO 81612
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Placer Vineyards                  Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Placer Vineyards 2nd              Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Opaque/Mt. Edge $7,350,000        Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Huntsville                        Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           HFA- Clear Lake                   Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Gateway Stone                     Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Eagle Meadows Development         Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Bay Pompano Beach                 Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           BarUSA/$15,300,000                Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Amesbury/Hatters Point            Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           6425 Gess, LTD                    Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive           Tapia Ranch                       Unknown           Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005




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In re            USA Commercial Mortgage Company                       ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                             Description and Location of Property                                               Property


                                Legal vesting                                      Mailing Address                    Loan Name           Amount     Contingent
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive          Freeway 101                         Unknown          Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the    697 Blue Lake Drive          Brookmere/Matteson $27,050,000      Unknown          Y
        M & J Cauchois Family Trust dated 2/25/93                       Boulder City, NV 89005
        Maurice Fink Trustee of the Maurice Fink Trust                  3111 Bel Air Dr Unit 15G     Lerin Hills                         Unknown          Y
                                                                        Las Vegas, NV 89109
        Maurice Fink Trustee of the Maurice Fink Trust                  3111 Bel Air Dr Unit 15G     Marlton Square                      Unknown          Y
                                                                        Las Vegas, NV 89109
        Maurice Jones & Marlene Y. Jones Trustees of the Jones Family P O Box 9610                   Placer Vineyards                    Unknown          Y
        Trust dated 9/3/98                                              Santa Rosa, CA 95405
        Maurice Jones & Marlene Y. Jones Trustees of the Jones Family P O Box 9610                   Shamrock Tower, LP                  Unknown          Y
        Trust dated 9/3/98                                              Santa Rosa, CA 95405
        Max Mathews, a married man dealing with his sole & separate     1351 Poplar Avenue           BarUSA/$15,300,000                  Unknown          Y
        property                                                        Twin Falls, ID 83301
        Max Mathews, a married man dealing with his sole & separate     1351 Poplar Avenue           BarUSA/$15,300,000                  Unknown          Y
        property                                                        Twin Falls, ID 83301
        Max Mathews, a married man dealing with his sole & separate     1351 Poplar Avenue           Amesbury/Hatters Point              Unknown          Y
        property as to an undivided one-half interest & Richard G.      Twin Falls, ID 83301
        Messersmith, a married man dealing with his sole & separate
        property as to an undivided one-half interest, as tenants-in-
        common
        Max Mathews, a married man dealing with his sole & separate     1351 Poplar Avenue           Amesbury/Hatters Point              Unknown          Y
        property as to an undivided one-half interest & Richard G.      Twin Falls, ID 83301
        Messersmith, a married man dealing with his sole & separate
        property as to an undivided one-half interest, as tenants-in-
        common
        Mazal Yerushalmi, an unmarried woman                            8904 Greensboro Lane         Eagle Meadows Development           Unknown          Y
                                                                        Las Vegas, NV 89134
        Mazal Yerushalmi, an unmarried woman                            8904 Greensboro Lane         Copper Sage Commerce Center, LLC    Unknown          Y
                                                                        Las Vegas, NV 89134
        Mazal Yerushalmi, an unmarried woman                            8904 Greensboro Lane         Brookmere/Matteson $27,050,000      Unknown          Y
                                                                        Las Vegas, NV 89134
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Bay Pompano Beach                   Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Bay Pompano Beach                   Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Bay Pompano Beach                   Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Fiesta USA/Stoneridge               Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Fiesta USA/Stoneridge               Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Mel Herman & Emma Herman husband & wife as joint tenants        4590 Eucalyptus Ave Ste A    Fiesta USA/Stoneridge               Unknown          Y
        with rights of survivorship                                     Chino, CA 91710
        Melanie Cowan, a single woman                                   10794 Grand Paladium Way     Eagle Meadows Development           Unknown          Y
                                                                        Boynton Beach, FL 33436
        Melanie Cowan, a single woman                                   10794 Grand Paladium Way     HFA- North Yonkers                  Unknown          Y
                                                                        Boynton Beach, FL 33436
        Melba L.Terry, transfer on death to Jeanette Stewart            2236 Clinton Lane            Bay Pompano Beach                   Unknown          Y
                                                                        Las Vegas, NV 89115
        Melinda Estevez & Richard David Estevez, wife & husband, as 8916 Balboa Blvd                 HFA- North Yonkers                  Unknown          Y
        joint tenants with right of survivorship #1                     Northridge, CA 91325
        Melissa A. Fernandes, a single woman, and Dionisio Fernandes, a 4001 Oak Manor Ct            Eagle Meadows Development           Unknown          Y
        married man, as joint tenants with right of survivorship        Hayward , CA 94542
        Melissa F. Miller, a married woman as her sole & separate       1553 South Livonia           Amesbury/Hatters Point              Unknown          Y
        property                                                        Los Angeles, CA 90035
        Melissa Mamula, a single woman                                  3318 Trickling Stream Cl     Lerin Hills                         Unknown          Y
                                                                        Las Vegas, NV 89117
        Melody J. Violet, an unmarried woman                            P O Box 2201                 HFA- Riviera 2nd                    Unknown          Y
                                                                        Vista, CA 92085




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In re            USA Commercial Mortgage Company                     ,                                                                 Case No. 06-10725-LBR
                                  Debtor                                                                                                            (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                           Description and Location of Property                                                Property


                               Legal vesting                                      Mailing Address                    Loan Name           Amount     Contingent
        Melody J. Violet, an unmarried woman                           P O Box 2201                 HFA- Clear Lake                     Unknown           Y
                                                                       Vista, CA 92085
        Melody J. Violet, an unmarried woman                           P O Box 2201                 Eagle Meadows Development           Unknown           Y
                                                                       Vista, CA 92085
        Melvin B. Wright & Susan D. Wright Trustees of the S.B. Wright 3983 S McCarran Blvd         Shamrock Tower, LP                  Unknown           Y
        Family Trust dated 12/28/94                                    Reno, NV 89502
        Melvin B. Wright & Susan D. Wright Trustees of the S.B. Wright 3983 S McCarran Blvd         Marlton Square                      Unknown           Y
        Family Trust dated 12/28/94                                    Reno, NV 89502
        Melvin B. Wright & Susan D. Wright Trustees of the S.B. Wright 3983 S McCarran Blvd         Placer Vineyards                    Unknown           Y
        Family Trust dated 12/28/94                                    Reno, NV 89502
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87 9700 Verlaine Court            Gilroy                              Unknown           Y
                                                                       Las Vegas, NV 89145
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87 9700 Verlaine Court            Gateway Stone                       Unknown           Y
                                                                       Las Vegas, NV 89145
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87 9700 Verlaine Court            Bay Pompano Beach                   Unknown           Y
                                                                       Las Vegas, NV 89145
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87 9700 Verlaine Court            BarUSA/$15,300,000                  Unknown           Y
                                                                       Las Vegas, NV 89145
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87 9700 Verlaine Court            Brookmere/Matteson $27,050,000      Unknown           Y
                                                                       Las Vegas, NV 89145
        Melvin W. Kerner Trustee of the Kerner Revocable Trust B dated 15758 Sunset Drive           Placer Vineyards                    Unknown           Y
        3/16/81                                                        Poway, CA 92064
        Merle L. Capra & Marlys J. Capra Trustees of the Capra 1998    2538 Malabar Ave             Brookmere/Matteson $27,050,000      Unknown           Y
        Trust                                                          Las Vegas, NV 89121
        Merrill Molsberry Trustee of the Molsberry Trust dated 7/10/79 8144 Maddingley Ave          Copper Sage Commerce Center, LLC    Unknown           Y
                                                                       Las Vegas, NV 89117
        Mesa LLC, a Nevada limited liability company                   P O Box 31450                BarUSA/$15,300,000                  Unknown           Y
                                                                       Mesa, AZ 85275
        Mesa LLC, a Nevada limited liability company                   P O Box 31450                BarUSA/$15,300,000                  Unknown           Y
                                                                       Mesa, AZ 85275
        Michael A. Hayes & Marsha M. Hayes Trustees of the Michael 109 So Royal Ascot Dr            Bay Pompano Beach                   Unknown           Y
        A. & Marsha M. Hayes Family Trust                              Las Vegas, NV 89144
        Michael A. Morgan & Rosalie A. Morgan, husband & wife, as      465 S. Meadows Parkway       Gilroy                              Unknown           Y
        joint tenants with right of survivorship                       Suite 8
                                                                       Reno, NV 89521
        Michael A. Morgan & Rosalie A. Morgan, husband & wife, as      465 S Meadows Pkwy Ste # 8   Gilroy                              Unknown           Y
        joint tenants with right of survivorship                       Reno, NV 89521
        Michael Bryman & Dorothee Bryman Trustees of the Bryman        19 Wesley Crossing           HFA- Riviera 2nd                    Unknown           Y
        Family Trust                                                   Savannah, GA 31411
        Michael C Maroko & Haviva Maroko Trustees of the Michael C 2395 Buckingham Lane             Tapia Ranch                         Unknown           Y
        Maroko & Haviva Maroko 2001 Revocable Intervivos Trust dated Bel Air, CA 90077
        12/19/01
        Michael C Maroko & Haviva Maroko Trustees of the Michael C 2395 Buckingham Lane             Bay Pompano Beach                   Unknown           Y
        Maroko & Haviva Maroko 2001 Revocable Intervivos Trust dated Bel Air, CA 90077
        12/19/01
        Michael C Maroko & Haviva Maroko Trustees of the Michael C 2395 Buckingham Lane             HFA- Windham                        Unknown           Y
        Maroko & Haviva Maroko 2001 Revocable Intervivos Trust dated Bel Air, CA 90077
        12/19/01
        Michael C Maroko & Haviva Maroko Trustees of the Michael C 2395 Buckingham Lane             HFA- North Yonkers                  Unknown           Y
        Maroko & Haviva Maroko 2001 Revocable Intervivos Trust dated Bel Air, CA 90077
        12/19/01
        Michael C Maroko & Haviva Maroko Trustees of the Michael C 2395 Buckingham Lane             Placer Vineyards                    Unknown           Y
        Maroko & Haviva Maroko 2001 Revocable Intervivos Trust dated Bel Air, CA 90077
        12/19/01
        Michael D. Kelsey, Trustee of The Jesse J. Kelsey Revocable    4910 Ellicott Hwy            Amesbury/Hatters Point              Unknown           Y
        Living Trust dated April 16, 1985                              Calhan, CO 80808
        Michael D. Stewart & Mary Jude Stewart Trustees of the Stewart 15 Vista Mirage Way          HFA- North Yonkers                  Unknown           Y
        Family Trust dated 1/15/98                                     Rancho Mirage, CA 92270
        Michael D. Stewart & Mary Jude Stewart Trustees of the Stewart 15 Vista Mirage Way          6425 Gess, LTD                      Unknown           Y
        Family Trust dated 1/15/98                                     Rancho Mirage, CA 92270




SCHEDULES                                                                          Exhibit B-21                                                      PAGE 175
